     Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 1 of 101




                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS


                                       )
ASTELLAS INSTITUTE FOR REGENERATIVE )
MEDICINE, and STEM CELL & REGENERATIVE )
MEDICINE INTERNATIONAL, INC.,          )
                                       )
      Plaintiffs,                      )   C.A. NO. 1:17-cv-12239-ADB
                                       )
 v.                                    )
                                       )
IMSTEM BIOTECHNOLOGY, INC., XIAOFANG )     LEAVE TO FILE REPLY AND TO
WANG, and REN-HE XU,                   )   FILE UNDER SEAL GRANTED ON
                                       )   8/2/19 (Dkt. 80)
      Defendants.                      )
                                       )




               REPLY TO PLAINTIFFS’ OPPOSITION TO
  DEFENDANTS’ MOTION FOR LEAVE TO FILE AMENDED COUNTERCLAIMS
          Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 2 of 101




         Pursuant to L.R. 7.1(b)(3) and Dkt. 80, defendants ImStem Biotechnology, Inc., Ren-He

Xu, and Xiaofang Wang (collectively, “Defendants”) hereby reply to Plaintiffs’ Opposition to

Defendants’ Motion for Leave to File Amended Counterclaims (Dkt. 75).

I.       The ‘321 and ‘956 Counterclaims

         With respect to the ‘321 patent and the ‘956 patent (for which Defendants are seeking to

add more factual grounds for their existing claim), the Plaintiffs do not contend they were the

first to invent the technical features underlying the proposed amended counterclaims. Instead,

they make a series of heated accusations about bad faith and dilatory motives. Oppn. at 6.

         There was no bad faith, no “lying in wait.” Well after the Complaint was filed (March

2018), counsel for Defendants told Dr. Lu that, at that time, Dr. Wang did not think (i.e. realize)

that he had a claim to inventorship of the ‘321 patent. Oppn. Ex. 3 at 67:19-68:3. As Dr. Wang

testified in his most recent (June 29, 2019) deposition, he only noticed the dependent claims in

the ‘321 patent bearing his and Dr. Xu’s inventive contributions (and Drs. Kimbrel and Lanza’s

plagiarism in the specification) in June 2019:

                  Q. So if you look at -- have you reviewed the ‘321 patent before?
                  A. Yes.
                  Q. And when have you reviewed the ‘321 patent?
                  A. So only until recently, and I think is after my deposition [on
                  June 14, 2019] I carefully review this one. Before the deposition I
                  know this patent, but I didn’t spend time to carefully review this.

Ex. 1 (Wang. Dep. Tr.) at 396:7-15.1 Dr. Wang was not lying in wait; he simply had not focused

on a patent not in suit. The significance of the ‘321 patent and its dependent claims only became

apparent to him during (and after) his first deposition.2 With respect to Dr. Xu (who lives in



1
 All exhibits are attached to the Declaration of Timothy R. Shannon in Support of Defendants’ Reply to Plaintiffs’
Opposition to Motion to Amend.
2
  Plaintiffs confuse (i) knowing inventive ideas at the time they were conceived, (ii) recalling those ideas 7 years
later, and (iii) correlating those inventive ideas with the dependent claims in the ‘321 patent. (Oppn. at 7-9). Just


                                                           1
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 3 of 101




Macau and has been hard to communicate with throughout this case), he too focused on the

claims in the ‘956 and ‘321 patents only when he came to the U.S. for his deposition and met his

lawyers face-to-face for the first time (July 3, 2019).3 While not ideal, none of this merits an

accusation of bad faith.

        Further, the process of developing the case required reviewing and understanding

Plaintiffs’ documents to determine when they allegedly conceived of various inventive ideas, i.e.

before/after or with/without Drs. Wang and Xu. That process has been slowed by Plaintiffs

having marked almost every one of their documents, “Highly Confidential,” under the Protective

Order – an attorneys-eyes-only designation – making it impossible for Drs. Wang and Xu to help

their lawyers review technical documents and spot issues. See, e.g., Ex. 6 (designating

Defendants’ own patent application as Highly Confidential).

        The Court is not confronted with bad faith or dilatory motive but with the side effects of a

size disparity. Plaintiffs – with in-house counsel, expert resources, a bottomless litigation

budget, and more lawyers working on the case than ImStem has employees – are asking the

Court to set an unreasonable standard.

        The Plaintiffs’ “prejudice” argument falls flat. They have not identified anything they

would have done differently during discovery. As they admit (Oppn. at 5), “the subject matter

described in the ‘321 and ‘956 patents is the result of the same research project.” All of the

relevant documents have been produced. Plaintiffs have taken all the depositions that they need.

On July 29, 2019, they deposed Dr. Wang about, among other things, the proposed amended




because Drs. Wang and Xu knew, at the time, the inventive ideas they told Plaintiffs about does not mean they
should have immediately understood their significance years later upon reviewing Plaintiffs’ other patents.
3
 ImStem has eight employees, all scientists. None of its leadership is a native English speaker. None has
experience with patent litigation. None has ever managed outside counsel.

                                                         2
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 4 of 101




counterclaims.4 Plaintiffs also knew about the new counterclaims (albeit shortly) prior to Dr.

Xu’s deposition (Oppn. at 15), and he repeatedly testified about the technical points. See, e.g.,

Ex. 2 (Xu Dep. Tr.) at 178-179 (discussing both mitotic inactivation and IL-6). To the extent the

Court finds that Dr. Xu should sit for a limited deposition, Defendants believe it can be

accomplished via video from Macau without delay. The Court has not yet set a schedule for

expert discovery, summary judgment, or pre-trial activities. Trial is nine months away: April

2020.5 A single clean-up deposition (if needed) would be far less burdensome than a new case.

        The Plaintiffs’ “futility” argument is in reality a motion to dismiss, on which they bear

the burden of proof. Like their first motion, this one relies on non-HB-MSC art to predict HB-

MSC inventions. Cf. Dkt. 37 at 9 (“[h]ere, none of the articles that Plaintiffs cite describes using

hemangioblast-derived MSCs …”). The new art and arguments again fail to demonstrate futility.

        With respect to mitotic inactivation (the process of rendering the cells unable to

reproduce themselves but still alive enough to secrete chemicals useful in treating inter alia

multiple sclerosis), Plaintiffs have misstated the art and missed the framework shift that Drs.

Wang and Xu contributed. 6 See Oppn. at 13. For example, Çelebi et al. (Oppn. Ex. 11)

concerns using MSCs as feeder cells, in vitro, to expand other cells. It has nothing to do with

using the MSCs in vivo for clinical use, nor embryonic stem cell safety, as in the ‘321 and ‘956

patent claims. Indeed, Çelebi teaches that mitotic inactivation creates a “large divergence” in


4
 Plaintiffs said they were reserving their arguments on the Motion, but asked many questions about the proposed
amendments and ended the deposition with time to spare.
5
  Defendants proposed a schedule to Plaintiffs immediately after the July 23, 2019 status conference. Plaintiffs
have not yet responded. Moreover, Plaintiffs only recently identified a corporate designee and proposed an August
8th deposition date and have still not produced all damages-related documents for it.
6
 See Oppn. at 13, citing Betül Çelebi et al., Irradiated mesenchymal stem cells improve the ex vivo expansion of
hematopoietic progenitors by partly mimicking the bone marrow endosteal environment, 370 J.
IMMUNOLOGICAL METHODS 93 (2011) (AIRM00297371) and Bocelli-Tyndall, Chiara, et al. Bone marrow
mesenchymal stromal cells (BM-MSCs) from healthy donors and auto-immune disease patients reduce the
proliferation of autologous-and allogeneic-stimulated lymphocytes in vitro, Rheumatology 46.3 (2007): 403-408.
                                                         3
        Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 5 of 101




MSC secretion, i.e. arguably teaching away from Dr. Wang and Xu’s invention. Id. at

AIRM00297376, 77 Fig. 4 (table showing “significant differences”). Likewise, Bocelli-Tyndall

et al. (Oppn. Ex. 12) concerns bone-marrow MSCs and lymphocyte proliferation, not HB-MSCs,

nor multiple sclerosis, nor tumorigenesis, nor in vivo use. Id. at 403.

        Plaintiffs have likewise misunderstood Drs. Wang and Xu’s inventive contribution of IL-

6. The ‘321 and ‘956 patents claims are not merely directed to measuring IL-6 (Oppn. at 12), but

to using IL-6 as an indicator of sufficient-quality hES-MSCs vis-à-vis immunosuppressive

function. None of the art cited by Plaintiffs (id.) links IL-6 levels with in vivo

immunosuppressive efficacy. None concerns in vivo anti-inflammatory efficacy.

        Plaintiffs’ argument that Drs. Wang and Xu should not be inventors because they merely

“gather[ed] data points” and measure[ed] “innate characteristics” of HB-MSCs is also at odds

with Plaintiffs’ own patenting practice.




                                                       Plaintiffs’ dismissal of the Defendants’

inventive contributions is ironic, to say the least.

        Finally, Plaintiffs’ novel argument against judicial economy – that a claim that was not

litigated in one action (because it was raised “too late”) may be barred in another action on the

ground that it was litigated in the first action (from which it was barred) – is not addressed by the

cited cases. Oppn. at 14-15. It is also illogical. If the Court knocks out the proposed

counterclaims, the relevant facts (e.g. mitotic inactivation, IL-6) will not be heard here, in this


                                                   4
          Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 6 of 101




action, as they efficiently should be.

II.      The Statute of Limitations (“SOL”) Defense

         Plaintiffs do not (because they cannot) deny that there is a factual basis for the SOL

defense. Plaintiffs do not (because they cannot) advance any real “futility” argument. And their

“prejudice” argument is conclusory; Plaintiffs claim – in a bald statement – that Defendants’

assertion of the defense “prejudiced [them] to gather discovery … and consider [its] impact.”

(Oppn. at 19). Yet, Plaintiffs never say what they would have done differently. All of the

information is in their possession. The documents – which they produced and have known about

for years – are clear. There is no one for them to depose. Expert discovery and summary

judgment have not yet happened, and the parties are about nine months from trial. Consequently,

the cases that Plaintiffs cite (id.) are distinguishable.7

         Plaintiffs are left making heated ad hominem statements about motive. The facts do not

justify the attacks. At the pleading stage, Defendants had no factual basis for asserting SOL –

i.e. challenging the Plaintiffs’ statement that they “became aware of Defendants’ intended

wrongful use of Plaintiffs’ confidential technical information around July 2015 [when the U.S.

application published].” 8 (Dkt. 1 at ¶ 62); Fed.R.Civ. P. 11.9 When Defendants prepared their



7
  In In re Cumberland Farms, 284 F.3d 216, 225-27 (1st Cir. 2002), the motion for leave was made on the eve of
trial (unlike here), with evidence the defense should have known a year prior (unlike here), and the opposing party
identified “complex” legal issues that the new defense would implicate (unlike here). See also Knapp Shoes, Inc. v.
Sylvania Shoe Mfg. Corp., 15 F.3d 1222, 1226 (1st Cir. 1994) (defense made the last day of trial); Jakobsen v. Mass.
Port Auth., 520 F.2d 810, 813-14 (1st Cir. 1975 (defense raised after trial). Further, Perlmutter v. Shazer explicitly
recognized that seeking to add a SOL defense via leave of court – as Defendants are seeking to do here – is entirely
appropriate. 102 F.R.D. 245, 247 (D. Mass. 1984).
8
  This allegation (and others like it) formed the basis of Plaintiffs’ as-pleaded state law claims, which mostly have a
three year statute of limitations (November 13, 2014). See id. at ¶ 61 (Conversion); id. at ¶ 68 (Unjust Enrichment),
id. at ¶¶ 73, 75 (M.G.L. ch 93A); id. at ¶ 80 (Misappropriation of Trade Secrets); id. at ¶¶ 84-85 (Negligent
Misrepresentation).
9
 Under Plaintiffs’ reasoning, a statute of limitations defense could never be added if the factual underpinnings are
known only to (and obscured by) the plaintiff. This would turn the liberal standard for amending pleadings on its
head. Fed. R. Civ. P. 15(a) (defense can be added “by leave of court”).

                                                           5
        Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 7 of 101




Answers (Dkt. 20, 33), discovery had not yet begun and all the facts were still in Plaintiffs’

possession. Plaintiffs did not start producing documents until January 30, 2019, having delayed

the case with a motion to dismiss. Over the next four months, they produced 313,000 pages of

documents, from 15 different custodians, including 22,000 emails. All that material took time to

review. Nor could the problem of review be solved by search terms alone; over 10,000

documents contained the term, “mesenchymal,” for example. And buried in the total were 3,200

documents for which Plaintiff had failed to include complete metadata – an omission Defendants

did not immediately spot. Defendants requested the missing metadata on June 19, 2019 and

Plaintiffs turned it over the next day. See Ex. 5 (Email exchange).




                     Put simply, Plaintiffs did not discover the Wang/Xu application in July 2015

as alleged (Dkt. 1 ¶ 62);




       Indeed, discovery is still coming in that confirms all of this. On, July 29, 2019, after the


                                                 6
          Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 8 of 101




instant Motion was filed, Plaintiffs produced their privilege log.




         In retrospect, counsel for Defendants could have, and perhaps should have, identified the

SOL defense in the body of their opening brief rather than just the attached proposed

counterclaims (bolded and blacklined). The request was nonetheless preserved, even if the initial

argument and basis was first stated the next day in Court.10 But that oversight is not a “get out of

jail free card” for Plaintiffs, who are trying to prevent the Court from even considering the SOL

defense.11 The only jury-triable claims are time-barred; this Court should hear the argument.


 Dated: August 5, 2019                                           Respectfully submitted,

                                                                 IMSTEM BIOTECHNOLOGY, INC., REN-
                                                                 HE XU and XIAOFANG WANG,

                                                                 By their Attorneys,

                                                                 /s/ Timothy R. Shannon
                                                                 Timothy R. Shannon, MA Bar # 655325

10
  Status conference (Dkt. 73). Defendants apologized and offered to file a corrected brief to more fully explain the
defense and flag individual documents; the Court said words to the effect that everyone was “now on notice.”
11
   Plaintiffs’ caselaw is inapposite. Not only is the procedural history in Nikitine v. Wilmington Tr. Co., 715 F.3d
388, 390 (1st Cir. 2013) completely different, but Defendants here are seeking to add the SOL defense precisely
because of “new allegations coming to light following discovery, or of previously unearthed evidence surfacing”
(distinction the First Circuit has repeatedly used). Id. Likewise, Redondo-Borges v. United States Dep’t. of Housing
& Urban Dev., 421 F.3d 1, 6 (1st Cir. 2005) relates to a litigant’s failure to raise an issue in the trial court that it was
pressing on appeal. Plaintiffs make the blanket statement that “new” arguments in a reply are waived. (Oppn. at
18.) This elevates form over substance. Defendants stated the basis in open court the next day. Cf. United States v.
Bradstreet, 207 F.3d 76, 80 n. 1 (1st Cir. 2000) (“While a reply brief is not the proper place to raise new arguments,
it is proper for a court to look there for clarification.”) (internal citations omitted); see also Santos v. FEMA, 327
F.Supp.3d 328, n. 10 (D. Mass. 2018) (despite party’s conclusory statement in its opening brief, court decided to
consider the “fleshed out” arguments in supplemental briefing because of “the importance of the issues raised”).
                                                             7
        Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 9 of 101




                                                    VERRILL DANA LLP
                                                    One Portland Square
                                                    P.O. Box 586
                                                    Portland, Maine 04112-0586
                                                    (207) 774-4000
                                                    tshannon@verrilldana.com

                                                    Benjamin M. Stern, MA Bar # 646778
                                                    VERRILL DANA LLP
                                                    One Federal Street
                                                    Boston, Massachusetts 02108
                                                    (617) 309-2600
                                                    bstern@verrilldana.com



                                CERTIFICATE OF SERVICE

        I hereby certify that I caused an unredacted copy of this document to be filed by hand as
of the date below. A redacted copy will be filed in accordance with the Court’s procedures
through the CM/ECF system, to be sent electronically to the registered participants, and paper
copies to be sent to those indicated as nonregistered participants.

Dated: August 5, 2019                                 /s/ Timothy R. Shannon
                                                      Timothy R. Shannon




                                                8
       Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 10 of 101




                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

                                       )
ASTELLAS INSTITUTE FOR REGENERATIVE )
MEDICINE, and STEM CELL & REGENERATIVE )
MEDICINE INTERNATIONAL, INC.,          )
                                       )
      Plaintiffs,                      ) C.A. NO. 1:17-cv-12239-ADB
                                       )
 v.                                    )
                                       )
IMSTEM BIOTECHNOLOGY, INC., XIAOFANG ) LEAVE TO FILE UNDER SEAL
WANG, and REN-HE XU,                   ) GRANTED ON 8/2/19 (Dkt. 80)
                                       )
      Defendants.                      )
                                       )

         DECLARATION OF TIMOTHY R. SHANNON IN SUPPORT OF
     DEFENDANTS’ REPLY TO PLAINTIFFS’ OPPOSITION TO DEFENDANTS’
         MOTION FOR LEAVE TO FILE AMENDED COUNTERCLAIMS

       I, Timothy R. Shannon, state as follows:

       1.     I am an attorney at the firm Verrill Dana LLP, One Portland Square, Portland, ME

04101, counsel of record for the defendants, ImStem Biotechnology, Inc., Ren-He Xu, and

Xiaofang Wang (collectively, the “Defendants”). I am over the age of 18, am fully competent to

make this declaration, and make this declaration on personal knowledge.

       2.     Attached hereto as Exhibit 1 are true and accurate copies of excerpts from the

July 29, 2019 deposition of Xiaofang Wang, M.D., Ph.D.

       3.     Attached hereto as Exhibit 2 are true and accurate copies of excerpts from the

July 3, 2019 deposition of Ren-Xe Hu.

       4.     Attached hereto as Exhibit 3 are true and accurate copies of excerpts from the

June 18, 2019 deposition of Erin Kimbrel.

       5.     Attached hereto as Exhibit 4 are true and accurate copies of excerpts from the

June 24, 2019 deposition of Nicholas Arthur Kouris.
       Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 11 of 101




       6.      Attached hereto as Exhibit 5 is a true and accurate copy of an email thread

between myself and counsel for Plaintiffs, Lauren Sharkey, dated June 19-20, 2019.

       7.      Attached hereto as Exhibit 6 is a true and accurate copy of an email and

attachment Plaintiffs produced bearing Bates number AIRM00037250-387. Plaintiffs redacted

and withheld the email (AIRM00037250) in their production.

       8.      Attached hereto as Exhibit 7 is a true and accurate copy of an email and

attachment Plaintiffs produced bearing Bates number AIRM00226256-AIRM00226393.

Plaintiffs redacted and withheld the email (AIRM00226256) in their production. The attachment

to the email (AIRM00226257-393) is identical to the document attached to the email in Ex. 6

(AIRM00037251-387). In an effort to streamline Defendants’ submission, I only attached the

first and last pages of AIRM00226257-393. If, however, the Court wishes to see Ex. 7 in its

entirety, I would be happy to provide it.

       9.       Attached hereto as Exhibit 8 is a true and accurate copy of a screenshot of

metadata Plaintiffs produced (on or about June 20, 2019) for the emails and attachments at Exs. 6

& 7. This metadata was then loaded into my firm’s document review software, and a screenshot

was created therefrom.

       10.     Attached hereto as Exhibit 9 is a true and accurate copy of an email Plaintiffs

produced bearing Bates number AIRM00296171-72.

       11.     Attached hereto as Exhibit 10 is a true and accurate copy of excerpted pages from

Plaintiffs’ privilege log, which was provided to Defendants on July 29, 2019.

       12.     Attached hereto as Exhibit 11 is a true and accurate copy of U.S. Patent

Application No. US 2015/2023820.




                                                2
       Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 12 of 101




       Signed under the pains and penalties of perjury this 5th day of August, 2019.

                                                     /s/ Timothy R. Shannon
                                                     Timothy R. Shannon




                                CERTIFICATE OF SERVICE

           I hereby certify that I caused an unredacted copy of this document to be filed by hand
as of the date below. A redacted copy will be filed in accordance with the Court’s procedures
through the CM/ECF system, to be sent electronically to the registered participants, and paper
copies to be sent to those indicated as nonregistered participants.

Dated: August 5, 2019                                  /s/ Timothy R. Shannon
                                                       Timothy R. Shannon




                                                3
Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 13 of 101




                EXHIBIT 1
    Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 14 of 101


                    HIGHLY CONFIDENTIAL
Wang, M.D Ph.D., Xiaofang - Vol. II                        July 29, 2019

                                                                  264
                   UNITED STATES DISTRICT COURT

                     DISTRICT OF MASSACHUSETTS

                           NO. 1:17-cv-12239



      ASTELLAS INSTITUTE FOR REGENERATIVE

      MEDICINE, AND STEM CELL & REGENERATIVE

      MEDICINE INTERNATIONAL, INC.,

                           Plaintiffs,

                     vs.

      IMSTEM BIOTECHNOLOGY, INC., XIAOFANG

      WANG, AND REN-HE XU,

                           Defendants.                HIGHLY

                                                      CONFIDENTIAL




                        CONTINUED VIDEOTAPED DEPOSITION OF

      XIAOFANG WANG, MD, PhD, called as a witness by and

      on behalf of the Plaintiffs, pursuant to the

      applicable provisions of the Federal Rules of Civil

      Procedure, before P. Jodi Ohnemus, RPR, RMR, CRR,

      CA-CSR #13192, NH-LSR #91, MA-CSR #123193, and

      Notary Public, within and for the Commonwealth of

      Massachusetts, at Latham & Watkins LLP, 200

      Clarendon Street, Boston, Massachusetts, on Monday,

      July 29, 2019, commencing at 1:13 p.m.



                    Henderson Legal Services, Inc.
202-220-4158                          www.hendersonlegalservices.corn
       Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 15 of 101


                      HIGHLY CONFIDENTIAL
Wang, M.D., Ph.D., Xiaofang - Vol. II                           July 29, 2019

                                                                       369
  1     models.

  2            Q.   Let me show you what's been previously

        marked as Exhibit 71.        It's a copy of US Patent

        8,963,321.

               A.   (Witness reviews document.)

                    (Exhibit 71, previously marked.)

               Q.   So if you look at -- have you reviewed the

        '321 patent before?

               A.   Yes.

 10.           Q.   And when have you reviewed the '321

 11     patent?

 12            A.   So only until recently, and I think is

 18.    after my deposition I carefully review this one.

 14     Before the deposition I know this patent, but I

 15     didn't spend time to carefully review this.

 10            Q.   All right.     So if you look at column 9.

 17           A.    Which page?

 18            Q.   It's -- if you look at the column numbers

 19     at the top of the page, it has a number 9 at the

 20     top.

              A.    Uh-huh.    (Witness reviews document.)    Ah,

 22-    here.

 23           Q.    Yeah.     And you see there's a discussion of

 24     the figures, figure 11, 11B, 12, and then figure

 25     13?



                           Henderson Legal Services, Inc.
202-220-4158                                 www.hendersonlegalservices.com
Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 16 of 101




                 EXHIBIT 2
    Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 17 of 101


                          CONFIDENTIAL
X   Ren-He                                                 July 3, 2019

                                                                       1
                   UNITED STATES DISTRICT COURT

                    DISTRICT OF MASSACHUSETTS




     ASTELLAS INSTITUTE FOR
     REGENERATIVE MEDICINE, AND
     STEM CELL & REGENERATIVE
     MEDICINE INTERNATIONAL, INC.,

               Plaintiffs,

         vs.                             C.A. No.
                                         1:17-cv-12239
     IMSTEM BIOTECHNOLOGY, INC.,
     XIAOFANG WANG, and REN-HE XU,


                Defendants.




               *CONFIDENTIAL - PROTECTIVE ORDER*



             VIDEOTAPED DEPOSITION OF REN-HE XU, taken on

     behalf of the Plaintiffs, at 12670 High Bluff Drive,

     San Diego, California, commencing at 9:19 a.m. and

     ending at 5:10 p.m., Wednesday, July 3, 2019.




     Reported by:
     Audrey L. Ricks
     CSR No. 12098, CCR, RPR, CLR



                   Henderson Legal Services, Inc.
202-220-4158                       www.hendersonlegalservices.corn
        Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 18 of 101


                                               CONFIDENTIAL
Xu Ren-He                                                                                              July 3, 2019
                                                                                   46 (Pages 178 to 181)
                                                        178                                                         180
        collaborative data, the data from us, especially the        inhibit or inactivate the mitosis of the cells. The
        in vivo data, in international conference.                  cells still have effect.
                Secondly, they had a plot to block our                      This is very good news to patients. So
        publication. So our collaboration was, in my mind           it's dramatically reduced the bio safety. You don't
        was all about the publication in good quality               need to concern the cells will proliferate in your
        journal, but they had a plot to prevent that. And       6   body. Those cells are from an ES cell line, right?
  7
        they took -- they wanted to take all the credit. So         You don't want that. So this is great news.
        I feel unfortunate to collaborate with them.                BY MR. FRAZIER:
        BY MR. FRAZIER:                                                  Q Other people had already
             Q But you were given cells and a protocol;             mitotically-inactivated MSC cells before using them
        correct?                                                    in animal models; correct?
 12
                MR. SHANNON: Objection.                        62       A I don't think so.
 13
                THE WITNESS: I said I feel unfortunate.         3
                                                                         Q Have you studied the literature on that?
 14
        If I didn't get the cells from them, I would have               A We searched around and we didn't see
        our own TMSC method as well.                            5
                                                                    similar reports before.
 16
        BY MR. FRAZIER:                                                    That's why I feel Xiaofang is a really
 17
             •   But you didn't describe the TMS -- the        17
                                                                    brilliant scientist. I was very fortunate to have
 16
        TMSC method in this grant application; right?               him as my postdoc, so he really had good background
 19
             A At that time we didn't include the -- that      19
                                                                    in immunology training and also he capture a lot
 20
        method. That was in -- under filing, I think, maybe    20
                                                                    from my stem cell research and developed very fast.
 23
        at that time. I'm not very clear.                           He's a very good scientist.
 22
                First -- secondly, it's because, as I          22
                                                                            MR. FRAZIER: All right. Let me show you
 21.
        said, no matter which method you make, the grant       23
                                                                    what's been previously marked as Exhibit 50.
 24
        application is the same. You -- you are targeting a                 (Previously marked Exhibit 50
 25
        highly devastating disease in the west, and using a    25
                                                                            reviewed by the witness.)


                                                       179                                                          181
        new cell type. So that's -- and especially this new         BY MR. FRAZIER:
        cell type we found it has much lower                            Q My question is, do you recognize what
        pro-Inflammatory factor 106 and we could also use           Exhibit 50 is?
  4
        mitotically-inactivated cells for the treatment.               A No. First time to me.
        These are all blessing, you know, for patients. So              Q You haven't seen this one before?
        that's -- those ideas matter.                                  A No.
               Also you use MSC to treat the disease,                   Q Okay. All right. Are you aware that
        there's already tons of papers, tons of ideas. But          there were various presentations of information made
  9
   •    to use this ES-derived MSC to treat this disease            to potential investors in ImStem?
 19
        with low prolif pro-inflammatorous cytokine 106        10
                                                                       A I knew they were looking for some more
                                                               11
 11
        and mitotically-inactivated cells instead of                investment. Yeah.
 12
        mitotically-active cells, this significantly reduced   12
                                                                        Q All right. But you didn't review either
 13
        the bio safety concern.                                13
                                                                    the -- the business plan or the slides that are
            Q Right. And -- and you obviously were not         14
                                                                    attached to Exhibit 50?
                                                               15
 15
        the first one to come up with the idea of                      A No.
 16
        mitotically inactivating stem cells; correct?          16
                                                                            MR. FRAZIER: Let's see. There's another
            A Mitotically inactivating cells is not new,       17
                                                                    one in the stack there in front of you that is
                                                               18
 le
        but mitotically inactivated ES-derived MSC is new.          Exhibit 66.
 19 .                                                          19
                                                                           (Previously marked Exhibit 66
        It's important.
 20:
            Q It was only new because they were a new          20
                                                                           reviewed by the witness.)
 21
        cell type as taught to you by ACT; right?              21
                                                                    BY MR. FRAZIER:
 22
                MR. SHANNON: Objection.                        22
                                                                        Q You see Exhibit 66 is another collection
                                                               23
 23
                THE WITNESS: It's new because we tell --            of e-mails, this time from August of 2013?
 24
        clearly tell people that mitotically inactivation      25
                                                                       A Yeah. There's -- it's talking about mice.
                                                               25
 25
        doesn't matter for the cell effects. So you can                 Q Yeah. So you see it begins on page 31134



                                   Henderson Legal Services, Inc.
202-220-4158                                       www.hendersonlegalservices.com
Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 19 of 101
Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 20 of 101
Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 21 of 101




                 EXHIBIT 5
               Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 22 of 101



Ben Stern

From:                               Lauren.Sharkey@lw.com
Sent:                               Thursday, June 20, 2019 1:37 AM
To:                                 Timothy Shannon; Rebecca.Rabenstein@lw.com; David.Frazier@lw.com;
                                    ASTELLASASTELLASV.IMSTEM.LWTEAM@Iw.com; spritchett@nixonpeabody.com;
                                    shansen@nixonpeabody.com; tlieberman@nixonpeabody.com
Cc:                                 Jennifer Harrell; Ben Stern
Subject:                            RE: Astellas v. ImStem, No. 1:17-cv-12239-ADB (D. Mass.) - Missing metadata
Attachments:                        CustodianOL.zip


Tim,

Attached is an overlay that has custodian, bates and file name information for the redacted documents. The password for
this zip file is &38 i,)clkwW. We are working on obtaining the additional metadata and will get it to you via another
overlay as quickly as possible. We note that the first time you raised this issue was on June 19 at 11:14 pm, despite the
fact that we produced documents to you on :


 Production Volume Date Produced

 0001                    January 30, 2019

 0002                    February 8, 2019

 0003                    February 19, 2019

 0004 & 0004a            March 29, 2019

 0005 & 0006             April 23, 2019

0007                     June 13.2019


Kind regards

Lauren



From: Sharkey, Lauren (CH) <Lauren.Sharkey@lw.com>
Sent: Wednesday, June 19, 2019 10:57 PM
To: Timothy Shannon <tshannon@verrilldana.com>; Rabenstein, Reba (DC) <Rebecca.Rabenstein@lw.com>; Frazier,
David (DC) <David.Frazier@lw.com>; #C-M ASTELLAS - ASTELLAS V. IMSTEM - LW TEAM
<ASTELLASASTELLASV.IMSTEMIWTEAM@Iw.com>; 'spritchett@nixonpeabody.com' <spritchett@nixonpeabody.com>;
'shansen@nixonpeabody.com' <shansen@nixonpeabody.com>; 'tlieberman@nixonpeabody.com'
<tlieberman@nixonpeabody.com>
Cc: Jennifer Harrell <Tharrell@verrilldana.com>; Ben Stern <bstern@verrilldana.com>
Subject: RE: Astellas v. ImStem, No. 1:17-cv-12239-ADB (D. Mass.) - Missing metadata

Tim.

This is the first I am hearing of this- -could you provide me the bates of an example or two so I can look into the issue?
              Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 23 of 101


Thank you,

Lauren

From: Timothy Shannon <IshannonObyerriliciana.corn>
Sent: Wednesday, June 19, 2019 10:14 PM
To: Sharkey, Lauren (CH) <Laureci.Sri.3r3;c_,y.ciTh.v.cbrn>; Rabenstein, Reba (DC) <Rebecca.RabensteinR1w.corr:>; Frazier,
David (DC) <David.Frazier(allw.corn>; #C-M ASTELLAS - ASTELLAS V. IMSTEM - LW TEAM
<ASTELLASASTELLASV.IntirEM.LWTEAMPiw.com>; Ispritchett@nixonpeabody.corn' <spritchettffnixonpfabodv.com>;
'shansen@nixonpeabody.com' <shansen@eixonpeabody.com>; 'tlieberman@nixonpeabody.com'
<thebermanenixonpeabody.com>
Cc: Jennifer Harrell <Tharreligilverriliciana.corn>: Ben Stern <bstern@verrillciana.corn>
Subject: Astellas v. ImStem, No. 1:17-cv-12239-ADB (D. Mass.) - Missing metadata

Lauren & Reba,

It has come to our attention that the Plaintiffs removed metadata from approximately 3200 redacted documents in the
Astellas production. This includes both relevancy redactions and privilege redactions. By way of example, the custodian
field is blank for over 3,000 documents. We consider this improper and assume it was an oversight. For documents
containing relevancy redactions, the document by definition contains at least some responsive information; the
metadata is associated with that responsive information. For documents containing privilege redactions, the document
likewise contains non-privileged and responsive information, for which the metadata may be necessary to confirm
privilege.

This is causing several problems. Most immediately, it's causing us to miss documents in our filtering, searching,
analysis, and preparation for depositions. Please provide overlay load files containing the metadata fields agreed upon
in the Court's ESl order ASAP. If you provide it by tomorrow morning we will endeavor to run our searches for Lanza in
time to use them in the deposition.

Regards,
Tim


Timothy R. Shannon, Partner
One Portland Square
Portland, ME 04112-0586
Office: (207) 253-4622
One Boston Place, Suite 1600
Boston, MA 02108-4407
Office: (617) 309-2600
Bio: verrilldana.com/tshannon

Verrill Dana


This email and any attachment was sent from the law firm Verrill Dana, LLP. It may contain information that's privileged and
confidential. If you suspect that you were not intended to receive it, please delete it and notify us as soon as possible. Thank you.




                                                                   2
Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 24 of 101
Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 25 of 101
Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 26 of 101
                                           Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 27 of 101



PCT Application in Astellas’ production:
Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 28 of 101
Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 29 of 101
Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 30 of 101
Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 31 of 101
Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 32 of 101
Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 33 of 101




               EXHIBIT 11
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 34 of 101
                                               1111111111111111
                                                      111111
                                                         11111
                                                           11111
                                                              IR12101,0i1111
                                                                         01,1181110111111111111111111111111110
(19) United States
(12) Patent Application Publication                                   (10) Pub. No.: US 2015/0203820 Al
       Wang et al.                                                    (43) Pub. Date:       Jul. 23, 2015

(54)   MESENCHYMAL-LIKE STEM CELLS                                             Publication Classification
       DERIVED FROM HUMAN EMBRYONIC
       STEM CELLS, METHODS AND USES                            (51) Int. Cl.
                                                                    C12N 5/0775            (2006.01)
       THEREOF
                                                                    C12N15/01              (2006.01)
                                                                    A61K 35/28             (2006.01)
(71)   Applicant: IMSTEM BIOTECHNOLOGY, INC.,
                                                                    C12N 13/00             (2006.01)
                  Unionville, CT (US)
                                                               (52) U.S. Cl.
(72)   Inventors: Xiaofang Wang, Unionville, CT (US);               CPC            C12N 5/0662 (2013.01); C12N 13/00
                                                                          (2013.01); C12N15/01 (2013.01); A61K 35/28
                  Ren-He Xu, Farmington, CT (US)
                                                                             (2013.01); Cl 2N 2501/155 (2013.01); CJ2N
(21)   Appl. No.:      14/413,290                                          2501/165 (2013.01); C12N 2501/10 (2013.01)
                                                               (57)                    ABSTRACT
(22)    PCT Filed:     Jun. 27, 2013                           The present invention relates to methods of generating and
                                                               expanding hitman embryonic stem eel! derived mesenchy-
(86)    PCT No.:       PCT/US13/48291                          mal-like stem/siromal cells. These hES-MSCs are character-
       § 371 (c)(1),                                           ized at least in part by the low level of expression of IL-6.
       (2) Date:       Jan. 7, 2015                            These cells are useful for the prevention and treatment of T
                                                               cell related autoimmune disease, especially multiple sclero-
                                                               sis, as well as for delivering agents across the blood-brain
              Related U.S. Application Data                    barrier and the blood-spinal cord barrier. Also provided is a
                                                               method of selecting clinical grade hES-MSC and a method of
(60)   Provisional application No. 61/762,961, filed on Feb.   modifying MSC to produced a MSC with specific biomarker
       11, 2013, provisional application No. 61/670,787,       profile. The modified MSC are useful for treatment of various
       filed on Jul. 12, 2012.                                 diseases.
     Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 35 of 101


Patent Application Publication   Jul. 23, 2015 Sheet 1 of 31   US 2015/0203820 Al




      A                                           B




                hESC




             hES-MSC                                  HB-enriched

                                 FIGS. 1 (A-D)
     Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 36 of 101


Patent Application Publication    Jul. 23, 2015 Sheet 2 of 31   US 2015/0203820 Al




                             Day 9 Hemangtob ast


                    A




                    B




                                            CD73




                    C




                                             e e
                                            C031


                                 FIGS. 2 (A-C)
     Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 37 of 101


Patent Application Publication   Jul. 23, 2015 Sheet 3 of 31    US 2015/0203820 Al




                                 Day 14 hES-HB-MSCs
     A                                                      C




                      CD45
     D




                                             4      4  fe               of .   oi
                                                   CD13               CD29
      G




                                             4E     of
                      CD31                  lAtt   CD54CAM)


                                    FIGS. 3 (A-I)
     Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 38 of 101


Patent Application Publication   Jul. 23, 2015 Sheet 4 of 31             US 2015/0203820 Al




                                                    10              11            12




      13                         19           19               17




                                               4:
      19            20           21           22




                                      FIG. 4
     Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 39 of 101


Patent Application Publication         Jul. 23, 2015 Sheet 5 of 31          US 2015/0203820 Al




                                              B                                 C

                                                                   4 Atfal3Z-

                                            ES-MS




                                       foft\-:1:4,Kok
      1 4 7 1012. 16    22 25 28 31     1 4 7 10 .13131322252831     1 4 7 101,31619222528
      Day Past   smu, atkm




                                      FIGS. 5 (A-C)
     Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 40 of 101


Patent Application Publication    Jul. 23, 2015 Sheet 6 of 31       US 2015/0203820 Al




                                         B                      C

                                    80 ,                   80
                                    60.                    60
                                    40                     40
                                    20.                    20




          4.




            D                        E



                                 FIGS. 6 (A-F)
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 41 of 101


Patent Application Publication   Jul. 23, 2015 Sheet 7 of 31   US 2015/0203820 Al




           4


            3
   0
  to

   tr)
   co


                I 4 7 10 1.3 16 19 22 25 28
                Day Pos immunizaton

                                    FIG. 7
     Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 42 of 101


Patent Application Publication   Jul. 23, 2015 Sheet 8 of 31   US 2015/0203820 Al




      A                   PBS                    B     hES
                                       7<',
            c.
            0




                                 CD


                                 FIGS. 8(A-B)
     Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 43 of 101


Patent Application Publication        Jul. 23, 2015 Sheet 9 of 31     US 2015/0203820 Al




             A
                                                          E
                                                               PBS         hES40. .10




      0.5
                       e
                                                               1FN7


            PBS   ha   $4,1SC       PBS   has   h.S-MSC
                                D

                                    FIGS. 9 (A-F)
     Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 44 of 101


Patent Application Publication   Jul. 23, 2015 Sheet 10 of 31   US 2015/0203820 Al




                A      hES-MSC               B          PBS



          0
           n


           CO




                C                            D


                                 FIGS. 10 (A-D)
     Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 45 of 101


Patent Application Publication   Jul. 23, 2015 Sheet 11 of 31   US 2015/0203820 Al




                                 -MS                     PBS




                                                                      1
                                   FIG. 11
     Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 46 of 101


Patent Application Publication              Jul. 23, 2015 Sheet 12 of 31        US 2015/0203820 Al




                                           A




                        -tb\-5M-14$
                        BM -MS #2
                         BM-NISC#3
      (I)
                          'ESAVISC-                %
      as




                                      .,               .

                          3 5 7 9 11 13 15 17 19                    23 .25 27 29 31
                 Day Post-immunization
                             B                                             C

                                                           WPBS
            .3b.13MAISC#4
            .A.1)ES-MSC                                    -A-hES-MSC




                                                                               V V



                    7     10 13   16 19 22     25 28               10 13 16 19 22 25 28 31



                                           FIGS. 12 (A-C)
        Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 47 of 101


Patent Application Publication    Jul. 23, 2015 Sheet 13 of 31   US 2015/0203820 Al




        A




    C                                             D
                                                            ThI7

                                             15


            1




                                 FIGS. 13 (A-D)
     Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 48 of 101


Patent Application Publication   Jul. 23, 2015 Sheet 14 of 31   US 2015/0203820 Al




                A                     B                           C




                                                                      I DAM



                D                    E




                                    FIGS. 14 (A-E)
     Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 49 of 101


Patent Application Publication         Jul. 23, 2015 Sheet 15 of 31       US 2015/0203820 Al




                                                                      B
                       a. Parenthyrnal Vent/le                b. Merkingeal Venule




                                          A,.




                                  FIGS. 15 (A-B)
     Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 50 of 101


Patent Application Publication                 Jul. 23, 2015 Sheet 16 of 31            US 2015/0203820 Al




                     A                                            B


                                                                                        -ffii>8&14,,,46C#1
                                                                                        -*-13M-MSC#2
                                                                                        -so-E1M-NISC#3
                                                                                        ..041ES-r;ASC(MA09)
                                                                                        —0-hES-MSC(CT2)


                     0.6       2                         02                2
               r4i-CtX.1 antibody ii.igirni;               an CC* antibody 4itginii)



                                           FIGS. 16 (A-B)
        Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 51 of 101


Patent Application Publication          Jul. 23, 2015 Sheet 17 of 31       US 2015/0203820 Al




                                                 WhISC404                  hES-MSC

                     004          006     004               0.06    G04                .008


                     021%   0.1          016%         0.16%        0.44%         0.74%
      NC         '




   anti-CD3                  11%                      0.45         0.95%
   0.1 pgityll




                            46%           3            35%         15%               20%
   anti-CCM
   0,3     1



                             CFSE



                                         FIG. 17
     Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 52 of 101


Patent Application Publication             Jul. 23, 2015 Sheet 18 of 31                          US 2015/0203820 Al




            C..ontroi        B   hE$-mc    C     EM-A1SC#2             D   I3M-WISC.Y.11•   E   1:11M kaCe

                                                                                                       s.
                                                                                                             ml
                                                                                                             Conditon


                                            4t..aeacc            ,^


                             G              H
                                     Mme
                                                                                                             ml?
                                                                                                             Collator,


                        IV                              ..,• 1?4's1,
              19*




                                          FIGS. 18 (A-J)
     Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 53 of 101


Patent Application Publication              Jul. 23, 2015 Sheet 19 of 31           US 2015/0203820 Al




                                            A

      &00E+03

      7.00E+03

      6.00E+03         hES-IVISC

      5.00E+03

      4.00E+03

      3.00E+03

      2.00E+03

      1..001+03
                                                                       :              4L,
      0.00E+00
                  HOXBS 0024          TRIMS FOXOI ABCA1 CADMI        RL,1C         TG FB2




            3.00E+04 •+.

                                  BM-MSC
            2.50E+04
                                  hES-MSC
            2.00E+04


            1.50E+04 • •


            1.00E+04


             .00E+03                                  N
            0,00E+00
                           CCL2   STAT4 STATI MMP2 RAGE IENG 2 tL12A         IL6     VCAMI




                             B

                                        FIGS. 19 (A-B)
     Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 54 of 101


Patent Application Publication   Jul. 23, 2015 Sheet 20 of 31   US 2015/0203820 Al




          A    BM-MSC.41         B      -M     *2           C BM-MSC




           D   hES-MSCtl         E   11E9-MSC**         F    hES-MSC#3




                                 FIGS 20 (A-F)
     Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 55 of 101


Patent Application Publication    Jul. 23, 2015 Sheet 21 of 31   US 2015/0203820 Al




                                                 lOngimf


                                                    2.13%
                                                                 ICES     SC


                          a




                                                                 BM MSC
     C                                D
                          1L-6

                                 FIGS. 21 (A-D)
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 56 of 101


Patent Application Publication            Jul. 23, 2015 Sheet 22 of 31          US 2015/0203820 Al




                EilY1-1448(.42                           0G      BMAISC#0


                                                                                      I CO Only
                                                                 r                 4611M4A8C icjGK
                                                                                   .4661VI-MSC ® ant-IL4
    °^
                                    Aj                   40..t

           20                                            .201

                                                          04—               .
                0.2    0.8               0.2   06   2            0.2   0.

                                 anlj-CD argibody (QM)


                                         FIGS. 22(A-C)
     Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 57 of 101


Patent Application Publication   Jul. 23, 2015 Sheet 23 of 31   US 2015/0203820 Al




                         A
                                           70
             CD4                                C08
                                                                     ANC

                                                                    .4-BM-MSC
        15                            "0
                                         °)
        10                            e 30 4                         ..?t-E3M-MSC i-
                                         20 4                             fx1L-6
                                      0
                                      a: 10
         0                                 O
                   0.3                                0.3   1   3


                             FIGS. 23 (A-B)
     Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 58 of 101


Patent Application Publication    Jul. 23, 2015 Sheet 24 of 31    US 2015/0203820 Al




        A            B                                    E
         Control    nES-IViSC    BNI-MSC#2   Bkl-MSC#3   arkl-MSC#6

                                                                      Tho condition
                                                                       IgGh:



                                                                      Th0 Condition
                                                                       anti-1L-6



                     G            H
          F

                                 FIGS. 24 (A-J)
     Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 59 of 101


Patent Application Publication    Jul. 23, 2015 Sheet 25 of 31   US 2015/0203820 Al




               740;'KESAISC
                     irr-hES-NI




                  3 5 7 9 11 13 15 17 19 21 23 25 27 29
                    Day Post-immunization

                                     FIG. 25
     Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 60 of 101


Patent Application Publication   Jul. 23, 2015 Sheet 26 of 31   US 2015/0203820 Al




            Anti-luciferase(green)/DAPI(blue)
   0
   co



    (I)
    (t)

    (1)
    0



                                 FIG. 26
     Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 61 of 101


Patent Application Publication      Jul. 23, 2015 Sheet 27 of 31         US 2015/0203820 Al




                        aES-tvISC                           kr-hES-IVISC

                                    Back                Front                Back


    Day 0

                                                           ,M ''''''''
                                                            s.

    Day 1




    Day




    Day 7



                        A

                                 FIGS. 27 (A-B)
     Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 62 of 101


Patent Application Publication   Jul. 23, 2015 Sheet 28 of 31   US 2015/0203820 Al




   0.4million        Ti..4-Bio                  alone


       003




       Day?




                        1. -2                     0.5-0.7
                                                                  (million)

                             FIG. 28 (A-D)
     Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 63 of 101


Patent Application Publication        Jul. 23, 2015 Sheet 29 of 31   US 2015/0203820 Al




                                        Day 2 EBs




      100
                                                                          a Day 2 E.%




               L\       ,
               Ti- MO            CM




                                             FIG. 29
     Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 64 of 101


Patent Application Publication           Jul. 23, 2015 Sheet 30 of 31    US 2015/0203820 Al




        Day. HB
                                                                    Ti+Bio


                                 4 •:*q. .
                                             tv

                                  TC441;




                                                                    Ti
                                                     .2.1"




                                                     D45


                                                    FIG. 30
     Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 65 of 101


Patent Application Publication   Jul. 23, 2015 Sheet 31 of 31   US 2015/0203820 Al




                                     FIG. 31
        Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 66 of 101


US 2015/0203820 Al                                                                                                  Jul. 23, 2015
                                                                 1


        MESENCHYMAL-LIKE STEM CELLS                                  these offer only palliative relief and are associated with seri-
       DERIVED FROM HUMAN EMBRYONIC                                  ous adverse effects including increased infection, heart
        STEM CELLS, METHODS AND USES                                 attack, stroke, progressive multifocal leukoencephalopathy,
                  THEREOF                                            arrhythmia, pain, depression, fatigue, macula edema, and
                                                                     erectile dysfunction (Johnston and So (2012); Weber et al.
           CROSS REFERENCE TO RELATED                                (2012)).
                   APPLICATION                                       [0004] Transplantation of mesenchymal stromal/stem cells
[0001] The present application claims priority to U.S.               (MSCs) has emerged as a potentially attractive therapy due to
patent application Ser. No. 61/670,787 on Jul. 12, 2012 and          their immunomodulatory and neuroregenerative effects (Au-
U.S. provisional application Ser. No. 61/762,961, filed Feb.         letta et al., (2012); Pittenger et al. (1999)) and potential ability
11, 2013, which are hereby incorporated by reference in their        to repair the blood-brain barrier (Chao et al. (2009); Menge et
entireties.                                                          al. (2012)). MSCs are multipotent meaning they can generate
                                                                     a variety of cell lineages including adipocyte, chondrocyte,
                    1. INTRODUCTION                                  and osteoblast cells. They can be derived from fetal, neonatal,
                                                                     and adult tissues such as the amniotic membrane, umbilical
[0002] The present invention relates to a method of gener-           cord, bone marrow, and adipose. MSCs have several unique
ating mesenchymal stem cells from human embryonic stem               advantages over current pharmacotherapies, as these cells can
cells using a multi-step method of culturing embryonic stem          serve as carriers of multiple and potentially synergistic thera-
cells comprising culturing embryonic stem cells under con-           peutic factors, and can migrate to injured tissues to exert local
ditions sufficient to produce embryoid bodies, culturing the         effects through secretion of mediators and cell-cell contact
embryoid bodies under conditions to expand hemangio-                 (Uccelli and Prockop (2010a)). Importantly, MSCs have been
colony forming cells in the medium comprising the embryoid           found efficacious in the treatment of mice with experimental
bodies, and culturing the hemangio-colony forming cells              autoimmune encephalomyelitis (EAE), a well-recognized
under conditions that induce differentiation into mesenchy-          animal model of MS (Gordon et al., 2008a; Gordon et al.
mal stem cells. Also disclosed are methods of identifying            (2010); Morando et al. (2012); Peron et al. (2012); Zappia et
highly immunosuppressive human embryonic stem cell                   al. (2005); Zhang et al. (2005)), as well as MS patients in
derived mesenchymal-like stem cells. The invention also              clinical trials (Connick et al. (2012); Karussis et al. (2010);
relates to the human embryonic stem-cell derived mesenchy-           Mohyeddin Bonab et al. (2007); Yamout et al. (2010)). Xeno-
mal stem cells, solutions and pharmaceutical preparations            geneity does not appear problematic as both mouse and
comprising the human embryonic stem cell-derived mesen-              human bone marrow-derived MSC (BM-MSC) can attenuate
chymal stem cells, methods of using the human embryonic              disease progression of EAE mice (Gordon et al. (2008a);
stem-cell derived mesenchymal stem cells for treatment and           Gordon et al. (2010); Morando et al. (2012); Peron et al.
prevention of disease, specifically, T cell related autoimmune       (2012); Zappia et al. (2005); Zhang et al. (2005)).
diseases, and most specifically, multiple sclerosis, and meth-       [0005] However, pitfalls exist for translating these findings
ods of using the human embryonic stem cell-derived mesen-            from animals to patients. First, the limited sources and vary-
chymal stem cells for the delivery of agents across the blood        ing quality of human bone marrow (or other adult tissues)
brain barrier and the blood spinal cord barrier. Also provided       from different donors restrict the study and application of the
herein are methods of using hES-MSCs to modulate the                 MSCs, and prevent the standardization of the MSCs as a
immune system, inhibit immune response to individual's               therapeutic product for large-scale clinical use. Second, these
self-antigen and repair damaged central nerve systems. Pro-          adult tissue-derived MSCs are highly mixed populations of
vided herein are compositions comprising hES-MSCs for use            cells, and perhaps only a portion of the cells exerts immuno-
in immunomodulation, methods of providing modified MSC               suppressive effect. To obtain enough cells that are clinical
with improved immunosuppressive function through modi-               grade for clinical use, one has to expand the MSC in vitro,
fied gene expression. Also provided are methods of using             which can decrease their immunosuppressive and homing
hES-MSC as drug and/or gene delivery system.                         abilities (Javazon et al. (2104)). Third, there are safety con-
                                                                     cerns about BM-MSC for possible malignant transformation
                    2. BACKGROUND                                    of the cells (Wong (2011)), and potential transmission of
[0003] Multiple sclerosis (MS) is a chronic autoimmune               pathogens from donors. Finally, varying effects were reported
disease caused by infiltration of peripheral immune cells into       on EAE mice treated with BM-MSC in different reports (Gor-
the central nervous system (CNS) through damaged blood-              don et al. (2008a); Payne et al. (2012); Zappia et al. (2005);
brain barrier (BBB) or blood-spinal cord barrier (BSCB),             Zhang et al. (2005)). Thus, the efficacy of BM-MSC on treat-
which causes inflammation of the myelin sheaths around               ment of the disease is questionable.
neuronal axons, and causes demyelination and scarring of the         [0006] Thus, there is a need for new therapies for the treat-
axons (McFarland and Martin (2007)). Almost any neurologi-           ment of multiple sclerosis and other autoimmune diseases.
cal symptom including physical and cognitive disability can          There is also a need for an unlimited, safe, highly stable,
appear with MS. The incidence of the disease is approxi-             efficient and consistent source of MSC to use as a treatment
mately 0.1% worldwide, and the disease onset usually occurs          and prophylactic for these diseases as well as others.
in young adults (more in females) (Benito-Leon (2011)).              [0007] It has been reported that human embryonic stem
According to the National Multiple Sclerosis Society of              cells (hESC) can differentiate into embryoid bodies (EB), and
United States, there are more than 70 FDA-approved medi-             then into a pool of cells with hemangioblast (HB) activities,
cations for the treatment of MS, including Avonex (IFN(3-1a),        i.e., they can further differentiate into vascular smooth muscle
Betaseron (IFN(3-1b), Gilenya (a sphingosine 1-phosphate             cells, endothelial cells, and hematopoietic cells (Chyou et al.
receptor modulator), Glatiramer acetate (or Copolymer 1),            (2008); Lu et al. (2007); Lu et al. (2009)). Therefore it was
and Tysabri (humanized anti-a-integrin antibody). However,           reasoned that a portion of these HB-containing cells could
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 67 of 101


US 2015/0203820 Al                                                                                                  Jul. 23, 2015
                                                                    2


differentiate into MSCs, thus, eliminating the problems found           [0016] In certain embodiments, at least about 90%, 91%,
with bone marrow-derived MSCs. These mesenchymal stem                   92%, 93%, 94%, 95%, 96%, 97%, 98%, or 99% of the result-
cells derived from human embryonic stem cell would be an                ing human embryonic-mesenchymal stem cells express
unlimited, safe, and consistent supply of stem cells to be used         CD73.
to treat and prevent autoimmune diseases. Also disclosed                [0017] In certain embodiments, at least about 95% of the
herein are microarray analysis and other analysis, where sev-           resulting human embryonic-mesenchymal stem cells express
eral key factors are identified which differentially expressed          CD73. In certain embodiments, more than 95% of the result-
in hES-MSC compared to BM-MSC.                                          ing human embryonic-mesenchymal stem cells express
                                                                        CD73.
           3. SUMMARY OF THE INVENTION                                  [0018] In certain embodiments, the medium contains
                                                                        growth factor including vascular endothelial growth factor
[0008] The current invention is based on the surprising                 (VEGF), bone morphogenic protein (BMP), stem cell factor
discovery that a portion of the HB-containing cells derived             (SCF), Flt-3L (FL), thrombopoietin (TPO), erythropoietin
from embryonic stem cells (hES), can also differentiate into            (EPO) or a combination thereof.
MSC, designated "hES-MSC", with high efficiency and con-                [0019] In certain embodiments, the serum-containing
sistency. These hES-MSCs produced from multiple hESC                    medium contains fetal calf serum, L-gultamine and the
lines by the method of the invention, all remarkably inhibited          scrum-free medium contains knockout serum replacement
T cell proliferation and differentiation in vitro and attenuated        (KOSR) or bovine serum albumin (BSA).
the disease score of EAE mice in vivo, accompanied by
                                                                        [0020] In certain embodiments, there is an additional step
decreased demyelination, T cell infiltration, and microglial
                                                                        of irradiating the resulting human embryonic-mesenchymal
responses in the CNS. In contrast, BM-MSC from multiple
                                                                        stem cells with gamma radiation ranging from 1 gy to 200 gy.
sources had no effect at all on the EAE mice although they
                                                                        [0021] In certain embodiments, the method for generating
may reduce T cell proliferation and differentiation in vitro.
                                                                        and expanding human embryonic-mesenchymal stem cells
[0009] Thus, the present invention overcomes the problems               results in at least 10,000 human embryonic-mesenchymal
described above by providing a method of generating mesen-              stem cells, at least 50,000 human embryonic-mesenchymal
chymal stem cells (MSC) in vitro from human embryonic                   stem cells, at least 100,000 human embryonic-mesenchymal
stem cells. The ability to generate the hES-MSC by the novel            stem cells, at least 500,000 human embryonic-mesenchymal
method disclosed herein allows the production of cells that             stem cells, at least 1x106 human embryonic-mesenchymal
can be used in a variety of therapeutic applications, including         stem cells, at least 5x106 human embryonic-mesenchymal
the treatment and prevention of multiple sclerosis, and other           stem cells, at least 1x10' human embryonic-mesenchymal
autoimmune diseases. Additionally, the hES-MSC produced                 stem cells, at least 5x107 human embryonic-mesenchymal
by the novel method have the ability to cross the brain-blood           stem cells, at least 1x108 human embryonic-mesenchymal
barrier (BBB) and the blood-spinal cord barrier (BSCB)                  stem cells, at least 5x108 human embryonic-mesenchymal
allowing them to be used for a variety of therapeutic applica-          stem cells, at least 1x109 human embryonic-mesenchymal
tions, including drug delivery. The methods of the invention            stem cells, at least 5x109 human embryonic-mesenchymal
provide further utility in that they enable the generation of           stem cells, or at least 1x1010 human embryonic-mesenchy-
large numbers of hES-MSC that can be used at commercial                 mal stem cells. These methods result in cell solutions that
scale.                                                                  may comprise between 10,000 and 10 billion human embry-
[0010] Additionally, the present invention includes the                 onic-mesenchymal stem cells. In certain embodiments, at
human embryonic-derived mesenchymal stem cells produced                 least about 90%, 91%, 92%, 93%, 94%, 95%, 96%, 97%,
by this method.                                                         98%, or 99% of the resulting human embryonic-mesenchy-
[0011] One embodiment of the present invention is a                     mal stem cells express one or more hES-MSC differential
method for generating and expanding human embryonic-                    markers. In certain embodiment, the marker is CD73, CD90
mesenchymal stem cells in vitro, said method comprising the             and CD105.
steps of:                                                               [0022] In one embodiment, the hES-MSCs remarkably
   [0012] a. culturing a cell culture comprising human                  attenuate the disease score of the EAE mice, accompanied by
      embryonic stem cells in serum-free medium in the pres-            decreased demyelination. T cell infiltration, and microglial
      ence of at least one growth factor in an amount sufficient        responses. In addition, the hES-MSCs have much stronger
      to induce the differentiation of said embryonic stem              immunosuppressive activity in vivo and in vitro when com-
      cells to differentiate into embryoid bodies;                      pared to bone marrow derived MSCs (BM-MSC). Also pro-
                                                                        vided herein are key proteins/molecules that are differentially
   [0013] b. disaggregating the embryoid bodies into single             expressed between hES-MSC and BM-MSCs. Provided
      cells and adding at least one growth factor to said culture       herein are methods of identifying hES-MSCs with improved
      comprising single cells from embryoid bodies and con-             immunosuppressive activity by measuring the expression
      tinuing to culture in serum-free medium, wherein said             level of the protein/molecular markers. Also disclosed are
      growth factor is in an amount sufficient to expand human          methods of genetic modification to improve immunosuppres-
      hemangio-colony forming cells in said hemangio-                   sive activity of hES-MSCs.
      colony culture;
                                                                        [0023] A further embodiment of the present invention is a
   [0014] c. disaggregating the hemangio-colony forming                 solution comprising human embryonic-mesenchymal stem
      cells into single cells;                                          cells comprising at least 10,000 human embryonic-mesen-
   [0015] d. culturing the single cells in serum-containing             chymal stem cells, at least 50,000 human embryonic-mesen-
      media or serum-free media in an amount sufficient to              chymal stem cells, at least 100,000 human embryonic-mes-
      induce the differentiation of said hemangio-colony                enchymal stem cells, at least 500,000 human embryonic-
      forming single cells into mesenchymal stem cells,                 mesenchymal stem cells, at least 1x106 human embryonic-
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 68 of 101


US 2015/0203820 Al                                                                                                   Jul. 23, 2015
                                                                    3


mesenchymal stem cells, at least 5x106 human embryonic-                 express the CD73 protein, at least more than 90%, 91%, 92%,
mesenchymal stem cells, at least 1x107 human embryonic-                 93%, 94%, 95%, 96%, 97%, 98%, 99% of the human embry-
mesenchymal stem cells, at least 5x107 human embryonic-                 onic-mesenchymal stem cells express the CD73 protein.
mesenchymal stem cells, at least 1x108 human embryonic-                 [0031] In further embodiments, at least about 75%, 80%,
mesenchymal stem cells, at least 5x108 human embryonic-                 85%, 90%, 95%, 99% of the human embryonic-mesenchy-
mesenchymal stem cells, at least 1x109 human embryonic-                 mal stem cells in the cell culture express at least one cell
mesenchymal stem cells, at least 5x109 human embryonic-                 marker protein selected from the group consisting of CD90,
mesenchymal stem cells, or at least 1x101° human                        CD105, CD44, and CD29.
embryonic-mesenchymal stem cells.                                       [0032] In further embodiments, at least about 80%, 85%,
[0024] In certain embodiments, the culture volume is from               90%, 95%, 99% of the human embryonic-mesenchymal stem
2 ml for at least 10,000 cells, 10 ml for at least 100,000 cells,       cells in the cell culture do not express or express low levels of
100 ml for at least 1,000,000 cells, 1000 ml for at least               at least one cell marker including CD34, CD31, and CD45.
10,000,000 cells, and up to 4000 ml of media for 5x105 cell.            [0033] In further embodiments, at least about 75%, 80%,
[0025] These solutions can be injected into a subject. These            85% 90%, 90%, 95%, 99% of the human embryonic-mesen-
solutions can be frozen. These solutions can be used for the            chymal stem cells in the cell culture do not express or express
manufacture of a medicament for a disease that can be treated           low levels of at least one pro-inflammatory protein including
by the administration of human embryonic-mesenchymal                    MMP2, RAGE, IFNyR1, IFNyR2, IL-12, TNFa, IL-6, and
stem cells.                                                             VCAM1. In certain embodiments, the hES-MSC express
[0026] This invention also provides a method for producing              high levels of CD24, TGF 132 or both.
a solution of human embryonic-mesenchymal stem cells suit-              [0034] In certain embodiments, the human embryonic-
able for injection into a patient comprising the steps of iso-          mesenchymal stem cells or cell cultures described in the
lating the solution of cells described in the preceding para-           preceding paragraphs are irradiated using gamma radiation.
graph and placing the cells into solution suitable for injection
into a patient. This invention also provides a method of pro-           [0035] Provided herein are pharmaceutical preparations
ducing a solution of human embryonic-mesenchymal stem                   comprising any one of the human embryonic-mesenchymal
cells suitable for freezing comprising the steps of isolating the       stem cells or cell cultures described in the preceding para-
cells described in the preceding paragraph and placing into a           graphs and pharmaceutically acceptable carriers.
solution suitable for freezing.                                         [0036] Provided herein are cryopreserved preparations of
[0027] Yet another embodiment of the present invention is               any of the human embryonic-mesenchymal stem cells or cell
a human embryonic-mesenchymal stem cell expressing one                  cultures described in the preceding paragraphs.
or more of cell marker proteins including CD73, CD90,                   [0037] Provided herein are methods of treating or prevent-
CD105, CD13, CD29, CD54, CD44 or a combination thereof.                 ing a T cell related autoimmune disease in a subject in need
In a further embodiment, the human embryonic-mesenchy-                  thereof, comprising the steps of administering a therapeuti-
mal stem cell does not express or expresses low levels of one           cally effective amount of solution, cell culture or pharmaceu-
or more cell marker proteins including CD34, CD31, CD45 or              tical preparation comprising human embryonic-mesenchy-
a combination thereof. In a further embodiment, the human               mal stem cells as described in the preceding paragraphs, to the
embryonic-mesenchymal stem cell does not express or                     subject in need thereof. The T cell related autoimmune dis-
expresses low levels of one or more pro-inflammatory pro-               eases include but are not limited to Crohn's disease, inflam-
teins including MMP2, RAGE, IFNyR1, IFNyR2, IL-12,                      matory bowel disease, graft versus host disease, systemic
TNFa, IL-6, VCAM1 or a combination thereof. In certain                  lupus erythematosus, and rheumatoid arthritis, T cell medi-
embodiments, the human embryonic-mesenchymal stem cell                  ated delayed type hypersensitivity (Type IV hypersensitivity)
expressed at least half of the level of the above markers as            i.e. Type I diabetes mellitus, MS, RA, Hashimoto's thyroidi-
compared to Bone marrow derived MSC.                                    tis, Crohn's, contact dermatitis, Scleroderma, etc.
[0028] A further embodiment of the present invention is a               [0038] In certain embodiments, the subject is preferably a
cell culture comprising human embryonic-mesenchymal                     mammal or avian, and most preferably human. In certain
stem cells expressing one or more of cell marker proteins               embodiments, the solution, cell culture or pharmaceutical
including CD73, CD90, CD105, CD13, CD29, CD54, and                      preparation comprises irradiated or non-irradiated human
CD44. In a further embodiment, the human embryonic-mes-                 embryonic-mesenchymal stem cells. In certain embodi-
enchymal stem cells in the cell culture do not express or               ments, the method for treating or preventing disease includes
express low levels of one or more cell marker proteins includ-          combination therapy with one or more therapeutic agents for
ing CD34, CD31 and CD45. In a further embodiment, the                   the treatment or prevention of disease.
human embryonic-mesenchymal stem cells in the cell culture              [0039] In certain embodiments, the methods for treating or
do not express or express low levels of one or more pro-                preventing multiple sclerosis disease in a subject in need
inflammatory proteins including MMP2, RAGE, IFNyR1,                     thereof, comprise the steps of administering a therapeutically
IFNyR2, IL-12, TNFa, IL-6, and VCAM1.                                   effective amount of solution, cell culture or pharmaceutical
[0029] In certain embodiments, the cell culture comprises               preparation comprising human embryonic-mesenchymal
at least lx106 human embryonic-mesenchymal stem cells, at               stem cells as described in the preceding paragraphs, to the
least 1x107 human embryonic-mesenchymal stem cells at                   subject in need thereof. Multiple sclerosis can be relapsing/
least 1x108 human embryonic-mesenchymal stem cells, at                  remitting multiple sclerosis, progressive/relapsing multiple
least 1 x109 human embryonic-mesenchymal stem cells, or at              sclerosis, primary multiple sclerosis, or secondary multiple
least 1 xle human embryonic-mesenchymal stem cells. For                 sclerosis. The subject is preferably a mammal or avian, and
1 x106 cell, the initial cell culture volume will be 10-20 ml.          most preferably human. The solution, cell culture or pharma-
[0030] In further embodiments, at least about 90% of the                ceutical preparation can comprise irradiated or non-irradiated
human embryonic-mesenchymal stem cells in the cell culture              human embryonic-mesenchymal stem cells.
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 69 of 101


US 2015/0203820 Al                                                                                               Jul. 23, 2015
                                                                   4


[0040] The method further comprises the administration of              hematopoietic stem cells and/or umbilical-cord hematopoi-
additional therapeutic agents to the subject, including but not        etic stem cells. In certain embodiment, the MSC is mesen-
limited to, fingolimod, adrenocorticotropic hormone                    chymal stromal cells. Provided herein is a co-culture of MSC
(ACTH), methylprednisolone, dexamethasone, IFNI3-1a,                   as described herein and bone marrow hematopoietic stem
IFN- lb, gliatriamer acetate, cyclophosphamide, methotrex-             cells. Provided herein is a co-culture of MSC as described
ate, azathioprine, cladribine, cyclosporine, mitoxantrone, and         herein and umbilical-cord hematopoietic stem cells.
sulfasalazine. In yet another embodiment, one or more of               [0045] Also disclosed are kits comprising MSC described
these therapeutic agents can be attached to the hES-MSC in             herein. In certain embodiments, the kits comprise hES-MSC
order to cross the blood-brain and/or blood-spinal cord bar-           and a cell delivery carrier.
rier, for delivery of the therapeutic agent to the central ner-
vous system.                                                                4. BRIEF DESCRIPTION OF THE DRAWINGS
[0041] Provided herein is a method of delivering an agent              [0046] For the purpose of illustrating the invention, there
through the blood-brain barrier and/or the blood-spinal cord           are depicted in drawings certain embodiments of the inven-
barrier, said method comprising the steps of: attaching or             tion. However, the invention is not limited to the precise
conjugating the agent to a human embryonic-mesenchymal                 arrangements and instrumentalities of the embodiments
stem cell to form a complex; and administering the human               depicted in the drawings.
embryonic-mesenchymal stem cell-agent complex to a sub-                [0047] FIGS. 1A-D show a phase contrast images of hESC
ject in need thereof, wherein the human embryonic-mesen-               (CT2) differentiation into MSCs through multiple stages.
chymal stem cell is capable of crossing the blood-brain bar-           (hESC: human embryonic stem cells; EB: embryo body; HB-
rier and/or the blood-spinal cord barrier and the agent is for         enriched: hemagioblast-enriched; hES-MSC: hES cell
the treatment, prevention or diagnosis of a disease or injury in       derived mesenchymal stem cell)
the subject in need thereof. The human embryonic-mesen-                [0048] FIGS. 2A-C depict flow cytometry analysis of cell
chymal stem cells may be in the form of a single cell, a cell          surface markers on cells taken from a day 9 hemangioblast
culture, a solution or a pharmaceutical preparation. Agent             enriched cultures.
would include but are not limited to drugs, proteins. DNA,             [0049] FIGS. 3A-I depict flow cytometry analysis of cell
RNA, and small molecules.                                              surface markers on cells taken from day 14 hemangioblast
[0042] Provided herein is a method of selecting clinical               enriched cultures.
grade hES-MSC for the treatment of autoimmune diseases,                [0050] FIG. 4 shows the karyotyping of passage-10 hES-
said hES-MSC having the following characteristics: (i) con-            MSC derived from the H9-hESC line.
tain >95% of cells expressing group-1 markers; (ii) contain            [0051] FIGS. 5A-C shows the disease scores of EAE mice
>80% of cells expressing group 2 markers; (iii) contain <5%            treated with hES-MSCs prior to the onset of clinical disease.
of cells expressing group-3 markers (iv) expressing IL-10 and          106hES-MSC or undifferentiated hESC or saline control
TGFI3; (v) contain <2% of cells expressing IL-6, IL-12 and             (PBS) was i.p. injected into the mice 6 days after the EAE
TNFa; and (vi) contains <0.0010% of cells co-expressing all            inducing immunization. Panel A shows mice injected with
group-4 markers, wherein group-1 markers are CD73. CD90,               hES-MSCs (CT2), panel B shows mice injected with hES-
CD105, CD146, CD166, and CD44, group-2 markers are                     MSCs (MA09), and panel C shows mice injected with hES-
CD13, CD29, CD54, CD49E, group-3 markers are CD45,                     MSCs (H9). N=5 mice per group, ***P<0.001.
CD34, CD31 and SSEA4, and group-4 markers are OCT4,                    [0052] FIGS. 6A-F are bar graphs depicting cumulative
NANOG, TRA-1-60 and SSEA4.                                             disease score (panels A-C) and the maximal disease scores
[0043] Provided herein is a method of modifying mesen-                 (panels D-F) from days 28-32 post immunization for the mice
chymal stem cells to produce a population of modified MSC              shown in FIG. 5. N=5 mice per group, **P<0.01.
having the following characteristics: (i) contain >95% of cells        [0053] FIG. 7 is a graph of disease scores of EAE mice
expressing group-1 markers, (ii) contain >80% of cells                 treated with hES-MSC or saline control (PBS) post-clinical
expressing group 2 markers; (iii) contain <5% of cells                 disease onset. 106hES-MSC were i.p injected into mice 18
expressing group-3 markers (iv) expressing IL-10 and TGFI3;            days post-immunization. N=6 mice per group, *** P<0.001.
(v) contain <2% of cells expressing IL-6, IL-12 and TNFa;              [0054] FIGS. 8A-B show flow cytometric analyses of regu-
and (vi) contains <0.001% of cells co-expressing all group-4           latory T cells (CD25+FoxP3') in the CNS of EAE mice
markers, wherein group-1 markers are CD73, CD90, CD105,                treated with saline (PBS) or hES-MSCs derived from hESC
CD146, CD166, and CD44, group-2 markers are CD13,                      line CT2 15 days after immunization.
CD29, CD54, CD49E, group-3 markers are CD45, CD34,                     [0055] FIGS. 9-F show a bar graph depicting the total num-
CD31 and SSEA4, and group-4 markers are OCT4, NANOG,                   bers of CD4', CD8 cells, Thl CD4' T cells, and Th17 CD4'
TRA-1-60 and SSEA4. Provided herein is a method of modi-               T cells in the CNS of EAE mice treated with saline control
fying MSC to produced a MSC with specific biomarker pro-               (PBS), hESC or hES-MSC on day 15 post-immunization
file. Similar to hES-MSC, the modified MSC are useful for              (panels A-D). Panels E-F show the expression of IL-17 and
treatment of various diseases as listed in Section 5.14.               IFN-gamma in CD4' T cells from PBS or hES-MSC treated
[0044] Provided herein are conditioned medium, concen-                 EAE mice. N=4 mice per group, *P<0.05, **P<0.01.
trate of conditioned medium cell lysate or other derivatives           [0056] FIGS. 10A-D show immunohistochemical detec-
thereof that comprises one or more biomolecules secreted by            tion of myelin basic protein (MBP; red), CD3 for T cells
the MSC as described. Provided herein is a method of using             (green) and IBA1 for microglia (green) on lumbar spinal cord
MSC as described herein as feeder cells for bone marrow                cross sections from EAE mice treated with either hES-MSC
hematopoietic stem cell expansion and umbilical-cord                   (panels a and c) or saline (PBS) (panels b and d).
hematopoietic stem cell expansion. In certain embodiments,             [0057] FIG. 11 shows a quantitative analysis of myelin
the MSC suitable for the disclosed method express Stro3. In            basic protein (MBP) in the spinal cord was performed using
certain embodiment, MSC is co-cultured with bone marrow                relative fluorescent intensity (RFI) measurement of MBP
        Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 70 of 101


US 2015/0203820 Al                                                                                               Jul. 23, 2015
                                                                 5


expression in digitally captured spinal cord hemisections.           [0067] FIGS. 21A-D shows the expression of IL-6 by intra-
N=4 to 6 mice per group, **P<0.02.                                   cellular FACS staining of IL-6 in BM-MSC or hES-MSC
[0058] FIGS. 12A-C show graphs of disease scores of EAE              (CT2) cultured with IFNy. NC is negative control.
mice treated with saline (PBS), bone marrow derived MSCs             [0068] FIGS. 22A-C show the percent of proliferating
(BM-MSC) or hES-MSC prior to the onset of clinical disease.          CFSE labeled CD8+ T cells stimulated with various doses of
Panel A shows 5 groups of mice treated with either PBS,              anti-CD3 antibody and co-cultured with or without one of
hES-MSCs (MA09) or BM-MSCs from one of three different               three BM-MSC lines (#2, #3 or #6) at a ratio of 10:1. Anti-
sources. Panel B shows mice treated with PBS, BM-MSC or              human IL-6 antibody (10 µg/ml) or isotype control (IgGk)
hES-MSC (CT2) prior to clinical disease onset. Panel C               was added to the cultures as indicated. N=4 replicates per data
shows mice treated with PBS, BM-MSC or hES-MSC                       point, **P<0.01.
(MA09). For all experiments shown, N=5 mice per group,               [0069] FIGS. 23A-B show that IL-6 neutralizing antibody
***P<0.001 between hES-MSC and any of the three BM-                  (aIL-6) enhances suppression of BM-MSC on CD4 and CD8
MSC treated groups.                                                  T cell proliferation in vitro; NC=T cells cultured without
[0059] FIGS. 13A-D shows the total number of CD4+,                   MB-MSC or anti-IL6.
CDS', Thl or Th7 T cells in the CNS of EAE mice treated              [0070] FIGS. 24A-J show the proportion of IFNy+ or
with saline control (PBS), BM-MSCs (BM-MSC lines 1, 2 or             IL-17+ CD4+ T cells detected via intracellular FACS staining
3) or hES-MSC. (N=4 mice per group, *P<0.05, **P<0.01).              after TPA/ionomycin stimulation in vitro. hES- or BM-MSC
[0060] FIGS. 14A-E show the qualitative analysis of                  were incubated with mouse naïve CD4+ T cells at a ratio of
myelin content in spinal cord cross-sections of EAE mice             1:10 under the Th17 differentiation conditions for 5 days, in
treated with saline (PBS), BM-MSCs (BM-MSC lines 1, 2, or            the presence or absence of 10 µg/ml anti-human IL-6 anti-
3), or hES-MSCs using Fluoromyelin stain (green) and coun-           body.
terstained with DAPI (blue) to indicate infiltration of nucle-       [0071] FIG. 25 shows the clinical disease scores of EAE
ated cells.                                                          mice injected with irradiated hES-MSC (Irr-hES-MSC; from
[0061] FIGS. 15A-B show the localization of fluorescently            MA09), hES-MSCs (from MA09) or saline (PBS). N=5 mice
labeled hES-MSC or BM-MSC in spinal cord cryosections                per group, ***P<0.001.
(60 nm) taken from EAE mice 14 post immunization. Mice               [0072] FIG. 26 shows immunostaining of luciferase-ex-
received an i.p. administration of GFP-IESC-MSC or GFP'              pressing hES-MSC (CT2). The luciferase expressing hES-
BM-MSC or PBS control. Mice were euthanized following                MSCs cultured in Petri dish were immunostained with an
the MSC cell administration and immunostained for GFP                anti-luciferase antibody (green) and counterstained for nuclei
(green; to track the injected hES-MSC or BM-MSC cells),              with DAPI (blue).
CD31 (red; vascular) and DRAQS (blue; cell nuclei). Panel A          [0073] FIGS. 27A-B show the localization of non-irradi-
is parenchymal inflamed venules. Panel B shows meningeal             ated hES-MSC or irradiated (Irr-hES-MSC) expressing
venules. Isosurface rendered 3D reconstruction of the                D-Luciferin at various days following injection into EAE
selected ROI (white dotted box) are shown next to the original       mice. Images were taken using the Xenogen IVIS 100 system.
images for enhanced spatial perspective. The insets show the         Non-irradiated (panels A) and irradiated (panels B)
GFP-DRAQS (upper inset image) and isolated GFP (lower                luciferase-expressing hES-MSCs (CT2) are shown in the dor-
inset image) channels separately.                                    sal and ventral images of EAE mice.
[0062] FIGS. 16A-B show the proportion of proliferating              [0074] FIGS. 28A-D show the effect of the GSK3 inhibitor
CD4+ or CD8+ T cells, respectively, co-cultured in vitro with        BIO ((2'Z,3'E)-6-Bromoindirubin-3'-oxime, 6-BIO) on the
one of two hES-MSCs (MA09 or CT2) or one of three BM-                differentiation of embryoid bodies (EB) from hES cells. BIO
MSC lines (1, 2 or 3) or no MSCs (PBS). T cells were                 significantly increases BM formation and the number of cells
stimulated with the indicated concentration of anti-CD3 anti-        obtained by day 7 in culture
body and proliferation was measured by CF SE dilution using          [0075] FIG. 29 shows a bar chart show BIO increase the EB
flow cytometry. T cells and MSCs were mixed at a ratio of            formation numbers
10:1. N=3 replicates per group.                                      [0076] FIG. 30 shows flow cytometry plots showing BIO
[0063] FIG. 17 shows the proliferation of CD4' or CD8 T              treatment increases the hemangioblast forming efficiency.
cells co-cultured with BM-MSC, hES-MSC or no MSC (con-               [0077] FIG. 31 shows microarray analysis of CD10 expres-
trol) and stimulated with 0 µg/ml (NC), 0.1 µg/ml or 0.3 µg/ml       sion level of different hES-MSC lines and BM-MSC lines.
anti-CD3 antibody. Flow cytometry histogram plots show the
percentage of divided CD4' or CD8 T cells with diluted                         5. DETAILED DESCRIPTION OF THE
CF SE signal.                                                                            INVENTION
[0064] FIGS. 18A-J depicts intracellular FACS staining of
IFNy+ or IL-17+ naive CD4+ T cells co-cultured with hES-                                    5.1 Definitions
MSC or one of three BM-MSC cell lines (#2, #3, or #6) or no          [0078] The terms used in this specification generally have
MSCs (control) and stimulated with TPA/ionomycin stimu-              their ordinary meanings in the art, within the context of this
lation of hES- or BM-MSC incubated with mouse naïve                  invention and the specific context where each term is used.
CD4+. T cells, followed by Thl or Th17 differentiation for 5         Certain terms are discussed below, or elsewhere in the speci-
days. Data shown are from 1 of 4 independent experiments.            fication, to provide additional guidance to the practitioner in
[0065] FIGS. 19A-B show relative gene expression levels              describing the methods of the invention and how to use them.
from hES-MSC or BM-MSC as determined by microarray                   Moreover, it will be appreciated that the same thing can be
analysis. N=2, *P<0.05, **P<0.01.                                    said in more than one way. Consequently, alternative lan-
[0066] FIGS. 20A-F show the expression of IL-6 and IL-10             guage and synonyms may be used for any one or more of the
in 3 individual BM-MSC and 3 individual hES-MSC lines by             terms discussed herein, nor is any special significance to be
intracellular FACS staining.                                         placed upon whether or not a term is elaborated or discussed
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 71 of 101


US 2015/0203820 Al                                                                                                  Jul. 23, 2015
                                                                   6


herein. Synonyms for certain terms are provided. A recital of          [0089] The term "in need thereof' would be a subject
one or more synonyms does not exclude the use of the other             known or suspected of having or being at risk of developing a
synonyms. The use of examples anywhere in the specifica-               disease including but not limited to multiple sclerosis and
tion, including examples of any terms discussed herein, is             other T cell related autoimmune diseases, or diseases related
illustrative only, and in no way limits the scope and meaning          to the central nervous system or the blood-brain barrier or the
of the invention or any exemplified term. Likewise, the inven-         blood-spinal cord barrier.
tion is not limited to its preferred embodiments.                      [0090] A subject in need of treatment would be one that has
[0079] The term hESC means human embryonic stem cells                  already developed the disease. A subject in need of prevention
that encompass pluripotent stem cells produced from                    would be one with risk factors of the disease.
embryo, inner cell mass, blastomere or a cell line.                    [0091] The term "agent" as used herein means a substance
[0080] The term "hES-HB-MSC" are mesenchymal stem                      that produces or is capable of producing an effect and would
cells that are derived via hemangioblast or hemangio-colony            include, but is not limited to, chemicals, pharmaceuticals,
forming middle step.                                                   drugs, biologics, small molecules, antibodies, nucleic acids,
[0081] The term "hES-MSC" or hES-MSCs" or "human                       peptides, and proteins.
embryonic mesenchymal stem cells" or human embryonic
stem cell derived mesenchymal stem cells" or "hES-MSC                     5.2 In Vitro Differentiation of Embryonic Stem Cells
population" as used herein means mesenchymal-like stem                             Through Hemangioblasts to Obtain
cells, mesenchymal-like stromal cells, mesenchymal stem                               Mesenchymal-Like Stem Cells
cells or mesenchymal stromal cells, derived from human                 [0092] The present invention provides a method for gener-
embryonic stem cells or derived from induced pluripotent               ating and expanding mesenchymal-like stem cells (MSCs)
stem cells using any methods. hES-MSC as used herein                   from human hemangioblasts (HB) derived from embryonic
includes individual cells, cell lines, batches, lots or popula-        stem cells (hES). These resulting cells are designated hES-
tions of hES-MSC.                                                      MSCs. These hES-MSCs can be isolated and/or purified.
[0082] The term "clinical grade hES-MSC" as used herein                [0093] MSC-like cells have been derived from human
means hES-MSC which contains characteristics that are suit-            embryonic stem cells by various methods (Barbieri et al.
able for use in clinical use for human, avian or other mam-            (2005); Olivier et al. (2006); Sanchez et al. (2011); Brown et
mals. Clinical grade hES-MSC as used herein includes indi-             al. (2009)). However, all of these methods involve co-cultur-
vidual cells, cell lines, batches, lots or populations of MSC.         ing and hand-picking procedures that limit yield and purity
[0083] The term "hES-MSC population" as used herein                    and result in varying quality of cells.
means a population of hES-MSC cells which contains cells               [0094] To solve these problems, the method of the current
that have characteristics that are suitable for use in treatment       invention derives MSCs from embryoid bodies and then
and cells that do not have characteristics that are suitable for       hemangioblasts. It was hypothesized that because mesenchy-
use in treatment.                                                      mal cells and hemangioblasts both originate from the meso-
[0084] The terms "iPS-MSC" and "iPS-MSCs" and                          dermal progenitors (MP) (Huber et al. (2004)), that a method
"human induced pluripotent stem cells derived mesenchymal              to derive HB from hESC via EB would actually enrich MP
stem cells" are be used interchangeably throughout. These              that can further differentiate into either HB or MSCs depend-
cells can be described based upon numerous structural and              ing on subsequent culture conditions. As shown in FIG. 1,
functional properties including but not limited to, expression         MSCs were obtained by using a hESC to EB to HB to MSCs.
or lack of expression of one or more markers. iPS-MSCs are             [0095] Although hESC express low levels of MHC anti-
multipotent and capable of differentiating to give rise to cell        gens, it has been found that many cell types differentiated
types of other lineages.                                               from hESC have increased expression of these antigens
[0085] The phrase "therapeutically effective amount" is                (Draper et al., 2002; Drukker et at, 2006; Drukker et al.,
used herein to mean an amount sufficient to cause an improve-          2002), thus, causing great concern for immunorejection of the
ment in a clinically significant condition in the subject, or          differentiated cells if transplanted into patients. In contrast,
delays or minimizes or mitigates one or more symptoms                  MSC express low levels of costimulatory molecules and
associated with the disease, or results in a desired beneficial        major MHC antigens, and have been used in allogeneic or
change of physiology in the subject.                                   xenograft models to treat autoimmune diseases (Gordon et
[0086] The terms "treat", "treatment", and the like refer to           al., 2008b; Grinnemo et al., 2004; Rafei et al., 2009a; Rafei et
a means to slow down, relieve, ameliorate or alleviate at least        al., 2009b; Tse et al., 2003). hES-MSCs, like adult tissue-
one of the symptoms of the disease, or reverse the disease             derived MSC, express low levels of the co-stimulatory mol-
after its onset.                                                       ecules and MHC antigens, and do not require long-term
[0087] The terms "prevent", "prevention", and the like                 engraftment to exert immunosuppressive effect, thus, there is
refer to acting prior to overt disease onset, to prevent the           no concern for immunorejection due to mismatch of MHC
disease from developing or minimize the extent of the disease          antigens between MSC and the recipient (Ohtaki et al., 2008;
or slow its course of development.                                     Uccelli and Prockop, 2010a). One hESC line is sufficient to
[0088] The term "subject" as used in this application means            generate hES-MSC at large scale, in an endless supply, and
an animal with an immune system such as avians and mam-                with easy quality control, suitable for industrial production as
mals. Mammals include canines, felines, rodents, bovine,               a potential therapy to treat patients with MS and other T
equines, porcines, ovines, and primates. Avians include, but           cell-based autoimmune diseases.
are not limited to, fowls, songbirds, and raptors. Thus, the           [0096] The methods for obtaining EB from hES and then
invention can be used in veterinary medicine, e.g., to treat           dissociating the EB into HB has been previously reported in
companion animals, farm animals, laboratory animals in zoo-            Lu et al. (2007) and Lu et al. (2008) as well as in United States
logical parks, and animals in the wild. The invention is par-          Patent Application Publication No. 2012/0027731 all hereby
ticularly desirable for human medical applications                     incorporated herein in their entirety.
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 72 of 101


US 2015/0203820 Al                                                                                              Jul. 23, 2015
                                                                  7


[0097] Human hemangio-colony forming cells can be gen-                increase the embryoid body formation and subsequent
erated from human embryonic stem cells. Such embryonic                hemangioblast forming efficiency, shortening the culture
stem cells include embryonic stem cells derived from or               time.
using, for example, blastocysts, plated ICMs, one or more             [0103] In the examples set forth herein, four hESC cell lines
blastomeres, or other portions of a pre-implantation-stage            were used, H9 (derived from WiCell Research Institute) (Th-
embryo or embryo-like structure, regardless of whether pro-           omson et al. (1998), CT2 (derived from University of Con-
duced by fertilization, somatic cell nuclear transfer (SCNT),         necticut Stem Cell Core (Lin et al. (2010)); MA09 (an FDA
parthenogenesis, androgenesis, or other sexual or asexual             approved, clinical-grade cell line derived at Advanced Cell
means.                                                                Technology, Inc.) (Klimanskaya et al (2006)); and ES03-
[0098] Additionally or alternatively, hemangio-colony                 Envy (Envy, a GFP-labeled line, derived at ES International)
forming cells can be generated from other embryo-derived              (Costa et al. (2005)).
cells. For example, hemangio-colony forming cells can be              [0104] In the first step of this method for generating and
generated (without necessarily going through a step of                expanding human hemangioblast cells to obtain MSCs,
embryonic stem cell derivation) from or using plated                  human stem cells are grown in serum-free media and are
embryos, ICMs, blastocysts, trophoblast/trophectoderm                 induced to differentiate into embryoid bodies. To induce
cells, one or more blastomeres, trophoblast stem cells, embry-        embryoid body formation, embryonic stem cells may be pel-
onic germ cells, or other portions of a pre-implantation-stage        leted and resuspended in serum-free medium such as DMEM/
embryo or embryo-like structure, regardless of whether pro-           F12, HPGM(Lonza), StemSpan H3000 (Stemcell Technolo-
duced by fertilization, somatic cell nuclear transfer (SCNT),         gies), Stempro-34, QBSF-60, Xvivo-15, IMDM, Stemline I
parthenogenesis, androgenesis, or other sexual or asexual             or II media (SigmaTM) supplemented with one or more mor-
means. Similarly, hemangio-colony forming cells can be gen-           phogenic factors and cytokines and then plated on low attach-
erated using cells or cell lines partially differentiated from        ment culture dishes. Morphogenic factors and cytokines may
embryo-derived cells. For example, if a human embryonic               include, but are not limited to, bone morphogenic proteins
stem cell line is used to produce cells that are more develop-        (e.g., BMP-2. BMP-4, or BMP-7, but not BMP-3) and VEGF,
mentally primitive than hemangio-colony forming cells, in             SCF and FL. Bone morphogenic proteins and VEGF may be
terms of development potential and plasticity, such embryo-           used alone or in combination with other factors. The morpho-
derived cells could then be used to generate hemangio-colony          genic factors and cytokines may be added to the media from
forming cells.                                                        0-72 hours of cell culture. Following incubation under these
[0099] Additionally or alternatively, hemangio-colony                 conditions, incubation in the presence of early hematopoietic
forming cells can be generated from other pre-natal or peri-          expansion cytokines, including, but not limited to, throm-
natal sources including, without limitation, umbilical cord,          bopoietin (TPO), Flt-3 ligand, and stem cell factor (SCF),
umbilical cord blood, amniotic fluid, amniotic stem cells, and        allows the plated ES cells to form EBs. In addition to TPO,
placenta.                                                             Flt-3 ligand, and SCF, VEGF, BMP-4, may also be added to
[0100] It is noted that when hemangio-colony forming cells            the media. In one embodiment, human ES cells are first grown
are generated from human embryonic tissue a step of embry-            in the presence of BMP-4 and VEGF 165 (e.g., 25-100 ng/ml),
oid body formation may be needed. However, given that                 followed by growing in the presence of BMP-4, VEGF165,
embryoid body formation serves, at least in part, to help             SCF, TPO, and FLT3 ligand (e.g., 10-50 ng/ml). The addi-
recapitulate the three dimensional interaction of the germ            tional factors may be added 48-72 hours after plating.
layers that occurs during early development, such a step is not       [0105] Next, human hemangioblast cells are isolated from
necessarily required when the embryo-derived cells already            early embryoid bodies (EBs). Isolating hemangioblast cells
have a structure or organization that serves substantially the        from early EBs supports the expansion of the cells in vitro.
same purpose as embryoid body formation. By way of                    For human cells, hemangioblast cells may be obtained from
example, when hemangio-colony forming cells are generated             EBs grown for less than 10 days. In certain embodiments of
from plated blastocysts, a level of three dimensional organi-         the present invention, hemangioblast cells arise in human EBs
zation already exists amongst the cells in the blastocyst. As         grown for 2-6 days. According to one embodiment, heman-
such, a step of embryoid body formation is not necessarily            gioblast cells are identified and may be isolated from human
required to provide intercellular signals, inductive cues, or         EBs grown for 4-6 days. In other embodiments, human EBs
three dimensional architecture.                                       are grown for 2-5 days before hemangioblast cells are iso-
[0101] Hemangio-colony forming cells can be generated                 lated. In certain embodiments, human EBs are grown for
from embryo-derived cells. In certain embodiments, the                3-4.5 days before hemangioblast cells are isolated.
embryo-derived cells are embryonic stem cells. In certain             [0106] In an embodiment of the method, early EBs are
other embodiments, the embryo-derived cells are plated                washed and dissociated, with TrypLE-LE (Invitrogen),
embryos, ICMs, blastocysts, trophoblast/trophectoderm                 Trypsin/EDTA or collagenase B. A select number of cells
cells, one or more blastomeres, trophoblast stem cells, or            (e.g., 2-5x105 cells) are then mixed with serum-free methyl-
other portions of an early pre-implantation embryo. For any           cellulose medium optimized for hemangioblast cell growth,
of the foregoing, the embryo-derived cells may be from                such as BL-CFU medium, for example Stem Cell Technolo-
embryos produced by fertilization, somatic cell nuclear trans-        gies Catalogue H4436, H4536, or hemangioblast cell expan-
fer (SCNT), parthenogenesis, androgenesis, or other sexual            sion medium (HGM), or any medium containing 1.0% meth-
or asexual means.                                                     ylcellulose in MDM, 1-2% Bovine serum albumin. 0.1 mM
[0102] The human embryonic stem cells or induced pluri-               2-mercaptoethanol, 10 pg/m1rh-Insulin, 200 µg/ml iron satu-
potent stem cell may be the starting material of this method.         rated human transferrin, 20 ng/ml rh-GM-CSF, 20 ng/ml
The embryonic stem cells or iPS may be cultured in any way            rh-IL-3, 20 ng/ml rh-IL-6, 20 ng/ml rh-G-CSF)("rh" stands
known in the art, such as in the presence or absence of feeder        for "recombinant human"). This medium may be supple-
cells. Adding GSK3 inhibitor BIO at 0.05 uM-0.2 uM can                mented with early stage cytokines including, but not limited
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 73 of 101


US 2015/0203820 Al                                                                                                   Jul. 23, 2015
                                                                    8


to, EPO, TPO, SCF, FL, Flt-3, VEGF, BMPs such as BMP2,                  [0110] After approximately 24 hours, a number of cells
BMP4 and BMP7, but not BMP3 and HOXB4 (or another                       (5-10%) attached to the culture plate and approximately 6-14
homeobox protein). In certain embodiments, erythropoietin               days later, mesenchymal stem cells begin to differentiate
(EPO) is added to the media. In further embodiments, EPO,               from the HBs. MSCs are identified by a small cell with
SCF, VEGF, BMP-4 and HoxB4 are added to the media. In                   spindle-like morphology. MSCs can also be identified by the
additional embodiments, the cells are grown in the presence             cell surface expression of CD146 and CD166 and by the
of EPO, TPO and FL. In certain embodiments where H9 is the              absence or low expression of certain cell surface markers such
starting human ES cell line, EPO. TPO and FL are added to               as CD31, CD34, and CD45. MSCs are also characterized as
the media. In addition to EPO, TPO and FL, media for cells              multipotent and able to differentiate into chondrocytes, osteo-
derived from H9 or other ES cells may further comprise                  cytes, and adipocytes. CD10 expression level maybe different
VEGF, BMP-4, and HoxB4.                                                 from the cell source, CT2 and H9-MSC express low level of
[0107] The cells so obtained by this method (the cells may              CD10 whereas MA09-MSC express high level of CD10,
be in BL-CFU medium), which include hemangioblast cells,                which is not related to its immunosuppressive function but
are plated onto ultra-low attachment culture dishes and incu-           may related to other function like fibrosis and downstream
bated in a CO2 incubator to grow hemangioblast colonies.                differentiation. In certain embodiments, less than 28%, 27%,
Some cells may be able to form secondary EBs. Following                 26%, 25%, 20%, 15%, 10%, 5%, 4%, 3%, 2%, 1% of the
approximately 3-6 days, and in some instances 3-4.5 days,               hES-MSC express CD10.
hemangioblast colonies are observed. Hemangioblast colo-                [0111] In a further embodiment of the present invention, an
nies may be distinguished from other cells such as secondary            additional step of irradiating the hES-MSCs is performed.
EBs by their distinctive grape-like morphology and/or by                This irradiation can be accomplished with the use of any
their small size. In addition, hemangioblasts may be identi-            method known in the art that emits radiation including but not
fied by the expression of certain markers (e.g., the expression         limited to gamma irradiation e.g. Cesium-137 gamma irra-
of both early hematopoietic and endothelial cell markers) as            diation, or photon radiation using X-ray. The preferred
well as their ability to differentiate into at least both hemato-       amount of radiation to be administered is about between 5 and
poietic and endothelial cells. For example, while hemangio-             20000 gy, more preferably about between 50 and 100 gy, and
blasts lack certain features characteristic of mature endothe-          most preferably 80 gy.
lial or hematopoietic cells, these cells may be identified by the
presence of certain markers (such as, for example, CD133,                       5.3 Human Embryonic Stem Cell Derived
SCA-1, CD34, CD45, CD31, cKit, Nestin+, Stro-1, Stro-3,                     Mesenchymal Stem Cells (hES-MSC) and iPS-MSC
CD71'). Hemangioblasts may also express GATA-1 and                      [0112] One embodiment of the present invention is the
GATA-2 proteins, CXCR-4, and TPO and EPO receptors.                     human embryonic stem cell derived mesenchymal stem cells,
Further, hemangioblasts may be characterized by the expres-             designated hES-MSC. These cells are unique and have a
sion of certain genes, those genes associated with hemangio-            variety of therapeutic and other uses. Thus, the present inven-
blasts and early primitive erythroblast development, such as,           tion included various preparations, including pharmaceutical
for example, SCL, LMO2, FLT-1, embryonic fetal globin                   preparations, and compositions comprising hES-MSCs.
genes, NF-E2, GATA-1, EKLF, ICAM-4, glycophoriuns, and                  [0113] The terms "hES-MSC" and "hES-MSCs" and
EPO receptor).                                                          "human embryonic stem cell derived mesenchymal stem
[0108] The hemangioblast cells may be isolated by size                  cells" and human embryonic mesenchymal stem cells" will
and/or morphology by the following procedure. After 3 to 7              be used interchangeably throughout. These cells can be
days of growth, the cell mixture contains EBs, which are                described based upon numerous structural and functional
round and represent a clump of multiple cells, and hemangio-            properties including but not limited to, expression or lack of
blasts, which are grape-like, smaller than the EBs, and are             expression of one or more markers. hESC-MSCs are multi-
single cells. Accordingly, hemangioblasts may be isolated               potent and capable of differentiating to give rise to cell types
based on their morphology and size. The hemangioblast cells             of other lineages.
may be manually picked, for example, when observing the                 [0114] The terms "iPS-MSC" and "iPS-MSCs" and
cell mixture under a microscope. The cells may subsequently             "human induced pluripotent stem cells derived mesenchymal
grow into colonies, each colony having between 100-150                  stem cells" will be used interchangeably throughout. These
cells.                                                                  cells can be described based upon numerous structural and
[0109] In one embodiment, hemangioblast cells are                       functional properties including but not limited to, expression
digested to form single cells with TrypLE, Trypsin or colla-            or lack of expression of one or more markers. iPS-MSCs are
genase B. The single cells are re-suspended in a medium                 multipotent and capable of differentiating to give rise to cell
optimized for mesenchymal stem cell growth such as alpha-               types of other lineages.
MEM containing 2-20% of fetal bovine serum, human AB                    [0115] Human embryonic stem cell derived mesenchymal
serum, DMEM-high glucose containing 2-20% of fetal                      stem cells are identified and characterized based upon their
bovine serum, the FBS can be replaced with 5-20% of knock-              structural properties. Specifically, hES-MSCs are character-
out serum replacement (KOSR) or bovine serum albumin                    ized by small cell bodies with a fibroblast like and spindle like
(BSA), or any other commercial available serum free MSC                 morphology.
culture mediums. In certain embodiments, Serum, KOSR or                 [0116] hES-MSCs and iPS-MSC are identified or charac-
BSA is added in a concentration of from about 5-20%. In                 terized by the expression or lack of expression as assessed on
certain embodiments, Fetal bovine serum is preferred. In                the level of DNA, RNA or protein, of one or more cell mark-
certain embodiments, cells are cultured at a density of about           ers. hESC-MSCs can be identified as expressing cell surface
10-1000 cells/cm2. In certain embodiments, the cells are cul-           marker CD73, or expressing at least one or more of the fol-
tured in an environment that mimics the extracellular envi-             lowing cell surface markers: CD90, CD105, CD13, CD29,
ronment of tissues, such as Matrigel.                                   CD54, CD44, or CD146 and CD166 or not expressing or
          Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 74 of 101


US 2015/0203820 Al                                                                                                             Jul. 23, 2015
                                                                            9


expressing at a low level at least one of the following cell                    RAGE, IFNyR1, IFNyR2, IL-12, TNFa, IL-6, and/or
surface markers: CD34, CD31, or CD45.                                           VCAM1, especially IL-6. In certain other embodiments, the
[0117] Alternatively or additionally, hES-MSCs are iden-                        cells express MHC antigen HLA-G and/or HLA-ABC and
tified or characterized based upon their low level of expres-                   express at low levels or do not express HLA-DR and/or
sion of one or more pro-inflammatory proteins, MMP2,                            CD80. In certain other embodiments, the cells inhibit T cell
RAGE, IFN-yR1, IFNyR2, IL-12, TNFa, IL-6, and VCAM1.                            proliferation after stimulation in vitro. In certain embodi-
This profile of gene expression is in contrast to bone marrow                   ments, the cells can cross the blood-brain barrier and the
derived mesenchymal stem cells. In particular, IL-6 was                         blood-spinal cord barrier. In certain embodiments, the cells
expressed much higher in BM-MSCs than in hES-MSCs.                              have been irradiated.
IL-6 is a pleiotropic cytokine involved in crosstalk between                    [0124] In another aspect, provided herein is a pharmaceu-
hematopoietic/immune cells and stromal cells, including the                     tical preparation comprising human embryonic stem cell
onset and resolution of inflammation.                                           derived mesenchymal stem cells. In certain embodiments, the
[0118] Alternatively or additionally, hES-MSCs, similar to                      hES-MSCs can differentiate into chondrocytes, osteocytes
other kind of MSC, are identified by the expression of high                     and/or adipocytes. In certain embodiments, the cells express
levels of immunosuppressive non-classical MHC antigen                           CD73, CD90, CD105, CD13, CD29, CD54, CD44, CD146
HLA-G and HLA-ABC and low levels or no expression of                            and/or CD166. In certain embodiments, the cells express at
MHC class-II antigen HLA-DR and co-stimulatory molecule                         low levels or do not express CD34, CD31, and/or CD45. In
CD80.                                                                           certain other embodiments, the cells express at low levels or
[0119] The hES-MSCs are also characterized in their abil-                       do not express MMP2, RAGE, IFNyR1, IFNyR2, IL-12,
ity to inhibit T cell proliferation after stimulation in vitro. This            TNFa, IL-6, and/or VCAM1, especially IL-6. In certain other
characteristic is in contrast to BM-MSCs which has less                         embodiments, the cells express MHC antigen HLA-G and/or
potency in inhibiting T cell proliferation after stimulation in                 HLA-ABC and express at low levels or do not express HLA-
vitro.                                                                          DR and/or CD80. In certain other embodiments, the cells
[0120] Thus, the human embryonic stem cell-derived mes-                         inhibit T cell proliferation after stimulation in vitro. In certain
enchymal stem cells described herein have at least one of the                   embodiments, the cells can cross the blood-brain barrier and
following characteristics: 1. Differentiate into chondrocytes,                  the blood-spinal cord barrier. In certain embodiments, the
osteocytes and/or adipocytes; 2. Have a fibroblast-like mor-                    cells have been irradiated. The pharmaceutical preparation
phology; 3. Express CD73, CD90, CD105, CD13, CD29,                              can be prepared using any pharmaceutically acceptable car-
CD54, CD44, CD146 and/or CD166; 5. Express at low levels                        rier or excipient.
or do not express CD34. CD31, and/or CD45; 6. Express at                        [0125] In certain embodiments, the composition or phar-
low levels or do not express MMP2, RAGE, IFNyR1,                                maceutical preparation comprises at least at least 10,000
IFNyR2, IL-12, TNFa, IL-6, and/or VCAM1, particularly                           human embryonic-mesenchymal stem cells, at least 50,000
IL-6; 7. Express MHC antigen HLA-G and/or HLA-ABC and                           human embryonic-mesenchymal stem cells, at least 100,000
express at low levels or do not express HLA-DR and/or                           human embryonic-mesenchymal stem cells, at least 500,000
CD80; and 8. Inhibit T cell proliferation after stimulation in                  human embryonic-mesenchymal stem cells, at least 1x106
vitro. In certain embodiments, the hES-MSCs have at least                       human embryonic-mesenchymal stem cells, at least 5x106
two, at least three, at least four, at least five, at least six, at least       human embryonic-mesenchymal stem cells, at least 1x107
seven or all eight six characteristics.                                         human embryonic-mesenchymal stem cells, at least 5x107
[0121] Additionally, the human embryonic stem cell                              human embryonic-mesenchymal stem cells, at least 1x108
derived mesenchymal stem cells described herein have the                        human embryonic-mesenchymal stem cells, at least 5x108
unique ability to cross the blood-brain barrier (BBB) and the                   human embryonic-mesenchymal stem cells, at least 1x109
blood-spinal cord barrier (BSCB), making them uniquely                          human embryonic-mesenchymal stem cells, at least 5x109
suited for therapeutic and diagnostic applications. As shown                    human embryonic-mesenchymal stem cells, or at least
herein, the hES-MSCs described herein have the ability to                       1 x1010 human embryonic-mesenchymal stem cells.
migrate in and out of the vessels of the spinal cord, across the                [0126] In certain embodiments, the invention provides a
BSCB, to fulfill functions in the CNS, including but not                        cryopreserved preparation of human hemangio-colony cells
limited to the delivery of therapeutic and diagnostic agents.                   or cells partially or terminally differentiated therefrom.
This is in contrast to BM-MSCs which do not have this ability.                  [0127] In certain embodiments, the invention provides the
[0122] In certain embodiments, the hES-MSC is irradiated                        therapeutic use of hES-MSCs, or compositions or prepara-
either by gamma or x-ray radiation. This embodiment would                       tions of hES-MSCs, including irradiated hES-MSCs. Such
include human embryonic stem cell derived mesenchymal                           cells and preparations can be used in the treatment of any of
stem cells with at least one of the following characteristics                   the conditions or diseases detailed throughout the specifica-
listed above, having at least two, at least three, at least four, at            tion, as well as in a delivery system for agents across the
least five, at least six, at least seven, all eight characteristics             blood-brain barrier and the blood-spinal cord barrier.
and that the hES-MSC have been subjected to irradiation.
                                                                                    5.4 Selecting and Producing hES-MSC Populations
[0123] In another embodiment, the cell culture comprises
human embryonic stem cell derived mesenchymal stem cells.                       [0128] Provided herein is a method of identifying highly
In certain embodiments, the hES-MSCs differentiate into                         immunosuppressive hES-MSC by identifying a biomarker
chondrocytes, osteocytes and/or adipocytes. In certain                          profile of the highly immunosuppressive hES-MSC that are
embodiments, the cells express CD73, CD90, CD105, CD13,                         clinical grade for use in therapy. In certain embodiment, the
CD29, CD54, CD44, CD146, and/or CD166. In certain                               clinical grade hES-MSC have the following characteristics:
embodiments, the cells express at low levels or do not express                  (i) contain >95% of cells expressing group-1 markers; (ii)
CD34, CD31, and/or CD45. In certain other embodiments,                          contain >80% of cells expressing group 2 markers; (iii) con-
the cells express at low levels or do not express MMP2,                         tain <5% of cells expressing group-3 markers (iv) expressing
        Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 75 of 101


US 2015/0203820 Al                                                                                                Jul. 23, 2015
                                                                10


IL-10 and TGF 13; (v) contain <2% of cells expressing IL-6,          ines/growth factors, and/or (2) genomic abnormalities (via
IL-12 and TNFa; and (vi) contains <0.001% of cells co-               karyotyping and whole-genome sequencing).
expressing all group-4 markers, wherein group-1 markers are          [0131] Methods for determining the expression profile of
CD73, CD90, CD105, CD146, CD166, and CD44, group-2                   the MSC are known in the art, including but not limited to,
markers are CD13, CD29, CD54. CD49E, group-3 markers                 flow cytometry, multiplex microarray, RT-PCT, northern blot
are CD45, CD34, CD31 and SSEA4, and group-4 markers are              and western blot. In certain embodiments, the expression
OCT4, NANOG, TRA-1-60 and SSEA4.                                     profile of the MSC are determined by cytometric bead array
                                                                     based multiplex cytokine analysis, luminex system based
[0129] In certain embodiments, the method comprises                  multiplex cytokine analysis, microarray RNA-seq, quantita-
measuring the differential expression of markers that encode         tive RT-PCR, Elispot Elisa, Elisa cytokine array, flow cytom-
anti-inflammatory factors ("AIF") and pro-inflammatory fac-          etry luciferase reporter system, fluorescence reporter system,
tors ("PIF"). In certain embodiments, the AIF is IL-10,              histology staining, and Immunofluroscence staining.
TGF 132. In certain embodiments, the PIF is upregulated. In
certain embodiments, hES-MSC express at least 1.5 fold of                      5.4.1 Methods of Detecting Nucleic Acid
the above markers as compared to BM-MSC. In certain                                          Biomarkers
embodiments, the PIF is IL-6, IL-12, TNFa, CCL2, VCAM1,
                                                                     [0132] In specific embodiments, biomarkers in a biomarker
RAGE, MMP2. In certain embodiment, the PIF is downregu-
                                                                     profile are nucleic acids. Such biomarkers and corresponding
lated. In certain embodiments, hES-MSC express at least half
                                                                     features of the biomarker profile may be generated, for
of the above markers as compared to BM-MSC In another
                                                                     example, by detecting the expression product (e.g., a poly-
embodiment, highly immunosuppressive hES-MSC has a
                                                                     nucleotide or polypeptide) of one or more markers. In a spe-
lower ratio of IL-6+ cells as compared to BM-MSC. In certain
                                                                     cific embodiment, the biomarkers and corresponding features
embodiments, highly immunosuppressive hES-MSC has less
                                                                     in a biomarker profile are obtained by detecting and/or ana-
than 5%, 4%, 3%, 2%, 1% of IL-6 positive cells. In certain
                                                                     lyzing one or more nucleic acids expressed from a marker
embodiment, hES-MSC express low level of IL12, TNFa,
                                                                     disclosed herein using any method well known to those
RAGE and other PIF. In certain embodiment, hES-MSC may
                                                                     skilled in the art including, but not limited to, hybridization,
express high level of TGF 132 and IL-10. In certain embodi-
                                                                     microarray analysis, RT-PCR, nuclease protection assays and
ments, the expression of markers are compared to expression
                                                                     Northern blot analysis.
in BM-MSC.
                                                                     [0133] In certain embodiments, nucleic acids detected and/
[0130] Provided herein is a qualification procedure for              or analyzed by the methods and compositions of the invention
clinical grade hES-MSC population. Expression of specific            include RNA molecules such as, for example, expressed RNA
markers are measured in a population of hES-MSC to deter-            molecules which include messenger RNA (mRNA) mol-
mine whether they are suitable for therapeutic use. The mark-        ecules, mRNA spliced variants as well as regulatory RNA,
ers include, for example, (1) MSC-specific markers (set 1):          cRNA molecules (e.g., RNA molecules prepared from cDNA
CD73, CD90, CD105, CD166, and CD44, (2) MSC-specific                 molecules that are transcribed in vitro) and discriminating
markers (set 2): CD13, CD29. CD54. CD49E, SCA-1, and                 fragments thereof.
STRO-1, (3) hematopoietic stem/progenitor markers: CD45              [0134] In specific embodiments, the nucleic acids are pre-
and CD34, and endothelial cell marker CD31, (4) immuno-              pared in vitro from nucleic acids present in, or isolated or
genic markers: HLA-ABC, HLA-G, CD80, and CD86, (5)                   partially isolated from a cell culture which are well known in
cytokines: IL-10, TGF 13, IL-6, and IL-12, and (6) pluripo-          the art, and are described generally, e.g., in Sambrook et al.,
tency markers: OCT4, NANOG, TRA-1-60, and SSEA-4. In                 2001, Molecular Cloning: A Laboratory Manual. 3.sup.rd ed.
certain embodiments, hES-MSC population contains more                Cold Spring Harbor Laboratory Press (Cold Spring Harbor.
than 95%, 96%, 97%, 98%, 99% of cells that express at least          N.Y.), which is incorporated by reference herein in its
one group 1 markers. In certain embodiments, hES-MSC                 entirety.
population contains more than 80%, 85%, 90%, 95%, 99% of
cells that express at least one group 2 markers. In certain                           5.4.1.1 Nucleic Acid Arrays
embodiments, hES-MSC population contains less than 0.1%,
0.08%, 0.05%, 0.03%, 0.02%, 0.01% of cells that express at           [0135] In certain embodiments, nucleic acid arrays are
least one group 3 marker. In certain embodiments, hES-MSC            employed to generate features of biomarkers in a biomarker
population contains more than 80%, 85%, 90%, 95%, 99% of             profile by detecting the expression of any one or more of the
cells that express IL-10 and/or TGFI3. In certain embodi-            markers described herein. In one embodiment of the inven-
ments, hES-MSC population contains less than 5%, 4%, 3%,             tion, a microarray such as a cDNA microarray is used to
2%, 1% of cells that express IL-6 and/or IL-12. In certain           determine feature values of biomarkers in a biomarker pro-
embodiments, hES-MSC population contains less 0.001% of              file. Exemplary methods for cDNA microarray analysis are
cells that express at least one group 6 marker. The clinical-        described below, and in the examples.
grade hES-MSC is compared with the preclinical-grade hES-            [0136] In certain embodiments, the feature values for biom-
MSC as a positive control. In certain embodiment, the hES-           arkers in a biomarker profile are obtained by hybridizing to
MSC is characterized through multi-color flow cytometry              the array detectably labeled nucleic acids representing or
analyses and/or immunofluorescence. In certain embodi-               corresponding to the nucleic acid sequences in mRNA tran-
ments, hES-MSC population express CCL2, CCL3, CCL4,                  scripts present in a biological sample (e.g., fluorescently
CCLS, IL-1, IL-2, IL-4, IL-6, IL-8, IL-10, IL-17, TNFa,              labeled cDNA synthesized from the sample) to a microarray
TGF 13, IFNy, GM-CSF, G-CSF, bFGF, CXCLS, VEGF, TPO                  comprising one or more probe spots.
or a combination thereof. In certain embodiments, the hES-           [0137] Nucleic acid arrays, for example, microarrays, can
MSC population will also be analyzed for (1) presence of             be made in a number of ways, of which several are described
exogenous materials such as endotoxin and residual cytok-            herein below. Preferably, the arrays are reproducible, allow-
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 76 of 101


US 2015/0203820 Al                                                                                                  Jul. 23, 2015
                                                                   11


ing multiple copies of a given array to be produced and results         nucleoside triphosphates, a buffer and salts. The method of
from said microarrays compared with each other. Preferably,             PCR is well known in the art. PCR, is performed, for example,
the arrays are made from materials that are stable under                as described in Mullis and Faloona, 1987, Methods Enzymol.
binding (e.g., nucleic acid hybridization) conditions. Those            155:335, which is hereby incorporated herein by reference in
skilled in the art will know of suitable supports, substrates or        its entirety.
carriers for hybridizing test probes to probe spots on an array,
or will be able to ascertain the same by use of routine experi-         [0142] PCR can be performed using template DNA or
mentation.                                                              cDNA (at least 1 fg; more usefully, 1-1000 ng) and at least 25
[0138] Arrays, for example, microarrays, used can include               pmol of oligonucleotide primers. A typical reaction mixture
one or more test probes. In some embodiments each such test             includes: 2 .mu.l of DNA, 25 pmol of oligonucleotide primer,
probe comprises a nucleic acid sequence that is complemen-              2.5 [11 of 10 M PCR buffer 1 (Perkin-Elmer. Foster City,
tary to a subsequence of RNA or DNA to be detected. Each                Calif.), 0.4 IA of 1.25 M dNTP, 0.15 IA (or 2.5 units) of Taq
probe typically has a different nucleic acid sequence, and the          DNA polymerase (Perkin Elmer, Foster City, Calif.) and
position of each probe on the solid surface of the array is             deionized water to a total volume of 25 IA. Mineral oil is
usually known or can be determined. Arrays useful in accor-             overlaid and the PCR is performed using a programmable
dance with the invention can include, for example, oligo-               thermal cycler.
nucleotide microarrays, cDNA based arrays, SNP arrays,
spliced variant arrays and any other array able to provide a            [0143] Quantitative RT-PCR ("QRT-PCR"), which is quan-
qualitative, quantitative or semi-quantitative measurement of           titative in nature, can also be performed to provide a quanti-
expression of a marker described herein. Some types of                  tative measure of marker expression levels. In QRT-PCR
microarrays are addressable arrays. More specifically, some             reverse transcription and PCR can be performed in two steps,
microarrays are positionally addressable arrays. In some                or reverse transcription combined with PCR can be per-
embodiments, each probe of the array is located at a known,             formed concurrently. One of these techniques, for which
predetermined position on the solid support so that the iden-           there are commercially available kits such as Taqman (Perkin
tity (e.g., the sequence) of each probe can be determined from          Elmer. Foster City, Calif.) or as provided by Applied Biosys-
its position on the array (e.g., on the support or surface). In         tems (Foster City, Calif.) is performed with a transcript-spe-
some embodiments, the arrays are ordered arrays. Microar-               cific antisense probe. This probe is specific for the PCR prod-
rays are generally described in Draghici, 2003, Data Analysis           uct (e.g. a nucleic acid fragment derived from a gene) and is
Tools for DNA Microarrays, Chapman & Hall/CRC, which is                 prepared with a quencher and fluorescent reporter probe com-
hereby incorporated herein by reference in its entirety.                plexed to the 5' end of the oligonucleotide. Different fluores-
                                                                        cent markers are attached to different reporters, allowing for
                       5.4.1.2 RT-PCR                                   measurement of two products in one reaction. When Taq
                                                                        DNA polymerase is activated, it cleaves off the fluorescent
[0139] In certain embodiments, to determine the feature                 reporters of the probe bound to the template by virtue of its
values of biomarkers in a biomarker profile of level of expres-         5'-to-3' exonuclease activity. In the absence of the quenchers,
sion of one or more of the markers described herein is mea-             the reporters now fluoresce. The color change in the reporters
sured by amplifying RNA from a sample using reverse tran-               is proportional to the amount of each specific product and is
scription (RT) in combination with the polymerase chain                 measured by a fluorometer; therefore, the amount of each
reaction (PCR). In accordance with this embodiment, the                 color is measured and the PCR product is quantified. The
reverse transcription may be quantitative or semi-quantita-             PCR reactions are performed in 96-well plates so that
tive. The RT-PCR methods taught herein may be used in                   samples derived from many individuals are processed and
conjunction with the microarray methods described above.                measured simultaneously. The Taqman system has the addi-
For example, a bulk PCR reaction may be performed, the PCR              tional advantage of not requiring gel electrophoresis and
products may be resolved and used as probe spots on a                   allows for quantification when used with a standard curve.
microarray.
                                                                        [0144] A second technique useful for detecting PCR prod-
[0140] Total RNA, or mRNA is used as a template and a
                                                                        ucts quantitatively is to use an intercolating dye such as the
primer specific to the transcribed portion of the marker(s) is
                                                                        commercially available QuantiTect SYBR Green PCR
used to initiate reverse transcription. Methods of reverse tran-
                                                                        (Qiagen, Valencia Calif.). RT-PCR is performed using SYBR
scribing RNA into cDNA are well known and described in
                                                                        green as a fluorescent label which is incorporated into the
Sambrook et al., 2001, supra. Primer design can be accom-
                                                                        PCR product during the PCR stage and produces a floure-
plished based on known nucleotide sequences that have been
                                                                        scense proportional to the amount of PCR product.
published or available from any publicly available sequence
database such as Genbank. For example, primers may be                   [0145] Both Taqman and QuantiTect SYBR systems can be
designed for any of the markers described herein. Further,              used subsequent to reverse transcription of RNA. Reverse
primer design may be accomplished by utilizing commer-                  transcription can either be performed in the same reaction
cially available software (e.g., Primer Designer 1.0, Scientific        mixture as the PCR step (one-step protocol) or reverse tran-
Software etc.). The product of the reverse transcription is             scription can be performed first prior to amplification utiliz-
subsequently used as a template for PCR.                                ing PCR (two-step protocol). Additionally, other systems to
[0141] PCR provides a method for rapidly amplifying a                   quantitatively measure mRNA expression products are
particular nucleic acid sequence by using multiple cycles of            known including Molecular Beacons® which uses a probe
DNA replication catalyzed by a thermostable, DNA-depen-                 having a fluorescent molecule and a quencher molecule, the
dent DNA polymerase to amplify the target sequence of inter-            probe capable of forming a hairpin structure such that when in
est. PCR requires the presence of a nucleic acid to be ampli-           the hairpin form, the fluorescence molecule is quenched, and
fied, two single-stranded oligonucleotide primers flanking              when hybridized the fluorescence increases giving a quanti-
the sequence to be amplified, a DNA polymerase, deoxyribo-              tative measurement of gene expression.
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 77 of 101


US 2015/0203820 Al                                                                                                    Jul. 23, 2015
                                                                   12


                5.4.1.3 Northern Blot Assays                            art for detecting proteins including, but not limited to protein
                                                                        microarray analysis, immunohistochemistry and mass spec-
[0146] Any hybridization technique known to those of skill              trometry.
in the art can be used to generate feature values for biomarkers        [0148] Standard techniques may be utilized for determin-
in a biomarker profile. In other particular embodiments, fea-           ing the amount of the protein or proteins of interest present in
ture values for biomarkers in a biomarker profile can be                a cell culture. For example, standard techniques can be
obtained by Northern blot analysis (to detect and quantify              employed using, e.g., immunoassays such as, for example
specific RNA molecules. A standard Northern blot assay can              Western blot, immunoprecipitation followed by sodium
be used to ascertain an RNA transcript size, identify alterna-          dodecyl sulfate polyacrylamide gel electrophoresis, (SDS-
tively spliced RNA transcripts, and the relative amounts of             PAGE), immunocytochemistry, and the like to determine the
one or more genes described herein (in particular, mRNA) in             amount of protein or proteins of interest present in a sample.
a sample, in accordance with conventional Northern hybrid-              One exemplary agent for detecting a protein of interest is an
ization techniques known to those persons of ordinary skill in          antibody capable of specifically binding to a protein of inter-
the art. In Northern blots, RNA samples are first separated by          est, preferably an antibody detectably labeled, either directly
size via electrophoresis in an agarose gel under denaturing             or indirectly.
conditions. The RNA is then transferred to a membrane,
                                                                        [0149] For such detection methods, if desired a protein
crosslinked and hybridized with a labeled probe. Nonisotopic
                                                                        from the cell culture to be analyzed can easily be isolated
or high specific activity radiolabeled probes can be used
                                                                        using techniques which are well known to those of skill in the
including random-primed, nick-translated, or PCR-generated
                                                                        art. Protein isolation methods can, for example, be such as
DNA probes, in vitro transcribed RNA probes, and oligo-
                                                                        those described in Harlow and Lane, 1988, Antibodies: A
nucleotides. Additionally, sequences with only partial homol-
                                                                        Laboratory Manual, Cold Spring Harbor Laboratory Press
ogy (e.g., cDNA from a different species or genomic DNA
                                                                        (Cold Spring Harbor, N.Y.), which is incorporated by refer-
fragments that might contain an exon) may be used as probes.
                                                                        ence herein in its entirety.
The labeled probe, e.g., a radiolabelled cDNA, either contain-
ing the full-length, single stranded DNA or a fragment of that          [0150] In certain embodiments, methods of detection of the
DNA sequence may be at least 20, at least 30, at least 50, or at        protein or proteins of interest involve their detection via inter-
least 100 consecutive nucleotides in length. The probe can be           action with a protein-specific antibody. For example, antibod-
labeled by any of the many different methods known to those             ies directed to a protein of interest. Antibodies can be gener-
skilled in this art. The labels most commonly employed for              ated utilizing standard techniques well known to those of skill
these studies are radioactive elements, enzymes, chemicals              in the art. In specific embodiments, antibodies can be poly-
that fluoresce when exposed to ultraviolet light, and others. A         clonal, or more preferably, monoclonal. An intact antibody, or
number of fluorescent materials are known and can be utilized           an antibody fragment (e.g., scFv, Fab or F(ab').sub.2) can, for
as labels. These include, but are not limited to, fluorescein,          example, be used.
rhodamine, auramine, Texas Red, AMCA blue and Lucifer                   [0151] For example, antibodies, or fragments of antibodies,
Yellow. The radioactive label can be detected by any of the             specific for a protein of interest can be used to quantitatively
currently available counting procedures. Non-limiting                   or qualitatively detect the presence of a protein. This can be
examples of isotopes include .sup.3H, .sup.14C, .sup.32P,               accomplished, for example, by immunofluorescence tech-
.sup.35S, .sup .36C1, .sup .51Cr, .sup.57Co, .sup .58Co, .sup .         niques. Antibodies (or fragments thereof) can, additionally,
59Fe, .sup .90Y, .sup.125I, .sup .131I, and .sup .186Re.                be employed histologically, as in immunofluorescence or
Enzyme labels are likewise useful, and can be detected by any           immunoelectron microscopy, for in situ detection of a protein
of the presently utilized colorimetric, spectrophotometric,             of interest. In situ detection can be accomplished by removing
fluorospectrophotometric, amperometric or gasometric tech-              a biological sample (e.g., a biopsy specimen) from a patient,
niques. The enzyme is conjugated to the selected particle by            and applying thereto a labeled antibody that is directed to a
reaction with bridging molecules such as carbodiimides,                 protein of interest. The antibody (or fragment) is preferably
diisocyanates, glutaraldehyde and the like. Any enzymes                 applied by overlaying the antibody (or fragment) onto a bio-
known to one of skill in the art can be utilized. Examples of           logical sample. Through the use of such a procedure, it is
such enzymes include, but are not limited to, peroxidase,               possible to determine not only the presence of the protein of
beta-D-galactosidase, urease, glucose oxidase plus peroxi-              interest, but also its distribution, in a particular sample. A
dase and alkaline phosphatase. U.S. Pat. Nos. 3,654,090,                wide variety of well-known histological methods (such as
3,850,752, and 4,016,043 are referred to by way of example              staining procedures) can be utilized to achieve such in situ
for their disclosure of alternate labeling material and meth-           detection.
ods.                                                                    [0152] Immunoassays for a protein of interest typically
                                                                        comprise incubating a sample of a detectably labeled anti-
            5.4.2 Methods of Detecting Proteins                         body capable of identifying a protein of interest, and detect-
                                                                        ing the bound antibody by any of a number of techniques
[0147] In specific embodiments of the invention, feature                well-known in the art. As discussed in more detail, below, the
values of biomarkers in a biomarker profile can be obtained             term "labeled" can refer to direct labeling of the antibody via,
by detecting proteins, for example, by detecting the expres-            e.g., coupling (i.e., physically linking) a detectable substance
sion product (e.g., a nucleic acid or protein) of one or more           to the antibody, and can also refer to indirect labeling of the
markers described herein, or post-translationally modified, or          antibody by reactivity with another reagent that is directly
otherwise modified, or processed forms of such proteins. In a           labeled. Examples of indirect labeling include detection of a
specific embodiment, a biomarker profile is generated by                primary antibody using a fluorescently labeled secondary
detecting and/or analyzing one or more proteins and/or dis-             antibody.
criminating fragments thereof expressed from a marker dis-              [0153] The sample can be brought in contact with and
closed herein using any method known to those skilled in the            immobilized onto a solid phase support or carrier such as
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 78 of 101


US 2015/0203820 Al                                                                                                     Jul. 23, 2015
                                                                      13


nitrocellulose, or other solid support which is capable of                 or .sup.3H) can be detected by such means as the use of a
immobilizing cells, cell particles or soluble proteins. The                gamma counter or a scintillation counter or by autoradiogra-
support can then be washed with suitable buffers followed by               phy.
treatment with the detectably labeled fingerprint gene-spe-                [0157] It is also possible to label the antibody with a fluo-
cific antibody. The solid phase support can then be washed                 rescent compound. When the fluorescently labeled antibody
with the buffer a second time to remove unbound antibody.                  is exposed to light of the proper wavelength, its presence can
The amount of bound label on solid support can then be                     then be detected due to fluorescence. Among the most com-
detected by conventional methods.                                          monly used fluorescent labeling compounds are fluorescein
                                                                           isothiocyanate, rhodamine, phycoerythrin, phycocyanin,
[0154] By "solid phase support or carrier" is intended any                 allophycocyanin, o-phthaldehyde and fluorescamine.
support capable of binding an antigen or an antibody. Well-                [0158] The antibody can also be detectably labeled using
known supports or carriers include glass, polystyrene,                     fluorescence emitting metals such as .sup.152Eu, or others of
polypropylene, polyethylene, dextran, nylon, amylases, natu-               the lanthanide series. These metals can be attached to the
ral and modified celluloses, polyacrylamides and magnetite.                antibody using such metal chelating groups as diethylenetri-
The nature of the carrier can be either soluble to some extent             aminepentacetic acid (DTPA) or ethylenediaminetetraacetic
or insoluble for the purposes of the present invention. The                acid (EDTA).
support material can have virtually any possible structural                [0159] The antibody also can be detectably labeled by cou-
configuration so long as the coupled molecule is capable of                pling it to a chemiluminescent compound. The presence of
binding to an antigen or antibody. Thus, the support configu-              the chemiluminescent-tagged antibody is then determined by
ration can be spherical, as in a bead, or cylindrical, as in the           detecting the presence of luminescence that arises during the
inside surface of a test tube, or the external surface of a rod.           course of a chemical reaction. Examples of particularly useful
Alternatively, the surface can be flat such as a sheet, test strip,        chemiluminescent labeling compounds are luminol, isolumi-
etc. Preferred supports include polystyrene beads. Those                   nol, theromatic acridinium ester, imidazole, acridinium salt
skilled in the art will know many other suitable carriers for              and oxalate ester.
binding antibody or antigen, or will be able to ascertain the              [0160] Likewise, a bioluminescent compound can be used
same by use of routine experimentation.                                    to label the antibody of the present invention. Biolumines-
                                                                           cence is a type of chemiluminescence found in biological
[0155] One of the ways in which an antibody specific for a                 systems in, which a catalytic protein increases the efficiency
protein of interest can be detectably labeled is by linking the            of the chemiluminescent reaction. The presence of a biolu-
same to an enzyme and use in an enzyme immunoassay (EIA)                   minescent protein is determined by detecting the presence of
(Voller, 1978, "The Enzyme Linked Immunosorbent Assay                      luminescence. Important bioluminescent compounds for pur-
(ELISA)", Diagnostic Horizons 2:1-7, Microbiological                       poses of labeling are luciferin, luciferase and aequorin.
Associates Quarterly Publication, Walkersville, Md.; Voller                [0161] In another embodiment, specific binding molecules
et al., 1978, J. Clin. Pathol. 31:507-520; Butler, J. E., 1981,            other than antibodies, such as aptamers, may be used to bind
Meth. Enzymol. 73:482-523; Maggio (ed.), 1980, Enzyme                      the biomarkers. In yet another embodiment, the biomarker
Immunoassay, CRC Press, Boca Raton, Fla.; Ishikawa et al.,                 profile may comprise a measurable aspect of an infectious
(eds.), 1981, Enzyme Immunoassay, Kgaku Shoin, Tokyo,                      agent (e.g., lipopolysaccharides or viral proteins) or a com-
each of which is hereby incorporated by reference in its                   ponent thereof
entirety). The enzyme which is bound to the antibody will                  [0162] In some embodiments, a protein chip assay (e.g.,
react with an appropriate substrate, preferably a chromogenic              The ProteinChip® Biomarker System, Ciphergen, Fremont,
substrate, in such a manner as to produce a chemical moiety                Calif.) is used to measure feature values for the biomarkers in
which can be detected, for example, by spectrophotometric,                 the biomarker profile. See also, for example, Lin, 2004, Mod-
fluorimetric or by visual means. Enzymes which can be used                 ern Pathology, 1-9; Li, 2004, Journal of Urology 171, 1782-
to detectably label the antibody include, but are not limited to,          1787; Wadsworth, 2004, Clinical Cancer Research, 10, 1625-
malate dehydrogenase, staphylococcal nuclease, delta-5-ste-                1632; Prieto, 2003, Journal of Liquid Chromatography &
roid isomerase, yeast alcohol dehydrogenase, alpha-glycero-                Related Technologies 26, 2315-2328; Coombes, 2003, Clini-
phosphate, dehydrogenase, triose phosphate isomerase,                      cal Chemistry 49, 1615-1623; Mian, 2003, Proteomics 3,
horseradish peroxidase, alkaline phosphatase, asparaginase,                1725-1737; Lehre et al., 2003, BJU International 92, 223-
glucose oxidase, beta-galactosidase, ribonuclease, urease,                 225; and Diamond, 2003, Journal of the American Society for
catalase, glucose-6-phosphate dehydrogenase, glucoamylase                  Mass Spectrometry 14, 760-765, each of which is hereby
and acetylcholinesterase. The detection can be accomplished                incorporated by reference in its entirety.
by colorimetric methods which employ a chromogenic sub-
                                                                           [0163] In some embodiments, a bead assay is used to mea-
strate for the enzyme. Detection can also be accomplished by
                                                                           sure feature values for the biomarkers in the biomarker pro-
visual comparison of the extent of enzymatic reaction of a
                                                                           file. One such bead assay is the Becton Dickinson Cytometric
substrate in comparison with similarly prepared standards.
                                                                           Bead Array (CBA). CBA employs a series of particles with
[0156] Detection can also be accomplished using any of a                   discrete fluorescence intensities to simultaneously detect
variety of other immunoassays. For example, by radioac-                    multiple soluble analytes. CBA is combined with flow cytom-
tively labeling the antibodies or antibody fragments, it is                etry to create a multiplexed assay. The Becton Dickinson
possible to detect a protein of interest through the use of a              CBA system, as embodied for example in the Becton Dick-
radioimmunoassay (RIA) (see, for example, Weintraub,                       inson Human Inflammation Kit, uses the sensitivity of ampli-
1986, Principles of Radioimmunoassays, Seventh Training                    fied fluorescence detection by flow cytometry to measure
Course on Radioligand Assay Techniques, The Endocrine                      soluble analytes in a particle-based immunoassay. Each bead
Society, which is hereby incorporated by reference herein).                in a CBA provides a capture surface for a specific protein and
The radioactive isotope (e.g., .sup.125I, .sup.131I, .sup.35S              is analogous to an individually coated well in an ELISA plate.
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 79 of 101


US 2015/0203820 Al                                                                                                       Jul. 23, 2015
                                                                      14


The BD CBA capture bead mixture is in suspension to allow                  feature values in a biomarker profile where the biomarkers are
for the detection of multiple analytes in a small volume                   proteins or protein fragments that have been ionized and
sample.                                                                    vaporized off an immobilizing support by incident laser
[0164] In some embodiments the multiplex analysis                          radiation and the feature values are the presence or absence of
method described in U.S. Pat. No. 5,981,180 ("the '180                     peaks representing these fragments in the mass spectra pro-
patent"), herein incorporated by reference in its entirety, and            file. A variety of laser desorption/ionization techniques are
in particular for its teachings of the general methodology,                known in the art (see, e.g., Guttman et al., 2001, Anal. Chem.
bead technology, system hardware and antibody detection, is                73:1252-62 and Wei et al., 1999, Nature 399:243-246, each of
used to measure feature values for the biomarkers in a biom-               which is hereby incorporated by herein be reference in its
arker profile. For this analysis, a matrix of microparticles is            entirety).
synthesized, where the matrix consists of different sets of                [0168] Laser desorption/ionization time-of-flight mass
microparticles. Each set of microparticles can have thousands              spectrometry allows the generation of large amounts of infor-
of molecules of a distinct antibody capture reagent immobi-                mation in a relatively short period of time. A biological
lized on the microparticle surface and can be color-coded by               sample is applied to one of several varieties of a support that
incorporation of varying amounts of two fluorescent dyes.                  binds all of the biomarkers, or a subset thereof, in the sample.
The ratio of the two fluorescent dyes provides a distinct                  Cell lysates or samples are directly applied to these surfaces
emission spectrum for each set of microparticles, allowing                 in volumes as small as 0.5 .mu.L, with or without prior puri-
the identification of a microparticle a set following the pool-            fication or fractionation. The lysates or sample can be con-
ing of the various sets of microparticles. U.S. Pat. Nos. 6,268,           centrated or diluted prior to application onto the support
222 and 6,599,331 also are incorporated herein by reference                surface. Laser desorption/ionization is then used to generate
in their entirety, and in particular for their teachings of various        mass spectra of the sample, or samples, in as little as three
methods of labeling microparticles for multiplex analysis.                 hours.
          5.4.3 Use of Other Methods of Detection
                                                                                          5.4.4 Data Analysis Algorithms
[0165] In some embodiments, a separation method may be
used to determine feature values for biomarkers in a biomar-               [0169] Biomarker expression profile of hES-MSC are fac-
ker profile, such that only a subset of biomarkers within the              tors discriminating between clinical grade hES-MSC and
sample is analyzed. For example, the biomarkers that are                   non-clinical grade hES-MSC. The identity of these biomar-
analyzed in a sample may be mRNA species from a cellular                   kers and their corresponding features (e.g., expression levels)
extract which has been fractionated to obtain only the nucleic             can be used to develop a decision rule, or plurality of decision
acid biomarkers within the sample, or the biomarkers may be                rules, that discriminate between clinical grade and non-clini-
from a fraction of the total complement of proteins within the             cal grade hES-MSC. Specific data analysis algorithms for
sample, which have been fractionated by chromatographic                    building a decision rule, or plurality of decision rules, that
techniques.                                                                discriminate between clinical grade hES-MSC and non-clini-
[0166] Feature values for biomarkers in a biomarker profile                cal grade hES-MSC. Once a decision rule has been built using
can also, for example, be generated by the use of one or more              these exemplary data analysis algorithms or other techniques
of the following methods described below. For example,                     known in the art, the decision rule can be used to classify a
methods may include nuclear magnetic resonance (NMR)                       hES-MSC population into one of the two or more phenotypic
spectroscopy, a mass spectrometry method, such as electro-                 classes (e.g. a clinical grade or a non-clinical grade hES-
spray ionization mass spectrometry (ESI-MS), ESI-MS/MS,                    MSC). This is accomplished by applying the decision rule to
ESI-MS/(MS).sup.n (n is an integer greater than zero),                     a biomarker profile obtained from the cell culture. Such deci-
matrix-assisted laser desorption ionization time-of-flight                 sion rules, therefore, have enormous value as defining the
mass spectrometry (MALDI-TOF-MS), surface-enhanced                         quality of hES-MSC. In certain embodiment, provided herein
laser desorption/ionization time-of-flight mass spectrometry               is a method for the evaluation of a biomarker profile from a
(SELDI-TOF-MS), desorption/ionization on silicon (DIOS),                   test cell culture to biomarker profiles obtained from a cell
secondary ion mass spectrometry (SIMS), quadrupole time-                   culture in a control population. In some embodiments, each
of-flight (Q-TOF), atmospheric pressure chemical ionization                biomarker profile obtained from the control population, as
mass spectrometry (APCI-MS), APCI-MS/MS, APCI-(MS).                        well as the test cell culture, comprises a feature for each of a
sup.n, atmospheric pressure photoionization mass spectrom-                 plurality of different biomarkers. In some embodiments, this
etry (APPI-MS), APPI-MS/MS, and APPI-(MS).sup.n. Other                     comparison is accomplished by (i) developing a decision rule
mass spectrometry methods may include, inter alia, quadru-                 using the biomarker profiles from the control population and
pole, Fourier transform mass spectrometry (FTMS) and ion                   (ii) applying the decision rule to the biomarker profile from
trap. Other suitable methods may include chemical extraction               the test cell culture. As such, the decision rules applied in
partitioning, column chromatography, ion exchange chroma-                  some embodiments of the present invention are used to deter-
tography, hydrophobic (reverse phase) liquid chromatogra-                  mine whether a test cell culture is clinical grade or non-
phy, isoelectric focusing, one-dimensional polyacrylamide                  clinical grade. In certain embodiment, the control population
gel electrophoresis (PAGE), two-dimensional polyacryla-                    is a clinical grade hES-MSC. In another embodiment, the
mide gel electrophoresis (2D-PAGE) or other chromatogra-                   control population is BM-MSC.
phy, such as thin-layer, gas or liquid chromatography, or any              [0170] In some embodiments of the present invention,
combination thereof. In one embodiment, the biological                     when the results of the application of a decision rule indicate
sample may be fractionated prior to application of the sepa-               that the test cell culture is clinical grade hES-MSC, it is used
ration method.                                                             for treatment. If the results of an application of a decision rule
[0167] In one embodiment, laser desorption/ionization                      indicate that the test cell culture is non-clinical grade hES-
time-of-flight mass spectrometry is used to create determine               MSC, the test cell culture is not used for treatment.
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 80 of 101


US 2015/0203820 Al                                                                                                    Jul. 23, 2015
                                                                    15


                  5.5 Modification of MSC                                and stable cell lines generated by transformation using a
                                                                         selectable marker. The expression elements of vectors vary in
[0171] Provided herein is a method of modifying mesen-
                                                                         their strengths and specificities. Depending on the host-vector
chymal stem cells to produce a population of modified MSC
                                                                         system utilized, any one of a number of suitable transcription
that has improved immunosuppressive function. The MSC
                                                                         and translation elements may be used.
have the following characteristics: (i) contain >95% of cells
                                                                         [0176] Once a vector encoding the appropriate marker has
expressing group-1 markers; (ii) contain >80% of cells
                                                                         been synthesized, the MSC is transformed or transfected with
expressing group 2 markers; (iii) contain <5% of cells
                                                                         the vector of interest.
expressing group-3 markers (iv) expressing IL-10 and TGF13;
                                                                         [0177] Standard methods of introducing a nucleic acid
(v) contain <2% of cells expressing IL-6, IL-12 and TNFa;
                                                                         sequence of interest into the MSC can be used. Transforma-
and (vi) contains <0.001% of cells co-expressing all group-4
                                                                         tion may be by any known method for introducing polynucle-
markers, wherein group-1 markers are CD73, CD90, CD105,
                                                                         otides into a host cell, including, for example packaging the
CD146, CD166, and CD44, group-2 markers are CD13,
                                                                         polynucleotide in a virus and transducing a host cell with the
CD29, CD54, CD49E, group-3 markers are CD45, CD34,
                                                                         virus, and by direct uptake of the polynucleotide. Mammalian
CD31 and SSEA4, and group-4 markers are OCT4, NANOG,
                                                                         transformations (i.e., transfections) by direct uptake may be
TRA-1-60 and SSEA4.
                                                                         conducted using the calcium phosphate precipitation method
[0172] Provided herein is a method of increasing immuno-
                                                                         of Graham & Van der Eb, 1978, Virol. 52:546, or the various
suppressive function of hES-MSC by increasing the expres-
                                                                         known modifications thereof. Other methods for introducing
sion of AIF. In an embodiment, the method comprises
                                                                         recombinant polynucleotides into cells, particularly into
decreasing the expression of PLF. In an embodiment, the
                                                                         mammalian cells, include dextran-mediated transfection, cal-
method comprises decreasing the expression of IL6, IL12,
                                                                         cium phosphate mediated transfection, polybrene mediated
TNFa, RAGE and other PIF in hES-MSC. In an embodiment,
                                                                         transfection, protoplast fusion, electroporation, encapsula-
the method comprises increasing the expression of TGF13 and
                                                                         tion of the polynucleotide(s) in liposomes, and direct micro-
IL-10 in hES-MSC.
                                                                         injection of the polynucleotides into nuclei. Such methods are
[0173] In certain embodiments, the method comprises
                                                                         well-known to one of skill in the art.
genetic and epigenetic modification of hES-MSC that are
                                                                         [0178] In a preferred embodiment, stable cell lines contain-
known in the art. In certain embodiments, the genetic modi-
                                                                         ing the constructs of interest are generated for high through-
fication or epigenetic regulation includes, but are not limited
                                                                         put screening. Such stable cells lines may be generated by
to, knockout, small hair pin RNA ("shRNA"), micro RNA
                                                                         introducing a construct comprising a selectable marker,
("miRNA"), non-coding RNA ("ncRNA"), mopholino oligo,
                                                                         allowing the cells to grow for 1-2 days in an enriched
decoy RNA, DNA methylation regulation, histone methyla-
                                                                         medium, and then growing the cells on a selective medium.
tion regulation, translation inhibition and/or antibody block-
                                                                         The selectable marker in the recombinant plasmid confers
ing. In certain embodiment, MSC are modified through trans-
                                                                         resistance to the selection and allows cells to stably integrate
posomes, toll-like receptor ligands, small molecules.
                                                                         the plasmid into their chromosomes and grow to form foci
[0174] In certain embodiments, small molecules are used to
                                                                         which in turn can be cloned and expanded into cell lines.
target any of the signaling pathway components of IL-6 sig-
                                                                         [0179] A number of selection systems may be used, includ-
naling. In certain embodiments, the target includes, but not
                                                                         ing but not limited to the herpes simplex virus thymidine
limited to, gp130, STAT3, Cathepsin S, NFkappaB, IRF5. In
                                                                         kinase (Wigler, et al., 1977, Cell 11:223), hypoxanthine-gua-
certain embodiments, IL-12 expression is decreased in hES-
                                                                         nine phosphoribosyltransferase (Szybalska & Szybalski,
MSC by activation of the prostaglandin E2 pathway, by
                                                                         1962, Proc. Natl. Acad. Sci. USA 48:2026), and adenine
increasing intracellular cyclic AMP levels with cAMP ago-
                                                                         phosphoribosyltransferase (Lowy, et al., 1980, Cell 22:817)
nists that include but are not limited to forskolin, cholera
                                                                         genes can be employed in tk-, hgprt- or aprt-cells, respec-
toxin, (31- and (32 adrenoreceptor agonists, by inhibition of the
                                                                         tively. Also, anti-metabolite resistance can be used as the
NF-KB Rel-B pathway, by treating hES-MSC with apoptotic
                                                                         basis of selection for dhfr, which confers resistance to meth-
cells, by treatment with phosphatidylserine, by treatment
                                                                         otrexate (Wigler, et al., 1980, Natl. Acad. Sci. USA 77:3567;
with butyrate, by treatment with Triptolide or extracts from
                                                                         O'Hare, et al., 1981, Proc. Natl. Acad. Sci. USA 78:1527);
Tripterygium wilfordii or synthetic forms or Triptolide (i.e.
                                                                         gpt, which confers resistance to mycophenolic acid (Mulli-
Minnelide).
                                                                         gan & Berg, 1981, Proc. Natl. Acad. Sci. USA 78:2072); neo,
[0175] In certain embodiments, MSC may be modified to
                                                                         which confers resistance to the aminoglycoside G-418 (Col-
express a certain marker using methods known in the art of
                                                                         berre-Garapin, et al., 1981, J. Mol. Biol. 150:1); and hygro,
recombinant DNA. In certain embodiment, MSC may be
                                                                         which confers resistance to hygromycin (Santerre, et al.,
modified by transfection using the nucleotide sequence
                                                                         1984, Gene 30:147) genes.
encoding the marker. The marker can be inserted into an
appropriate expression vector, i.e., a vector which contains                        5.6 Stem Cell Collection Composition
the necessary elements for the transcription and translation of
the inserted coding sequence. The necessary transcriptional              [0180] The stem cell collection composition can comprise
and translational elements can also be present. The regulatory           any physiologically-acceptable solution suitable for the col-
regions and enhancer elements can be of a variety of origins,            lection and/or culture of stem cells, for example, a saline
both natural and synthetic. A variety of host-vector systems             solution (e.g., phosphate-buffered saline, Kreb's solution,
may be utilized to express the marker. These include, but are            modified Kreb's solution, Eagle's solution, 0.9% NaCl, etc.),
not limited to, mammalian cell systems infected with virus               a culture medium (e.g., DMEM, H. DMEM, etc.), and the
(e.g., vaccinia virus, adenovinis, etc.); insect cell systems            like.
infected with virus (e.g., baculovirus); microorganisms such             [0181] The stem cell collection composition can comprise
as yeast containing yeast vectors, or bacteria transformed               one or more components that tend to preserve stem cells, that
with bacteriophage, DNA, plasmid DNA, or cosmid DNA;                     is, prevent the stem cells from dying, or delay the death of the
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 81 of 101


US 2015/0203820 Al                                                                                                        Jul. 23, 2015
                                                                      16


stem cells, reduce the number of stem cells in a population of             plurality of immune cells, by contacting the immune cell(s)
cells that die, or the like, from the time of collection to the            with a plurality of hES-MSC or iPS-MSC. In one embodi-
time of culturing. Such components can be, e.g., an apoptosis              ment, the method of modulating an immune response com-
inhibitor (e.g., a caspase inhibitor or JNK inhibitor); a vasodi-          prises contacting a plurality of immune cells with a plurality
lator (e.g., magnesium sulfate, an antihypertensive drug,                  of hES-MSC or iPS-MSC for a time sufficient for said hES-
atrial natriuretic peptide (ANP), adrenocorticotropin, corti-              MSC or iPS-MSC to detectably suppress an immune
cotropin-releasing hormone, sodium nitroprusside, hydrala-                 response, wherein said hES-MSC or iPS-MSC detectably
zine, adenosine triphosphate, adenosine, indomethacin or                   suppress T cell proliferation in a mixed lymphocyte reaction
magnesium sulfate, a phosphodiesterase inhibitor, etc.); a                 (MLR) assay.
necrosis inhibitor (e.g., 2-(1H-Indo1-3-y1)-3-pentylamino-                 [0186] Since BM-MSC or other adult tissue derived MSC
maleimide, pyrrolidine dithiocarbamate, or clonazepam); a                  has been used to treat many autoimmune disease, BM-MSC is
TNF-a inhibitor; and/or an oxygen-carrying perfluorocarbon                 also used for tissue repairing by limit inflammation and secret
(e.g., perfluorooctyl bromide, perfluorodecyl bromide, etc.).              growth and protective factors, replace damaged tissues. We
[0182] The stem cell collection composition can comprise                   have showed here in our examples that hES-MSC have supe-
one or more tissue-degrading enzymes, e.g., a metallopro-                  rior immunosuppressive function than BM-MSC, thus hES-
tease, a serine protease, a neutral protease, an RNase, or a               MSC can be used in all areas and diseases that currently
DNase, or the like. Such enzymes include, but are not limited              targeted by BM-MSC.
to, collagenases (e.g., collagenase I, II, III or IV, a collagenase        [0187] hES-MSC or iPS-MSC used for immunomodula-
from Clostridium histolyticum, etc.); dispase, thermolysin,                tion may be derived or obtained from an embryonic stem cell
elastase, trypsin, LIBERASE, hyaluronidase, and the like.                  line or induced pluripotent stem cell line, respectively, hES-
[0183] The stem cell collection composition can comprise a                 MSC or iPS-MSC used for immunomodulation may also be
bacteriocidally or bacteriostatically effective amount of an               derived from a the same species as the immune cells whose
antibiotic. In certain non-limiting embodiments, the antibi-               activity is to be modulated or from a different species as that
otic is a macrolide (e.g., tobramycin), a cephalosporin (e.g.,             of the immune cells whose activity is to be modulated.
cephalexin, cephradine, cefuroxime, cefprozil, cefaclor,                   [0188] An "immune cell" in the context of this method
cefixime or cefadroxil), a clarithromycin, an erythromycin, a              means any cell of the immune system, particularly T cells and
penicillin (e.g., penicillin V) or a quinolone (e.g., ofloxacin,           NK (natural killer) cells. Thus, in various embodiments of the
ciprofloxacin or norfloxacin), a tetracycline, a streptomycin,             method, hES-MSC are contacted with a plurality of immune
etc. In a particular embodiment, the antibiotic is active against          cells, wherein the plurality of immune cells are, or comprises,
Gram(+) and/or Gram(—) bacteria, e.g., Pseudomonas                         a plurality of T cells (e.g., a plurality of CD3.sup.+ T cells,
aeruginosa, Staphylococcus aureus, and the like.                           CD4.sup.+ T cells and/or CD8.sup.+ T cells) and/or natural
[0184] The stem cell collection composition can also com-                  killer cells. An "immune response" in the context of the
prise one or more of the following compounds: adenosine                    method can be any response by an immune cell to a stimulus
(about 1 mM to about 50 mM); D-glucose (about 20 mM to                     normally perceived by an immune cell, e.g., a response to the
about 100 mM); magnesium ions (about 1 mM to about 50                      presence of an antigen. In various embodiments, an immune
mM); a macromolecule of molecular weight greater than                      response can be the proliferation of T cells (e.g., CD3.sup.+ T
20,000 daltons, in one embodiment, present in an amount                    cells, CD4.sup.+ T cells and/or CD8.sup.+ T cells) in
sufficient to maintain endothelial integrity and cellular viabil-          response to a foreign antigen, such as an antigen present in a
ity (e.g., a synthetic or naturally occurring colloid, a polysac-          transfusion or graft, or to a self-antigen, as in an autoimmune
charide such as dextran or a polyethylene glycol present at                disease. The immune response can also be a proliferation of T
about 25 g/1 to about 100 g/1, or about 40 g/1 to about 60 g/1);           cells contained within a graft. The immune response can also
an antioxidant (e.g., butylated hydroxyanisole, butylated                  be any activity of a natural killer (NK) cell, the maturation of
hydroxytoluene, glutathione, vitamin C or vitamin E present                a dendritic cell, or the like. The immune response can also be
at about 25 1,IM to about 100 1,IM); a reducing agent (e.g.,               a local, tissue- or organ-specific, or systemic effect of an
N-acetylcysteine present at about 0.1 mM to about 5 mM); an                activity of one or more classes of immune cells, e.g. the
agent that prevents calcium entry into cells (e.g., verapamil              immune response can be graft versus host disease, inflamma-
present at about 2µM to about 25 1,IM); nitroglycerin (e.g.,               tion, formation of inflammation-related scar tissue, an
about 0.05 g/L to about 0.2 g/L); an anticoagulant, in one                 autoimmune condition (e.g., rheumatoid arthritis, Type I dia-
embodiment, present in an amount sufficient to help prevent                betes, lupus erythematosus, etc.). and the like.
clotting of residual blood (e.g., heparin or hirudin present at a
                                                                           [0189] "Contacting" in this context encompasses bringing
concentration of about 1000 units/1 to about 100,000 units/1);
                                                                           the hES-MSC and immune cells together in a single container
or an amiloride containing compound (e.g., amiloride, ethyl
                                                                           (e.g., culture dish, flask, vial, etc.) or in vivo, for example, the
isopropyl amiloride, hexamethylene amiloride, dimethyl
                                                                           same individual (e.g., mammal, for example, human). In a
amiloride or isobutyl amiloride present at about 1.0 1,IM to
                                                                           preferred embodiment, the contacting is for a time sufficient,
about 51AM).
                                                                           and with a sufficient number of hES-MSC and immune cells,
                                                                           that a change in an immune function of the immune cells is
         5.7 Immunomodulation Using hES-MSC or
                                                                           detectable. More preferably, in various embodiments, said
                      iPS-MSC
                                                                           contacting is sufficient to suppress immune function (e.g., T
[0185] Provided herein is the modulation of the activity                   cell proliferation in response to an antigen) by at least 50%,
(e.g. reduced cell proliferation, reduced cell survival,                   60%, 70%, 80%, 90% or 95%, compared to the immune
impaired cell migration to sites of inflammation, reduced                  function in the absence of the hES-MSC. Such suppression in
ability of the cells to promote or prolong inflammation or                 an in vivo context can be determined in an in vitro assay; that
enhanced cell functions that promote the restoration of                    is, the degree of suppression in the in vitro assay can be
healthy tissue or organ homeostasis) of an immune cell, or                 extrapolated, for a particular number of hES-MSC and a
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 82 of 101


US 2015/0203820 Al                                                                                                   Jul. 23, 2015
                                                                   17


number of immune cells in a recipient individual, to a degree           late an activity of an immune cell, e.g., can differ in their
of suppression in the individual.                                       ability to suppress T cell activity or proliferation or NK cell
[0190] The invention in certain embodiments provides                    activity. It is thus desirable to determine, prior to use, the
methods of using hES-MSC to modulate an immune                          capacity of a particular population of hES-MSC for immu-
response, or the activity of a plurality of one or more types of        nosuppression. Such a capacity can be determined, for
immune cells, in vitro. Contacting the hES-MSC and plural-              example, by testing a sample of the stem cell population in an
ity of immune cells can comprise combining the hES-MSC                  MLR or regression assay. In one embodiment, an MLR is
and immune cells in the same physical space such that at least          performed with the sample, and a degree of immunosuppres-
a portion of the plurality of hES-MSC interacts with at least a         sion in the assay attributable to the hES-MSC is determined.
portion of the plurality of immune cells; maintaining the               This degree of immunosuppression can then be attributed to
hES-MSC and immune cells in separate physical spaces with               the stem cell population that was sampled. Thus, the MLR can
common medium; or can comprise contacting medium from                   be used as a method of determining the absolute and relative
one or a culture of hES-MSC or immune cells with the other              ability of a particular population of hES-MSC to suppress
type of cell (for example, obtaining culture medium from a              immune function. The parameters of the MLR can be varied
culture of hES-MSC and resuspending isolated immune cells               to provide more data or to best determine the capacity of a
in the medium). In a specific example, the contacting is a              sample of hES-MSC to immunosuppress. For example,
Mixed Lymphocyte Reaction (MLR).                                        because immunosuppression by hES-MSC appears to
[0191] Such contacting can, for example, take place in an               increase roughly in proportion to the number of hES-MSC
experimental setting designed to determine the extent to                present in the assay, the MLR can be performed with, in one
which a particular plurality of hES-MSC is immunomodula-                embodiment, two or more numbers of stem cells, e.g., lx103,
tory, e.g., immunosuppressive. Such an experimental setting             3x103, 1 x104 and/or 3x104 hES-MSC per reaction. The num-
can be, for example, a mixed lymphocyte reaction (MLR) or               ber of hES-MSC relative to the number of T cells in the assay
regression assay. Procedures for performing the MLR and                 can also be varied. For example, hES-MSC and T cells in the
regression assays are well-known in the art. See, e.g.                  assay can be present in any ratio of, e.g. about 10:1 to about
Schwarz, "The Mixed Lymphocyte Reaction: An In Vitro Test               1:10, preferably about 1:5, though a relatively greater number
for Tolerance." J. Exp. Med. 127(5):879-890 (1968); Lacerda             of hES-MSC or T cells can be used.
et al., "Human Epstein-Barr Virus (EBV)-Specific Cytotoxic              [0195] The invention also provides methods of using hES-
T Lymphocytes Home Preferentially to and Induce Selective               MSC to modulate an immune response, or the activity of a
Regressions of Autologous EBV-Induced B Lymphoprolif-                   plurality of one or more types of immune cells, in vivo.
erations in Xenografted C.B-17 Scid/Scid Mice," J. Exp.                 hES-MSC and immune cells can be contacted, e.g., in an
Med. 183:1215-1228 (1996). In a preferred embodiment, an                individual that is a recipient of a plurality of hES-MSC.
MLR is performed in which a plurality of hES-MSC are                    Where the contacting is performed in an individual, in one
contacted with a plurality of immune cells (e.g., lymphocytes,          embodiment, the contacting is between exogenous hES-MSC
for example, CD3' CD4' and/or CD8 T lymphocytes).                       (that is, hES-MSC not derived from the individual) and a
[0192] The MLR can be used to determine the immunosup-                  plurality of immune cells endogenous to the individual. In
pressive capacity of a plurality of hES-MSC. For example, a             specific embodiments, the immune cells within the individual
plurality of hES-MSC can be tested in an MLR comprising                 are CD3' T cells, CD4' T cells, CD8 T cells, and/or NK
combining CD4' or CD8 T cells, dendritic cells (DC) and                 cells.
hES-MSC in a ratio of about 10:1:2, wherein the T cells are             [0196] Such immunosuppression using hES-MSC would
stained with a dye such as, e.g., CFSE that partitions into             be advantageous for any condition caused or worsened by, or
daughter cells, and wherein the T cells are allowed to prolif-          related to, an inappropriate or undesirable immune response.
erate for about 6 days. The plurality of hES-MSC is immu-               hES-MSC-mediated immunomodulation, e.g., immunosup-
nosuppressive if the T cell proliferation at 6 days in the              pression, would, for example, be useful in the suppression of
presence of hES-MSC is detectably reduced compared to T                 an inappropriate immune response raised by the individual's
cell proliferation in the presence of DC and absence of hES-            immune system against one or more of its own tissues. In
MSC. In such an MLR, hES-MSC are either thawed or har-                  various embodiments, therefore, the invention provides a
vested from culture. About 20,000 hES-MSC are resus-                    method of suppressing an immune response, wherein the
pended in 100 [11 of medium (RPMI 1640, 1 mM HEPES                      immune response is an autoimmune disease, e.g., lupus
buffer, antibiotics, and 5% pooled human serum), and                    erythematosus, diabetes, rheumatoid arthritis, or multiple
allowed to attach to the bottom of a well for 2 hours. CD4              sclerosis.
and/or CD8 T cells are isolated from whole peripheral blood             [0197] The contacting of the plurality of hES-MSC with the
mononuclear cells Miltenyi magnetic beads. The cells are                plurality of one or more types of immune cells can occur in
CFSE stained, and a total of 100,000 T cells (CD4' T cells              vivo in the context of, or as an adjunct to, for example,
alone, CD8 T cells alone, or equal amounts of CD4' and                  grafting or transplanting of one or more types of tissues to a
CD8 T cells) are added per well. The volume in the well is              recipient individual. Such tissues may be, for example, bone
brought to 200 .1,11, and the MLR is allowed to proceed.                marrow or blood; an organ; a specific tissue (e.g., skin graft);
[0193] In one embodiment, therefore, the invention pro-                 composite tissue allograft (i.e., a graft comprising two or
vides a method of suppressing an immune response compris-               more different types of tissues); etc. In this regard, the hES-
ing contacting a plurality of immune cells with a plurality of          MSC can be used to suppress one or more immune responses
hES-MSC for a time sufficient for said hES-MSC to detect-               of one or more immune cells contained within the recipient
ably suppress T cell proliferation in a mixed lymphocyte                individual, within the transplanted tissue or graft, or both. The
reaction (MLR) assay.                                                   contacting can occur before, during and/or after the grafting
[0194] Populations of hES-MSC obtained from different                   or transplanting. For example, hES-MSC can be administered
embryonic stem cell line, can differ in their ability to modu-          at the time of the transplant or graft. The hES-MSC can also,
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 83 of 101


US 2015/0203820 Al                                                                                                   Jul. 23, 2015
                                                                   18


or alternatively, be administered prior to the transplanting or         the art and include, e.g., anti-T cell receptor antibodies
grafting, e.g., about 1, 2, 3, 4, 5, 6 or 7 days prior to the           (monoclonal or polyclonal, or antibody fragments or deriva-
transplanting or grafting, hES-MSC can also, or alternatively,          tives thereof), anti-IL-2 receptor antibodies (e.g., Basilix-
be administered to a transplant or graft recipient after the            imab (SIMULECTS) or daclizumab (ZENAPAX)®), anti T
transplantation or grafting, for example, about 1, 2, 3, 4, 5, 6        cell receptor antibodies (e.g., Muromonab-CD3), azathio-
or 7 days after the transplanting or grafting. Preferably, the          prime, corticosteroids, cyclosporine, tacrolimus, mycopheno-
plurality of hES-MSC are contacted with the plurality of                late mofetil, sirolimus, calcineurin inhibitors, and the like. In
hES-MSC before any detectable sign or symptom of an                     a specific embodiment, the immunosuppressive agent is a
immune response, either by the recipient individual or the              neutralizing antibody to macrophage inflammatory protein
transplanted tissue or graft, e.g., a detectable sign or symptom        (MIP)-1a or MIP-1 13.
of graft-versus-host disease or detectable inflammation, is
detectable.                                                                             5.8 Preservation of hES-MSC
[0198] In another embodiment, the contacting within an                  [0203] hES-MSC can be preserved, that is, placed under
individual is primarily between exogenous hES-MSC and                   conditions that allow for long-term storage, or conditions that
exogenous progenitor cells or stem cells, e.g., exogenous               inhibit cell death by, e.g., apoptosis or necrosis. hES-MSC
progenitor cells or stem cells that differentiate into immune           can be preserved using, e.g., a composition comprising an
cells. For example, individuals undergoing partial or full              apoptosis inhibitor, necrosis inhibitor. In one embodiment,
immunoablation or myeloablation as an adjunct to cancer                 the invention provides a method of preserving a population of
therapy can receive hES-MSC in combination with one or                  stem cells comprising contacting said population of stem
more other types of stem or progenitor cells. For example, the          cells with a stem cell collection composition comprising an
hES-MSC can be combined with a plurality of CD34+ cells,                inhibitor of apoptosis, wherein said inhibitor of apoptosis is
e.g., CD34+ hematopoietic stem cells. Such CD34+ cells can              present in an amount and for a time sufficient to reduce or
be, e.g., CD34+ cells from a tissue source such as peripheral           prevent apoptosis in the population of stem cells, as compared
blood, umbilical cord blood, placental blood, or bone marrow.           to a population of stem cells not contacted with the inhibitor
The CD34+ cells can be isolated from such tissue sources, or            of apoptosis. In a specific embodiment, said inhibitor of apo-
the whole tissue source (e.g., units of umbilical cord blood or         ptosis is a caspase-3 inhibitor. In another specific embodi-
bone marrow) or a partially purified preparation from the               ment, said inhibitor of apoptosis is a JNK inhibitor. In a more
tissue source (e.g., white blood cells from cord blood) can be          specific embodiment, said JNK inhibitor does not modulate
combined with the hES-MSC.                                              differentiation or proliferation of said stem cells. In another
[0199] The hES-MSC are administered to the individual                   embodiment, said stem cell collection composition com-
preferably in a ratio, with respect to the known or expected            prises said inhibitor of apoptosis and said oxygen-carrying
number of immune cells, e.g., T cells, in the individual, of            perfluorocarbon in separate phases. In another embodiment,
from about 10:1 to about 1:10, preferably about 1:5. However,           said stem cell collection composition comprises said inhibitor
a plurality of hES-MSC can be administered to an individual             of apoptosis and said oxygen-carrying perfluorocarbon in an
in a ratio of in non-limiting examples, about 10,000:1, about           emulsion. In another embodiment, the stem cell collection
1,000:1, about 100:1, about 10:1, about 1:1, about 1:10, about          composition additionally comprises an emulsifier, e.g., leci-
1:100, about 1:1,000 or about 1:10,000. Generally, about                thin. In another embodiment, said apoptosis inhibitor and said
1 x105 to about 1x108 hES-MSC per recipient kilogram, pref-             perfluorocarbon are between about 0° C. and about 25° C. at
erably about 1x106 to about 1 x107 hES-MSC recipient kilo-              the time of contacting the stem cells. In another more specific
gram can be administered to effect immunosuppression. In                embodiment, said apoptosis inhibitor and said perfluorocar-
various embodiments, a plurality of hES-MSC administered                bon are between about 2° C. and 10° C., or between about 2°
to an individual or subject comprises at least, about, or no            C. and about 5° C., at the time of contacting the stem cells. In
more than, 1x105, 3x105, 1x106, 3x106, 1x107, 3x107,                    another more specific embodiment, said contacting is per-
1x108, 3x108, 1x109, 3x109 hES-MSC, or more.                            formed during transport of said population of stem cells. In
[0200] The hES-MSC can also be administered with one or                 another more specific embodiment, said contacting is per-
more second types of stem cells, e.g., mesenchymal stem                 formed during freezing and thawing of said population of
cells from bone marrow. Such second stem cells can be                   stem cells.
administered to an individual with HES-MSC in a ratio of,               [0204] In certain embodiments, rock-inhibitor Y27632
e.g., about 1:10 to about 10:1.                                         may be added as a preservation helper. In certain embodi-
[0201] To facilitate contacting the hES-MSC and immune                  ments, the rock-inhibitor is added at concentration of 10 uM.
cells in vivo, the hES-MSC can be administered to the indi-             [0205] In another embodiment, the invention provides a
vidual by any route sufficient to bring the hES-MSC and                 method of preserving a population of hES-MSC comprising
immune cells into contact with each other. For example, the             contacting said population of stem cells with an inhibitor of
hES-MSC can be administered to the individual, e.g., intra-             apoptosis and an organ-preserving compound, wherein said
venously, intramuscularly, intraperitoneally, or directly into          inhibitor of apoptosis is present in an amount and for a time
an organ, e.g., pancreas. For in vivo administration, the hES-          sufficient to reduce or prevent apoptosis in the population of
MSC can be formulated as a pharmaceutical composition.                  stem cells, as compared to a population of stem cells not
[0202] The method of immunosuppression can addition-                    contacted with the inhibitor of apoptosis.
ally comprise the addition of one or more immunosuppressive             [0206] Typically, during hES-MSC collection, enrichment
agents, particularly in the in vivo context. In one embodiment,         and isolation, it is preferable to minimize or eliminate cell
the plurality of hES-MSC are contacted with the plurality of            stress due to hypoxia and mechanical stress. In another
immune cells in vivo in an individual, and a composition                embodiment of the method, therefore, a stem cell, or popula-
comprising an immunosuppressive agent is administered to                tion of stem cells, is exposed to a hypoxic condition during
the individual. Immunosuppressive agents are well-known in              collection, enrichment or isolation for less than six hours
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 84 of 101


US 2015/0203820 Al                                                                                                     Jul. 23, 2015
                                                                     19


during said preservation, wherein a hypoxic condition is a                specific embodiment, said hES-MSC are HLA-matched to a
concentration of oxygen that is less than normal blood oxy-               recipient of said stem cell population. In another specific
gen concentration. In a more specific embodiment, said popu-              embodiment, said combined stem cell population comprises
lation of stem cells is exposed to said hypoxic condition for             hES-MSC that are at least partially HLA-mismatched to a
less than two hours during said preservation. In another more             recipient of said stem cell population.
specific embodiment, said population of stem cells is exposed
to said hypoxic condition for less than one hour, or less than                          5.10 Pharmaceutical Preparations
thirty minutes, or is not exposed to a hypoxic condition,
                                                                          [0210] As discussed above, one embodiment of the present
during collection, enrichment or isolation. In another specific
                                                                          invention is a pharmaceutical composition comprising a
embodiment, said population of stem cells is not exposed to
                                                                          therapeutically effective amount of the human embryonic
shear stress during collection, enrichment or isolation.
                                                                          stem cell derived mesenchymal stem cells and a pharmaceu-
[0207] The HES-MSC can be cryopreserved, e.g., in cryo-
                                                                          tically acceptable carrier. The phrase "pharmaceutically
preservation medium in small containers, e.g., ampoules.
                                                                          acceptable" refers to molecular entities and compositions that
Suitable cryopreservation medium includes, but is not limited
                                                                          are physiologically tolerable and do not typically produce an
to, culture medium including, e.g., growth medium, or cell
                                                                          allergic or similar untoward reaction, such as gastric upset,
freezing medium, for example commercially available cell
                                                                          dizziness and the like, when administered to a human, and
freezing medium, e.g., C2695, C2639 or C6039 (Sigma).
                                                                          approved by a regulatory agency of the Federal or a state
Cryopreservation medium preferably comprises DMSO
                                                                          government or listed in the U.S. Pharmacopeia or other gen-
(dimethylsulfoxide), at a concentration of, e.g., about 5-10%
                                                                          erally recognized pharmacopeia for use in animals, and more
(v/v). Cryopreservation medium may comprise additional
                                                                          particularly in humans. "Carrier" refers to a diluent, adjuvant,
agents, for example, methylcellulose and/or glycerol. HES-
                                                                          excipient, or vehicle with which the therapeutic is adminis-
MSC are preferably cooled at about 1° C./min during cryo-
                                                                          tered. Such pharmaceutical carriers can be sterile liquids,
preservation. A preferred cryopreservation temperature is
                                                                          such as saline solutions in water and oils, including those of
about —80° C. to about —180° C., preferably about —125° C. to
                                                                          petroleum, animal, vegetable, or synthetic origin, such as
about —140° C. Cryopreserved cells can be transferred to
                                                                          peanut oil, soybean oil, mineral oil, sesame oil, and the like.
liquid nitrogen prior to thawing for use. In some embodi-
                                                                          A saline solution is a preferred carrier when the pharmaceu-
ments, for example, once the ampoules have reached about
                                                                          tical composition is administered intravenously. Saline solu-
—90° C., they are transferred to a liquid nitrogen storage area.
                                                                          tions and aqueous dextrose and glycerol solutions can also be
Cryopreserved cells preferably are thawed at a temperature of
                                                                          employed as liquid carriers, particularly for injectable solu-
about 25° C. to about 40° C., preferably to a temperature of
                                                                          tions. Suitable pharmaceutical excipients include starch, glu-
about 37° C.
                                                                          cose, lactose, sucrose, gelatin, malt, rice, flour, chalk, silica
                                                                          gel, sodium stearate, glycerol monostearate, talc, sodium
                5.9 Cryopreserved hES-MSC
                                                                          chloride, dried skim milk, glycerol, propylene, glycol, water,
[0208] The hES-MSC disclosed herein can be preserved,                     ethanol, and the like. The composition, if desired, can also
for example, cryopreserved for later use. Methods for cryo-               contain minor amounts of wetting or emulsifying agents, or
preservation of cells, such as stem cells, are well known in the          pH buffering agents.
art. hES-MSC can be prepared in a form that is easily admin-              [0211] These compositions can take the form of solutions,
istrable to an individual. For example, provided herein are               suspensions, emulsions, tablets, pills, capsules, powders, sus-
hES-MSC that are contained within a container that is suit-               tained-release formulations, cachets, troches, lozenges, dis-
able for medical use. Such a container can be, for example, a             persions, suppositories, ointments, cataplasms (poultices),
sterile plastic bag, flask, jar, or other container from which the        pastes, powders, dressings, creams, plasters, patches, aero-
hES-MSC can be easily dispensed. For example, the con-                    sols, gels, liquid dosage forms suitable for parenteral admin-
tainer can be a blood bag or other plastic, medically-accept-             istration to a patient, and sterile solids (e.g., crystalline or
able bag suitable for the intravenous administration of a liquid          amorphous solids) that can be reconstituted to provide liquid
to a recipient. The container is preferably one that allows for           dosage forms suitable for parenteral administration to a
cryopreservation of the combined stem cell population. Cryo-              patient. Such compositions will contain a therapeutically
preserved hES-MSC can comprise hES-MSC derived from a                     effective amount of the compound, preferably in purified
single donor, or from multiple donors. The hES-MSC can be                 form, together with a suitable form of carrier so as to provide
completely HLA-matched to an intended recipient, or par-                  the form for proper administration to the patient. The formu-
tially or completely HLA-mismatched.                                      lation should suit the mode of administration.
[0209] In another specific embodiment, the container is a                 [0212] Pharmaceutical compositions adapted for oral
bag, flask, or jar. In more specific embodiment, said bag is a            administration may be capsules, tablets, powders, granules,
sterile plastic bag. In a more specific embodiment, said bag is           solutions, syrups, suspensions (in non-aqueous or aqueous
suitable for, allows or facilitates intravenous administration            liquids), or emulsions. Tablets or hard gelatin capsules may
of the hES-MSC. The bag can comprise multiple lumens or                   comprise lactose, starch or derivatives thereof, magnesium
compartments that are interconnected to allow mixing of the               stearate, sodium saccharine, cellulose, magnesium carbon-
hES-MSC and one or more other solutions, e.g., a drug, prior              ate, stearic acid or salts thereof. Soft gelatin capsules may
to, or during, administration. In another specific embodiment,            comprise vegetable oils, waxes, fats, semi-solid, or liquid
the composition comprises one or more compounds that                      polyols. Solutions and syrups may comprise water, polyols,
facilitate cryopreservation of the combined stem cell popula-             and sugars. An active agent intended for oral administration
tion. In another specific embodiment, said hES-MSC is con-                may be coated with or admixed with a material that delays
tained within a physiologically-acceptable aqueous solution.              disintegration and/or absorption of the active agent in the
In a more specific embodiment, said physiologically-accept-               gastrointestinal tract. Thus, the sustained release may be
able aqueous solution is a 0.9% NaCl solution. In another                 achieved over many hours and if necessary, the active agent
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 85 of 101


US 2015/0203820 Al                                                                                                     Jul. 23, 2015
                                                                    20


can be protected from degradation within the stomach. Phar-              [0217] In certain embodiments, patients are treated with
maceutical compositions for oral administration may be for-              antipyretic and/or antihistamine (acetaminophen and diphen-
mulated to facilitate release of an active agent at a particular         hydramine hydrochloride) to minimize any possible DMSO
gastrointestinal location due to specific pH or enzymatic con-           infusion toxicity related to the cryopreserve component in the
ditions.                                                                 hES-MSC treatment.
[0213] Pharmaceutical compositions adapted for transder-
mal administration may be provided as discrete patches                             5.11 hES-MSC Conditioned Medium and
intended to remain in intimate contact with the epidermis of                                   Derivatives
the recipient over a prolonged period of time.
                                                                         [0218] The hES-MSC disclosed herein can be used to pro-
[0214] Pharmaceutical compositions adapted for nasal and                 duce conditioned medium, concentrate of conditioned
pulmonary administration may comprise solid carriers such                medium, cell lysate or other derivatives that is immunosup-
as powders which can be administered by rapid inhalation                 pressive, that is, medium comprising one or more biomol-
through the nose. Compositions for nasal administration may              ecules secreted or excreted by the stem cells that have a
comprise liquid carriers, such as sprays or drops. Alterna-              detectable immunosuppressive effect on a plurality of one or
tively, inhalation directly through into the lungs may be                more types of immune cells. In various embodiments, the
accomplished by inhalation deeply or installation through a              conditioned medium comprises medium in which hES-MSC
mouthpiece. These compositions may comprise aqueous or                   have grown for at least 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13,
oil solutions of the active ingredient. Compositions for inha-           14 or more days. In other embodiments, the conditioned
lation may be supplied in specially adapted devices including,           medium comprises medium in which hES-MSC have grown
but not limited to, pressurized aerosols, nebulizers or insuf-           to at least 30%, 40%, 50%, 60%, 70%, 80%, 90% confluence,
flators, which can be constructed so as to provide predeter-             or up to 100% confluence. Such conditioned medium can be
mined dosages of the active ingredient.                                  used to support the culture of a separate population of hES-
[0215] Pharmaceutical           compositions     adapted      for        MSC, or stem cells of another kind. In another embodiment,
parenteral administration include aqueous and non-aqueous                the conditioned medium comprises medium in which hES-
sterile injectable solutions or suspensions, which may contain           MSC have been differentiated into an adult cell type. In
anti-oxidants, buffers, bacteriostats, and solutes that render           another embodiment, the conditioned medium of the inven-
the compositions substantially isotonic with the blood of the            tion comprises medium in which hES-MSC and non-hES-
subject. Other components which may be present in such                   MSC have been cultured. In various embodiments, cell lysate
compositions include water, alcohols, polyols, glycerine, and            comprises of hES-MSC cells lysed by repeat frozen-thaw
vegetable oils. Compositions adapted for parental adminis-               procedures, or by hypertonic or hypotonic solution treatment.
tration may be presented in unit-dose or multi-dose contain-             [0219] Thus, in one embodiment, the invention provides a
ers, such as sealed ampules and vials, and may be stored in a            composition comprising culture medium, cell lysate and/or
freeze-dried (lyophilized) condition requiring only the addi-            other derivatives from a culture of hES-MSC, wherein said
tion of a sterile carrier, immediately prior to use. Extempora-          hES-MSC (a) adhere to a substrate; (b) express CD73,
neous injection solutions and suspensions may be prepared                CD105, CD90, CD29, CD44, CD146, IL-10, TGFb2, HGF,
from sterile powders, granules, and tablets. Suitable vehicles           but do not express IL-6, TNFa, IL-12 and/or RAGE. In
that can be used to provide parenteral dosage forms of the               another specific embodiment, the composition comprises an
invention are well known to those skilled in the art. Examples           anti-proliferative agent, e.g., an anti-MIP-la or anti-MIP-113
include: Water for Injection USP; aqueous vehicles such as               antibody.
Sodium Chloride Injection. Ringer's Injection, Dextrose
                                                                         [0220] Provided herein is a method of using hES-MSC as
Injection, Dextrose and Sodium Chloride Injection, and Lac-
                                                                         described herein as feeder cells for bone marrow hematopoi-
tated Ringer's Injection; water-miscible vehicles such as
                                                                         etic stem cell, peripheral blood hematopoietic stem cell and
ethyl alcohol, polyethylene glycol, and polypropylene glycol;
                                                                         umbilical-cord hematopoietic stem cell expansion. In certain
and non-aqueous vehicles such as corn oil, cottonseed oil,
                                                                         embodiments, the hES-MSC suitable for the disclosed
peanut oil, sesame oil, ethyl oleate, isopropyl myristate, and
                                                                         method express Stro-3, Stro-1, DL1, and/or Nestin. In certain
benzyl benzoate.
                                                                         embodiment, hES-MSC is co-cultured with bone marrow
[0216] Selection of a therapeutically effective dose will be             hematopoietic stem cells, peripheral blood hematopoietic
determined by the skilled artisan considering several factors            stem cells and/or umbilical-cord hematopoietic stem cells. In
which will be known to one of ordinary skill in the art. Such            certain embodiment, the hES-MSC is mesenchymal stromal
factors include the particular form of the inhibitor, and its            cells. Provided herein is a co-culture of hES-MSC as
pharmacokinetic parameters such as bioavailability, metabo-              described herein and bone marrow hematopoietic stem cells.
lism, and half-life, which will have been established during             Provided herein is a co-culture of hES-MSC as described
the usual development procedures typically employed in                   herein and umbilical-cord hematopoietic stem cells.
obtaining regulatory approval for a pharmaceutical com-
pound. Further factors in considering the dose include the                           5.12 Matrices Comprising hES-MSC
condition or disease to be treated or the benefit to be achieved
in a normal individual, the body mass of the patient, the route          [0221] The invention further comprises matrices, hydro-
of administration, whether the administration is acute or                gels, scaffolds, and the like that comprise hES-MSC. hES-
chronic, concomitant medications, and other factors well                 MSC can be seeded onto a natural matrix. e.g., a biomaterial.
known to affect the efficacy of administered pharmaceutical              In certain embodiments, the scaffold is obtained by 3D print-
agents. Thus, the precise dose should be decided according to            ing. The hES-MSC can be suspended in a hydrogel solution
the judgment of the person of skill in the art, and each                 suitable for, e.g., injection. Suitable hydrogels for such com-
patient's circumstances, and according to standard clinical              positions include self-assembling peptides, such as RAD16.
techniques.                                                              In one embodiment, a hydrogel solution comprising the cells
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 86 of 101


US 2015/0203820 Al                                                                                                        Jul. 23, 2015
                                                                        21


can be allowed to harden, for instance in a mold, to form a                  KOSSTM, and CORTOSS® (Orthovita, Malvern, Pa.). The
matrix having cells dispersed therein for implantation. hES-                 framework can be a mixture, blend or composite of natural
MSC in such a matrix can also be cultured so that the cells are              and/or synthetic materials.
mitotically expanded prior to implantation. The hydrogel is,                 [0226] In another embodiment, hES-MSC can be seeded
e.g., an organic polymer (natural or synthetic) that is cross-               onto, or contacted with, a felt, which can be, e.g., composed
linked via covalent, ionic, or hydrogen bonds to create a                    of a multifilament yarn made from a bioabsorbable material
three-dimensional open-lattice structure that entraps water                  such as PGA, PLA, PCL copolymers or blends, or hyaluronic
molecules to form a gel. Hydrogel-forming materials include                  acid.
polysaccharides such as alginate and salts thereof, peptides,                [0227] The hES-MSC can, in another embodiment, be
                                                                             seeded onto foam scaffolds that may be composite structures.
polyphosphazines, and polyacrylates, which are crosslinked
                                                                             Such foam scaffolds can be molded into a useful shape, such
ionically, or block polymers such as polyethylene oxide-
                                                                             as that of a portion of a specific structure in the body to be
polypropylene glycol block copolymers which are
                                                                             repaired, replaced or augmented. In some embodiments, the
crosslinked by temperature or pH, respectively. In some                      framework is treated, e.g., with 0.1M acetic acid followed by
embodiments, the hydrogel or matrix of the invention is bio-                 incubation in polylysine, PBS, and/or collagen, prior to
degradable. In some embodiments of the invention, the for-                   inoculation of the cells of the invention in order to enhance
mulation comprises an in situ polymerizable gel (see., e.g.,                 cell attachment. External surfaces of a matrix may be modi-
U.S. Patent Application Publication 2002/022676; Anseth et                   fied to improve the attachment or growth of cells and differ-
al., J. Control Release, 78(1-3):199-209 (2002); Wang et al.,                entiation of tissue, such as by plasma-coating the matrix, or
Biomaterials, 24(22):3969-80 (2003).                                         addition of one or more proteins (e.g., collagens, elastic
[0222] In some embodiments, the polymers are at least                        fibers, reticular fibers), glycoproteins, glycosaminoglycans
partially soluble in aqueous solutions, such as water, buffered              (e.g., heparin sulfate, chondroitin-4-sulfate, chondroitin-6-
salt solutions, or aqueous alcohol solutions, that have charged              sulfate, dermatan sulfate, keratin sulfate, etc.), a cellular
side groups, or a monovalent ionic salt thereof. Examples of                 matrix, and/or other materials such as, but not limited to,
polymers having acidic side groups that can be reacted with                  gelatin, alginates, agar, agarose, and plant gums, and the like.
cations are poly(phosphazenes), poly(acrylic acids), poly                    [0228] In some embodiments, the scaffold comprises, or is
(methacrylic acids), copolymers of acrylic acid and meth-                    treated with, materials that render it non-thrombogenic.
acrylic acid, poly(vinyl acetate), and sulfonated polymers,                  These treatments and materials may also promote and sustain
such as sulfonated polystyrene. Copolymers having acidic                     endothelial growth, migration, and extracellular matrix depo-
side groups formed by reaction of acrylic or methacrylic acid                sition. Examples of these materials and treatments include but
and vinyl ether monomers or polymers can also be used.                       are not limited to natural materials such as basement mem-
Examples of acidic groups are carboxylic acid groups, sul-                   brane proteins such as laminin and Type IV collagen, syn-
fonic acid groups, halogenated (preferably fluorinated) alco-                thetic materials such as EPTFE, and segmented polyuretha-
hol groups, phenolic OH groups, and acidic OH groups.                        neurea silicones, such as PURSPANTM (The Polymer
                                                                             Technology Group, Inc., Berkeley, Calif.). The scaffold can
[0223] The hES-MSC or co-cultures thereof can be seeded
                                                                             also comprise anti-thrombotic agents such as heparin; the
onto a three-dimensional framework or scaffold and
                                                                             scaffolds can also be treated to alter the surface charge (e.g.,
implanted in vivo. Such a framework can be implanted in
                                                                             coating with plasma) prior to seeding with stem cells.
combination with any one or more growth factors, cells, drugs
or other components that stimulate tissue formation or other-                                5.13 Immortalized hES-MSC
wise enhance or improve the practice of the invention.
                                                                             [0229] Mammalian hES-MSC can be conditionally immor-
[0224] Examples of scaffolds that can be used in the present
                                                                             talized by transfection with any suitable vector containing a
invention include nonwoven mats, porous foams, or self-
                                                                             growth-promoting gene, that is, a gene encoding a protein
assembling peptides. Nonwoven mats can be formed using
                                                                             that, under appropriate conditions, promotes growth of the
fibers comprised of a synthetic absorbable copolymer of gly-
                                                                             transfected cell, such that the production and/or activity of the
colic and lactic acids (e.g., PGA/PLA) (VICRYL, Ethicon.
                                                                             growth-promoting protein is regulatable by an external factor.
Inc., Somerville, N.J.). Foams, composed of, e.g., poly(s-
                                                                             In a preferred embodiment the growth-promoting gene is an
caprolactone)/poly(glycolic acid) (PCL/PGA) copolymer,
                                                                             oncogene such as, but not limited to, v-myc, N-myc, c-myc,
formed by processes such as freeze-drying, or lyophilization
                                                                             p53, SV40 large T antigen, polyoma large T antigen, E1a
(see, e.g., U.S. Pat. No. 6,355,699), can also be used as
                                                                             adenovirus or E7 protein of human papillomavirus.
scaffolds.
                                                                             [0230] External regulation of the growth-promoting pro-
[0225] The hES-MSC can also be seeded onto, or contacted                     tein can be achieved by placing the growth-promoting gene
with, a physiologically-acceptable ceramic material includ-                  under the control of an externally-regulatable promoter, e.g.,
ing, but not limited to, mono-, di-, tri-, alpha-tri-, beta-tri-, and        a promoter the activity of which can be controlled by, for
tetra-calcium phosphate, hydroxyapatite, fluoroapatites, cal-                example, modifying the temperature of the transfected cells
cium sulfates, calcium fluorides, calcium oxides, calcium                    or the composition of the medium in contact with the cells. In
carbonates, magnesium calcium phosphates, biologically                       one embodiment, a tetracycline (tet)-controlled gene expres-
active glasses such as BIOGLASS®, and mixtures thereof.                      sion system can be employed (see Gossen et al., Proc. Natl.
Porous biocompatible ceramic materials currently commer-                     Acad. Sci. USA 89:5547-5551, 1992; Hoshimaru et al., Proc.
cially available include SURGIBONE® (CanMedica Corp.,                        Natl. Acad. Sci. USA 93:1518-1523, 1996). In the absence of
Canada), ENDOBON® (Merck Biomaterial France, France),                        tet, a tet-controlled transactivator (tTA) within this vector
CEROS® (Mathys, AG, Bettlach, Switzerland), and miner-                       strongly activates transcription from ph.sub.CMV*-1, a mini-
alized collagen bone grafting products such as HEALOSTM                      mal promoter from human cytomegalovirus fused to tet
(DePuy, Inc., Raynham, Mass.) and VITOSS®, RHA-                              operator sequences. tTA is a fusion protein of the repressor
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 87 of 101


US 2015/0203820 Al                                                                                                    Jul. 23, 2015
                                                                     22


(tetR) of the transposon-10-derived tet resistance operon of                                       5.14 Assays
Escherichia coli and the acidic domain of VP 16 of herpes
                                                                          [0237] The hES-MSC can be used in assays to determine
simplex virus. Low, non-toxic concentrations of tet (e.g.,
                                                                          the influence of culture conditions, environmental factors,
0.01-1.0 ng/mL) almost completely abolish transactivation
                                                                          molecules (e.g., biomolecules, small inorganic molecules.
by tTA.
                                                                          Etc.) and the like on stem cell proliferation, expansion, and/or
[0231] In one embodiment, the vector further contains a
                                                                          differentiation, compared to hES-MSC not exposed to such
gene encoding a selectable marker, e.g., a protein that confers
                                                                          conditions.
drug resistance. The bacterial neomycin resistance gene
                                                                          [0238] In a preferred embodiment, the hES-MSC are
(nee) is one such marker that may be employed within the
                                                                          assayed for changes in proliferation, expansion or differen-
present invention. Cells carrying nee may be selected by
                                                                          tiation upon contact with a molecule. In one embodiment, for
means known to those of ordinary skill in the art, such as the
                                                                          example, the invention provides a method of identifying a
addition of, e.g., 100-200 ng/mL G418 to the growth medium.
                                                                          compound that modulates the proliferation of a plurality of
[0232] Transfection can be achieved by any of a variety of                hES-MSC, comprising contacting said plurality of hES-MSC
means known to those of ordinary skill in the art including,              with said compound under conditions that allow prolifera-
but not limited to, retroviral infection. In general, a cell cul-         tion, wherein if said compound causes a detectable change in
ture may be transfected by incubation with a mixture of                   proliferation of said hES-MSC compared to a plurality of
conditioned medium collected from the producer cell line for              hES-MSC not contacted with said compound, said compound
the vector and DMEM/F12 containing N2 supplements. For                    is identified as a compound that modulates proliferation of
example, a stem cell culture prepared as described above may              hES-MSC. In a specific embodiment, said compound is iden-
be infected after, e.g., five days in vitro by incubation for             tified as an inhibitor of proliferation. In another specific
about 20 hours in one volume of conditioned medium and two                embodiment, said compound is identified as an enhancer of
volumes of DMEM/F12 containing N2 supplements. Trans-                     proliferation.
fected cells carrying a selectable marker may then be selected
                                                                          [0239] In another embodiment, the invention provides a
as described above.
                                                                          method of identifying a compound that modulates the expan-
[0233] Following transfection, cultures are passaged onto a               sion of a plurality of hES-MSC, comprising contacting said
surface that permits proliferation, e.g., allows at least 30% of          plurality of hES-MSC with said compound under conditions
the cells to double in a 24 hour period. Preferably, the sub-             that allow expansion, wherein if said compound causes a
strate is a polyornithine/laminin substrate, consisting of tis-           detectable change in expansion of said plurality of hES-MSC
sue culture plastic coated with polyornithine (10 ng/mL) and/             compared to a plurality of hES-MSC not contacted with said
or laminin (10 ng/mL), a polylysine/laminin substrate or a                compound, said compound is identified as a compound that
surface treated with fibronectin. Cultures are then fed every             modulates expansion of hES-MSC. Ina specific embodiment,
3-4 days with growth medium, which may or may not be                      said compound is identified as an inhibitor of expansion. In
supplemented with one or more proliferation-enhancing fac-                another specific embodiment, said compound is identified as
tors. Proliferation-enhancing factors may be added to the                 an enhancer of expansion.
growth medium when cultures are less than 50% confluent.
                                                                          [0240] In another embodiment, disclosed herein is a
[0234] The conditionally-immortalized hES-MSC cell                        method of identifying a compound that modulates the differ-
lines can be passaged using standard techniques, such as by               entiation of a hES-MSC, comprising contacting said hES-
trypsinization, when 80-95% confluent. Up to approximately                MSC with said compound under conditions that allow differ-
the twentieth passage, it is, in some embodiments, beneficial             entiation, wherein if said compound causes a detectable
to maintain selection (by, for example, the addition of G418              change in differentiation of said hES-MSC compared to a
for cells containing a neomycin resistance gene). Cells may               hES-MSC not contacted with said compound, said compound
also be frozen in liquid nitrogen for long-term storage.                  is identified as a compound that modulates proliferation of
[0235] Clonal cell lines can be isolated from a condition-                hES-MSC. In a specific embodiment, said compound is iden-
ally-immortalized human hES-MSC cell line prepared as                     tified as an inhibitor of differentiation. In another specific
described above. In general, such clonal cell lines may be                embodiment, said compound is identified as an enhancer of
isolated using standard techniques, such as by limit dilution             differentiation.
or using cloning rings, and expanded. Clonal cell lines may
generally be fed and passaged as described above.                              5.15 Therapeutic Uses of Human Embryonic Stem
[0236] Conditionally-immortalized human hES-MSC cell                                 Cell Derived Mesenchymal Stem Cells
lines, which may, but need not, be clonal, may generally be
induced to differentiate by suppressing the production and/or             [0241] Mesenchymal stem cells derived from bone marrow
activity of the growth-promoting protein under culture con-               (BM-MSCs) have been used as cell based therapy for T cell
ditions that facilitate differentiation. For example, if the gene         related autoimmune diseases, including multiple sclerosis,
encoding the growth-promoting protein is under the control                but due to limited sources, unstable quality, and biosafety
of an externally-regulatable promoter, the conditions, e.g.,              concerns of using cells derived from adult tissue, their use as
temperature or composition of medium, may be modified to                  a therapeutic aid has been limited.
suppress transcription of the growth-promoting gene. For the              [0242] The novel method for generating mesenchymal
tetracycline-controlled gene expression system discussed                  stem cells from embryonic stem cells set forth herein, and the
above, differentiation can be achieved by the addition of                 novel hES-MSCs generated from this method, provide new
tetracycline to suppress transcription of the growth-promot-              therapies for T cell related autoimmune disease, in particular
ing gene. In general, 1 ng/mL tetracycline for 4-5 days is                multiple sclerosis.
sufficient to initiate differentiation. To promote further differ-        [0243] In certain embodiments, hES-MSC given to mice
entiation, additional agents may be included in the growth                pre-onset of EAE, remarkably attenuated the disease score of
medium.                                                                   these animals. The decrease in score was accompanied by
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 88 of 101


US 2015/0203820 Al                                                                                                    Jul. 23, 2015
                                                                     23


decreased demyelination, T cell infiltration, and microglial              [0255] Moreover, BM-MSCs had no effect at all on the
responses in the central nervous system, as well as repressed             score of EAE mice. These observations are surprising but
immune cell proliferation, and differentiation in vitro.                  consistent with previous reports that show only mild or neg-
[0244] In certain embodiments, a gradual decline of disease               ligible effects of human BM-MSCs on EAE mice (Gordon et
score in EAE mice after treatment with hES-MSC, post dis-                 al. 2008a; Zhang et al. 2005; Payne et al. 2012). A recent
ease onset, was observed. In certain embodiments, hES-MSC                 report showed a reduction of disease score of only 3.5 to 3.0
have both prophylactic and therapeutic effects on the disease.            of EAE mice treated with human umbilical-derived MSCs
[0245] In certain embodiment, the immunosuppressive                       (Liu et al. 2012). The results herein and those from these
activity of the hES-MSC account for the prophylactic effect               studies highlight the novelty and usefulness of the present
on the disease as irradiated hES-MSC, which are unlikely to               invention.
replace damage myelin, were also effective in reducing dis-               [0256] Additionally, BM-MSC and hES-MSC have very
ease score. In one embodiment, irradiation does not shorten               similar global transcriptional profiles, but differentially
the lifespan of the hES-MSC.                                              express some pro- and anti-inflammatory factors. Among
[0246] In certain embodiment, the therapeutic effects of the              them, IL-6 is expressed at a much higher level in BM-MSCs
hES-MSC involve immunosuppression as well as neural                       than hES-MSCs. Moreover, IL-6 expression in BM-MSCs
repair and regeneration.                                                  was double upon IFNy stimulation in vitro, whereas it
[0247] In certain embodiment, EAE mice treated with hES-                  remained low in the hES-MSCs.
MSC have much fewer inflammatory T cells in their central                 [0257] IL-6 is pleiotropic cytokine involved in crosstalk
nervous system and less T cells infiltrating the spinal cord.             between hematopoietic/immune cells and stromal cells,
The hES-MSC can reduce damage and symptoms caused by                      including the onset and resolution of inflammation. IL-6 can
inflammatory T cells, making them useful in therapy and                   promote the differentiation and functions of Th17 cells
prevention of all T cell related autoimmune diseases. hES-                (Dong, 2008). The levels of IL-6 are elevated in mononuclear
MSC also decreased demyelination.                                         cells in blood and in brain tissue from MS patients (Patanella
[0248] In certain embodiment, the therapeutic method                      et al., 2010), as well as in serum in aged humans (Sethe et al.,
comprises the use of hES-MSC in combination with other                    2006). Mice lacking IL-6 receptor a at the time of T cell
therapeutic agent. In certain embodiment, hES-MSC is                      priming are resistant to EAE (Leech et al., 2012). Site-spe-
administered in combination with anti-IL-6 antibody, anti-                cific production of IL-6 in the CNS can re-target and enhance
IL-12 antibody, and/or other immunosuppressive agents.                    the inflammatory response in EAE (Quintana et al., 2009),
[0249] As shown by the results herein, hES-MSCs from                      whereas IL-6-neutralizing antibody can reduce symptoms in
three different hES cell lines, given to mice pre-onset of EAE,           EAE mice (Gijbels et al., 1995). Thus, IL-6 has become a
remarkably attenuated the disease score of these animals. The             promising therapeutic target for treatment of MS.
decrease in score was accompanied by decreased demyelina-                 [0258] Immunomodulation of peripheral T cell activity and
tion, T cell infiltration, and microglial responses in the central        regeneration and repair of neural cells are widely recognized
nervous system, as well as repressed immune cell prolifera-               modes of MSC therapeutic action in MS and in EAE (Al
tion, and differentiation in vitro.                                       Jumah and Abumaree 2012; Auletta et al. 2012; Morando et
[0250] Additionally, a gradual decline of disease score in                al. (2012). However, long-term functional neuronal recovery
EAE mice after treatment with hES-MSCs, post disease                      and sustained disease remission in MS needs repair of the
onset, was observed. These data suggest that hES-MSCs have                damaged BBB and BSCB (Correale and Villa 2007; Minagar
both prophylactic and therapeutic effects on the disease.                 et al. 2012). In other words, MS is an inflammatory, neuro-
[0251] It is believed that the immunosuppressive activity of              degenerative, and vascular disease, and effective treatment
the hES-MSCs account for the prophylactic effect on the                   need to target all three component.
disease as irradiated hES-MSCs, which are unlikely to                     [0259] The characteristics of hES-MSCs make them
replace damage myelin, were also effective in reducing dis-               uniquely suited for the treatment of T cell related autoimmune
ease score. Moreover, irradiation does not shorten the                    diseases especially multiple sclerosis. In particular, the hES-
lifespan of the hES-MSCs.                                                 MSCs can decrease disease scores of EAE mice, but also
[0252] The therapeutic effect of the hES-MSCs may                         decrease demyelination and decrease Thl and Th17 prolif-
involve immunosuppression as well as neural repair and                    eration, and have low expression of IL-6. These latter two
regeneration.                                                             characteristics make them suitable to treat other T cell related
[0253] More surprisingly, EAE mice treated with hES-                      autoimmune diseases. Additionally, the ability of the hESC-
MSCs have much fewer inflammatory T cells in their central                MSCs to cross the blood-brain barrier and blood-spinal cord
nervous system and less T cells infiltrating the spinal cord,             barrier, makes them superior as a treatment and prevention of
showing that the hES-MSCs can reduce damage and symp-                     multiple sclerosis and other autoimmune diseases related to
toms caused by inflammatory T cells, making them useful in                the central nervous system.
therapy and prevention of all T cell related autoimmune dis-              [0260] Thus, one embodiment of the present invention is a
eases. HES-MSCs also decreased demyelination.                             method of treating or preventing a T cell related autoimmune
[0254] These favorable results are all in marked contrast to              disease comprising the steps of administering a therapeuti-
the results obtained with bone marrow-derived mesenchymal                 cally effective amount of solution, cell culture or pharmaceu-
stem cells. BM-MSCs only suppressed mouse T cell prolif-                  tical preparation comprising human embryonic-mesenchy-
eration in response to anti-CD3 stimuli at low doses in vitro,            mal stem cells as described in the preceding paragraphs, to the
and even enhanced Thl and Th17 cell infiltration into the                 subject in need thereof. The T cell related autoimmune dis-
CNS. Autoreactive effector CD4+ T cells have been associ-                 eases would include but are not limited to multiple sclerosis,
ated with the pathogenesis of several autoimmune disorders,               inflammatory bowel disease, Crohn's disease, graft versus
including multiple sclerosis, Crohn's disease, and rheuma-                host disease, systemic lupus erythematosus, and rheumatoid
toid arthritis. These CD4+ T cells include Thl and Th17 cells.            arthritis. The subject is preferably a mammal or avian, and
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 89 of 101


US 2015/0203820 Al                                                                                                   Jul. 23, 2015
                                                                   24


most preferably human. The solution, cell culture or pharma-            [0272] cerebral
ceutical preparation can comprise irradiated or non-irradiated          [0273] other
human embryonic-mesenchymal stem cells. The solution,                   [0274] The EDSS steps 1.0 to 4.5 refer to people with MS
cell culture or pharmaceutical preparation is preferably                who are fully ambulatory. EDSS steps 5.0 to 9.5 are defined
administered by injection.                                              by the impairment to ambulation. The clinical meaning of
[0261] Multiple sclerosis has been categorized into four                each possible result is the following:
subtypes: relapsing/remitting; secondary progressive; pri-                 [0275] 0.0: Normal Neurological Exam
mary progressive; and progressive relapsing. The relapsing/                [0276] 1.0: No disability, minimal signs on 1 FS
remitting subtype is characterized by unpredictable relapses               [0277] 1.5: No disability, minimal signs on 2 of 7 FS
followed by long periods of remission. Secondary progres-                  [0278] 2 0• Minimal disability in 1 of 7 FS
sive MS often happens in individuals who start with relaps-                [0279] 2 5• Minimal disability in 2 FS
ing/remitting MS and then have a progressive decline with not              [0280] 3.0: Moderate disability in 1 FS; or mild disability
periods of remission. Primary progressive MS describes a                      in 3-4 FS, though fully ambulatory
small number of individuals who never have remission after                 [0281] 3.5: Fully ambulatory but with moderate disabil-
their initial symptoms. Progressive relapsing, the least com-                 ity in 1 FS and mild disability in 1 or 2 FS; or moderate
mon subtype, have a steady neurologic decline, and suffer                     disability in 2 FS; or mild disability in 5 FS
from acute Thus, further embodiments of the present inven-                 [0282] 4.0: Fully ambulatory without aid, up and about
tion is a method for treating or preventing multiple sclerosis                12 hrs a day despite relatively severe disability. Able to
disease in a subject in need thereof, comprising the steps of                 walk without aid 500 meters
administering a therapeutically effective amount of solution,              [0283] 4.5: Fully ambulatory without aid, up and about
cell culture or pharmaceutical preparation comprising human                   much of day, able to work a full day, may otherwise have
embryonic-mesenchymal stem cells as described in the pre-                     some limitations of full activity or require minimal assis-
ceding paragraphs, to the subject in need thereof. The mul-                   tance. Relatively severe disability. Able to walk without
tiple sclerosis can be relapsing/remitting multiple sclerosis,                aid 300 meters
progressive/relapsing multiple sclerosis, primary multiple                 [0284] 5.0: Ambulatory without aid for about 200
sclerosis, or secondary multiple sclerosis. The subject is pref-              meters. Disability impairs full daily activities
erably a mammal, and most preferably human. The solution,                  [0285] 5.5: Ambulatory for 100 meters, disability pre-
cell culture or pharmaceutical preparation can comprise irra-                 cludes full daily activities
diated or non-irradiated human embryonic-mesenchymal                       [0286] 6.0: Intermittent or unilateral constant assistance
stem cells. The solution, cell culture or pharmaceutical prepa-               (cane, crutch or brace) required to walk 100 meters with
ration is preferably administered by injection.                               or without resting
[0262] Multiple sclerosis manifests in a variety of symptom                [0287] 6.5: Constant bilateral support (cane, crutch or
including sensory disturbance of the limbs, optic nerve dis-                  braces) required to walk 20 meters without resting
function, pryramidal tract dysfunction, bladder dysfunction,               [0288] 7.0: Unable to walk beyond 5 meters even with
bowel dysfunction, sexual dysfunction, ataxia and diplopia                    aid, essentially restricted to wheelchair, wheels self,
attacks.                                                                      transfers alone; active in wheelchair about 12 hours a
[0263] A further embodiment of the present invention is a                     day
method of treating multiple sclerosis comprising the steps of              [0289] 7.5: Unable to take more than a few steps,
administering a therapeutically effective amount of solution,                 restricted to wheelchair, may need aid to transfer, wheels
cell culture or pharmaceutical preparation comprising human                   self, but may require motorized chair for full day's
embryonic-mesenchymal stem cells as described in the pre-                     activities
ceding paragraphs, to the subject in need thereof, wherein                 [0290] 8.0: Essentially restricted to bed, chair, or wheel-
there is detectable improvement in at least one of these symp-                chair, but may be out of bed much of day; retains self
toms, at least two of these symptoms, at least four of these                  care functions, generally effective use of arms
symptoms, at least five of these symptoms or all of these                  [0291] 8.5: Essentially restricted to bed much of day,
symptoms.                                                                     some effective use of arms, retains some self care func-
[0264] The Expanded Disability Status Scale (EDSS) is the                     tions
most commonly used rating scale to evaluate the clinical                   [0292] 9.0: Helpless bed patient, can communicate and
status of patients with MS. It measures disability along sev-                 eat
eral separate parameters: strength, sensation, brainstem func-             [0293] 9.5: Unable to communicate effectively or cat/
tions (speech and swallowing), coordination, vision, cogni-                   swallow
tion, and bowel/bladder continence. It is a well-accepted                  [0294] 10.0: Death due to MS
measure of disability in MS and it is not particularly difficult        [0295] Therefore, a further embodiment of the present
or time consuming to perform. The EDSS quantities disabil-              invention is a method for treating multiple sclerosis disease in
ity in eight Functional Systems (FS) and allows neurologists            a subject in need thereof, comprising the steps of administer-
to assign a Functional System Score (FSS) in each of these              ing a therapeutically effective amount of solution, cell culture
(Kurtzke 1983).                                                         or pharmaceutical preparation comprising human embry-
[0265] Kurtzke defines functional systems as follows:                   onic-mesenchymal stem cells as described in the preceding
[0266] pyramidal                                                        paragraphs, to the subject in need thereof wherein the subject
[0267] cerebellar                                                       demonstrates improvement on the Expanded Disability Sta-
[0268] brainstem                                                        tus Scale of at least one point, and preferably at least two
[0269] sensory                                                          points.
[0270] bowel and bladder                                                [0296] There are other therapeutic agents that have been
[0271] visual                                                           used to treat and prevent multiple sclerosis, including but not
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 90 of 101


US 2015/0203820 Al                                                                                                    Jul. 23, 2015
                                                                     25


limited to, fingolimod, adrenocorticotropic hormone                       chymal stem cells may be in the form of a single cell, a cell
(ACTH), methylprednisolone, dexamethasone. IFNI3-1a.                      culture, a solution or a pharmaceutical preparation. Agents
IFN-1 b, gliatriamer acetate, cyclophosphamide, methotrex-                would include but are not limited to chemicals, drugs, pro-
ate, azathioprine, cladribine, cyclosporine, mitoxantrone, and            teins, DNA, RNA, antibodies, and small molecules.
sulfasalazine.                                                            [0300] A further embodiment of the present invention is a
[0297] Therefore, the method of the present invention can                 delivery system for the delivery of agents through the blood
further comprise the administration of one or more additional             brain barrier and/or the blood spinal cord barrier comprising
therapeutic agents to the subject, including but not limited to,          human embryonic -mesenchymal stem cells and an agent con-
fingolimod, adrenocorticotropic hormone (ACTH), methyl-                   jugated or attached to the human embryonic-mesenchymal
prednisolone, dexamethasone, IFNI3-1a, IFN-lb, gliatriamer                stem cells.
acetate, cyclophosphamide, methotrexate, azathioprine,                    [0301] The ability to permeate the blood-brain barrier and
cladribine, cyclosporine, mitoxantrone, and sulfasalazine. In             the blood-spinal cord barrier would be useful in the treatment
a further embodiment, these additional therapeutic agents can             and prevention of diseases including but not limited to neu-
be administered prior to, after, or at the same time as the               rological disorders, multiple sclerosis, cancer, Parkinson's
hES-MSCS, or can be conjugated or attached to the hES-                    Disease, Alzheimer's Disease, Huntington's Disease, menin-
MSCS, as described below.                                                 gitis, encephalitis, rabies, epilepsy, dementia, Lyme's Dis-
[0298] Other T cell or B cell related autoimmune diseases                 ease, stroke, and amyotrophic lateral sclerosis, as well as
that can be treated by the disclosed hES-MSC includes, but                brain and spinal cord injury. Thus, a subject in need thereof
are not limited to, Alopecia Areata, Anklosing Spondylitis,               would have a disease or be at risk for a disease in which the
Antiphospholipid Syndrome, Autoimmune Addison's Dis-                      blood-brain barrier and/or blood-spinal cord barrier is
ease. Autoimmune Hemolytic Anemia, Autoimmune Hepati-                     involved. Thus, a further embodiment of the present invention
tis, Autoimmune Inner Ear Disease, Autoimmune Lymphop-                    is a method of treating a disease or injury, by attaching or
roliferative      Syndrome          (ALPS),        Autoimmune             conjugating an agent to the human embryonic mesenchymal
Thrombocytopenic Purpura (ATP), Behcet's Disease,                         stem cells to form a complex, and administering the human
Bullous Pemphigoid. Cardiomyopathy. Celiac Sprue-Derma-                   embryonic mesenchymal stem cells-agent complex to a sub-
titis, Chronic Fatigue Syndrome Immune Deficiency Syn-                    ject in need thereof, wherein the human embryonic mesen-
drome (CFIDS), Chronic Inflammatory Demyelinating Poly-                   chymal stem cells cross the blood-brain and/or the blood-
neuropathy, Cicatricial Pemphigoid, Cold Agglutinin                       spinal cord barrier and deliver the agent to the central nervous
Disease, CREST Syndrome, Crohn's Disease, Dego' s Dis-                    system, and the agent is used as a treatment or prevention of
ease, Dermatomyositis. Dermatomyositis-Juvenile, Discoid                  the disease or injury of the subject. Since the hES-MSC have
Lupus, Essential Mixed Cryoglobulinemia, Fibromyalgia-Fi-                 strong ability migration and infiltration ability, it can also
bromyositis, Grave's Disease, Guillain-Barre, Hashimoto's                 been used as carrier for tumor/cancer therapy to carry anti-
Thyroiditis, Idiopathic Pulmonary Fibrosis, Idiopathic                    tumor drugs and proteins. The human embryonic mesenchy-
Thrombocytopenia Purpura (ITP), IgA Nephropathy, Insulin                  mal stem cells may be in the form of a single cell, a cell
Dependent Diabetes (Type I), Type II diabetes, Juvenile                   culture, a solution or a pharmaceutical preparation. Agents
Arthritis. Lupus, Meniere's Disease, Mixed connective Tis-                include, but are not limited to, chemicals, drugs, proteins,
sue Disease, Multiple Sclerosis, Myasthenia Gravis, Pemphi-               DNA, RNA, micro-RNA, non-coding RNA, antibodies,
gus Vulgaris. Pernicious Anemia, Polyarteritis Nodosa, Poly-              small molecules and/or nano particles.
chondritis,     Polyglancular     Syndromes,        Polymyalgia           [0302] Agents that are useful in the treatment and preven-
Rheumatica, Polymyositis and Dermatomyositis, Primary                     tion of diseases include, but not limited to, antibiotics, anti-
Agammaglobulinemia. Primary Biliary Cirrhosis, Psoriasis,                 viral agents, anti-fungal agents, steroids, chemotherapeutics,
Raynaud's Phenomenon, Reiter's Syndrome, Rheumatic                        anti-inflammatories, cytokines, and/or synthetic peptides.
Fever, Rheumatoid Arthritis, Sarcoidosis, Scleroderma,                    [0303] Proteins and peptides would also be useful to con-
Sjogren's Syndrome, Stiff-Man Syndrome, Takayasu Arteri-                  jugate to the hES-MSCs and would include erythropoietin
ti s, Temporal Arteritis/Giant Cell Arteritis, Ulcerative Colitis,        (EPO), anti-beta-amyloid peptides, tissue plasminogen acti-
Uveitis, Vasculitis, Vitiligo, Wegener's Granulomatosis. Or               vator (TPA), granulocyte colony stimulating factor (G-CSF),
any acute or chronic inflammation related to burning, surgery,            interferon (IFN), growth factor/hormone, anti-VEGF pep-
injury, and allergy.                                                      tides, anti-TNF peptides, NGF, HGF, IL-2, CX3CL1, GCV,
                                                                          CPT-11, cytosine deaminase, HSV-TK, carboxyesterase,
    5.16 Uses of Human Embryonic Stem Cell Derived                        oncolytic virus, TSP-1, TRAIL, FASL, IL-10, TGFb. Proteins
      Mesenchymal Stem Cells as Delivery Systems                          and peptides that bind to particular receptors and block these
[0299] Because it has been shown that the hES-MSCs of the                 receptors would also be useful and are contemplated by the
present invention have the unique ability to cross the blood-             current invention to be attached to the hES-MSCs.
brain barrier and the blood-spinal cord barrier, a further                [0304] DNA and RNA that coded for therapeutic proteins
embodiment of the present invention is a method of using                  and peptide would also be useful to conjugate to the hES-
human embryonic-mesenchymal stem cells for delivery of                    MSCs for delivery across the blood-brain barrier and/or the
agents through the blood brain barrier and/or the blood spinal            blood-spinal cord barrier.
cord barrier, by attaching or conjugating the agent to the                [0305] The terms "antibody" and "antibodies" include
human embryonic mesenchymal stem cells to form a com-                     polyclonal antibodies, monoclonal antibodies, humanized or
plex; and administering the human embryonic mesenchymal                   chimeric antibodies, single chain Fv antibody fragments, Fab
stem cells-agent complex to a subject, wherein the human                  fragments, and F(ab')2 fragments. Polyclonal antibodies are
embryonic mesenchymal stem cells cross the blood-brain                    heterogeneous populations of antibody molecules that are
and/or the blood-spinal cord barrier and deliver the agent to             specific for a particular antigen, while monoclonal antibodies
the central nervous system. The human embryonic mesen-                    are homogeneous populations of antibodies to a particular
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 91 of 101


US 2015/0203820 Al                                                                                                  Jul. 23, 2015
                                                                  26


epitope contained within an antigen. Monoclonal antibodies                                     6. EXAMPLES
are particularly useful in the present invention.
                                                                       [0313] The present invention may be better understood by
[0306] Any agent that would block the activation, expres-              reference to the following non-limiting examples, which are
sion and/or action of a molecule or the receptor of the mol-           presented in order to more fully illustrate the preferred
ecule in the pathway related to any disease in which crossing          embodiments of the invention. They should in no way be
the blood-brain barrier and/or blood-spinal cord barrier is            construed to limit the broad scope of the invention.
useful could be attached or conjugated to the hES-MSCs.
Such agents include but are not limited to chemicals, phy-                                     6.1 Example 1
tochemicals, pharmaceuticals, biologics, small organic mol-
ecules, antibodies, nucleic acids, peptides, and proteins.                             Derivation of hES-HB-MSCs
[0307] Inhibiting a pathway can also be effected using
                                                                       [0314] Using a method to derive HB from hESC via EB,
"decoy" molecules which mimic the region of a target mol-
                                                                       mesodermal cells (MP) were enriched and further differenti-
ecule in the pathway binds and activates. The activating mol-
                                                                       ated into either HB or MSC depending on subsequent culture
ecule would bind to the decoy instead of the target, and
                                                                       conditions.
activation could not occur.
[0308] Inhibition can also be effected by the use of a "domi-          Material and Methods
nantly interfering" molecule, or one in which the binding
portion of activating molecule is retained but the molecule is         [0315] Four hESC cell lines were used: H9 (derived from
truncated so that the activating domain is lacking. These              WiCell Research Institute) (Thomson et al. (1998)); CT2
molecules would bind to receptors in the pathway but be                (derived from University of Connecticut Stem Cell Core (Lin
unproductive and block the receptors from binding to the               et al. (2010)); MA09 (an FDA approved, clinical-grade cell
activating molecule. Such decoy molecules and dominantly               line derived at Advanced Cell Technology, Inc.) (Kliman-
interfering molecule can be manufactured by methods known              skaya et al. (2006)); and ES03-Envy (Envy, a GFP-labeled
in the art, and attached or conjugated to the hES-MSCs for             line, derived at ES International) (Costa et al. (2005)). These
delivery across the blood-brain or blood-spinal cord barrier.          cell lines were cultured on Matrigel (BD Biosciences, San
                                                                       Jose, Calif.) and cultured in TeSR1 medium, (Stem Cell Tech-
[0309] A method for delivery of agents across the blood-
                                                                       nologies, Vancouver, Canada), with or without adding of
brain and/or blood-spinal cord barrier is also useful for diag-
                                                                       0.05-0.2 µM of BIO (6-Bromoindirubin-3'-oxime (CAS
nostic agents, including but not limited to chemicals, antibod-
                                                                       667463-62-9)).
ies, peptides, proteins, DNA, and RNA. Such agents in order
                                                                       [0316] hESC cells were then differentiated into EB cells
to be useful for diagnosis must have a means of being visu-
                                                                       and then enriched for HB as previously described (Lu et al.
alized and/or quantified. Such means include, but are not
                                                                       (2008); Lu et al. (2007)). 50-80% confluent hEs cell on the
limited to, fluorescence, biomarkers, dyes, radioactive iso-
                                                                       Matrigel plate were digested with Dispase (1 mg/ml for 5 to
types labels and/or nanoparticles.
                                                                       10 minutes) and then washed with EB formation basal
[0310] Such a method for delivery and a delivery system                medium, HPGM (Lonza, Walksville, Md.), or STEMLINE
would be useful for the diagnosis neurological disorders,              I/II Hematopoietic Stell Cell Expansion Medium (Sigma, St.
multiple sclerosis, cancer, Parkinson's Disease, Alzheimer's           Louis, Mo.), or StemSpan H3000 (Stem Cell Technologies,
Disease, Huntington's Disease, meningitis, encephalitis,               Vancouver, Canada), or IMDM with 10% FBS, or DMEDM/
rabies, epilepsy, dementia, Lyme's Disease, stroke, and                F12 with 10% FBS. Cells were then cultured in EB formation
amyotrophic lateral sclerosis, as well as brain and spinal cord        medium supplemented with 50 ng/ml of VEGF (Peprotech)
injury. Thus, a further embodiment of the present invention is         and 50 ng/ml of BMP4 (Stemgent) for 48 hours on ultra-low
a method of diagnosing a disease or injury, by attaching or            plate at a density of about 2-3 million cells/ml. After 48 hours,
conjugating the agent to the human embryonic mesenchymal               half the culture medium was replaced with fresh EB forma-
stem cells to form a complex, and administering the human              tion medium plus 25-50 ng/ml of bFGF.
embryonic mesenchymal stem cells-agent complex to a sub-               [0317] Four days later, EB cells formed in the medium were
ject in which a disease is suspected, wherein the human                harvested and dissociated into single cells with TrypLE (In-
embryonic mesenchymal stem cells cross the blood-brain                 vitrogen) at 37° C. for 2-3 minutes. Cells were washed and
and/or the blood-spinal cord barrier and deliver the agent to          resuspended at 1-5 million cells/ml in EB formation basal
the central nervous system. The human embryonic-mesen-                 medium. The single cell suspension were then mixed at 1:10
chymal stem cells may be in the form of a single cell, a cell          with Hemangioblast Growth Medium (Stem Cell Technolo-
culture, a solution or a pharmaceutical preparation. Agents            gies, Vancouver, Canada).
would include but are not limited to chemicals, drugs, pro-            [0318] Blast cell growth medium (BGM) were made as
teins, DNA, RNA, antibodies, and small molecules.                      follows: To 100 ml Serum-free methylcellulose CFU medium
[0311] Agents, no matter the type and whether for treat-               (Stem Cell Technologies, H4436 or H4536), added with
ment, prevention, or diagnosis, can be conjugated or attached          VEGF, TPO and FLT3-Ligand to 50 ng/ml, bFGF to 20-50
to the hES-MSCs by any method known in the art including               ng/ml, 1 ml of EX-CYTE Growth Enhancement Media
but not limited to synthetic extracellular matrix, alginate-           Supplement and 1 ml of Pen/Strap, mix well.
poly-L-Lysine encapsulate and/or container.                            [0319] The mixtures were vortexed and plated onto
[0312] In certain embodiments, large scale production at               ultralow plates by passing through a 16 G needle and cultured
industrial level of manufacturing is included in the present           for 5-9 days at 37° C. with 5% CO2.
disclosure, methods of which are well known in the art. In             [0320] Single cells were then re-suspended in MSC
certain embodiment, the large scale production includes the            medium containing: 1) 10-20% FBS in alpha-MEM (Invitro-
use of Hyper-STACK 2D culture system and/or Microcarrier               gen) or 2) 10-20% KOSR alpha-MEM, 3) 10-20% FBS
3D bioreactor.                                                         DMEM high-glucose, or 4) 10-20% KOSR DMEM high-
          Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 92 of 101


US 2015/0203820 Al                                                                                                   Jul. 23, 2015
                                                                    27


glucose, and cultured on either Matrigel, gelatin, vitronectin,          times. Finally, the cells were examined under fluorescence
fibronectin, collagen I coated plates at a density of 100-5,000          microscope to capture both phase and fluorescent images.
cell/cm2. The medium was changed after 24 hours and                      [0329] The G-banded karyotyping of hES-MSC was con-
refreshed every 2-4 days. After 6-12 days the cells gradually            ducted through an outsourced service at University of Con-
differentiated into spindle-like cells similar to typical MSCs.          necticut-Storrs Laboratory.
[0321] Flow cytometry staining was used to characterize                  [0330] Microarray Analysis:
the hES-MSCs. Cells were washed and blocked with 2% BSA                  [0331] HumanHT-12 V3 expression BeadChip (illumina)
in PBS, and stained with antibodies for various cell surface             was used for microarray, genomic studio V2011.1 was used
markers CD31, CD34, CD29, CD73, CD90, CD105, CD44,                       for data analysis.
CD45, CD146, CD166, HLA-ABC, HLA-DR, HLA-G (BD
Bioscience or eBioscience) by following the manufacturers'               Results
instructions. Data were collected on FACS LSR II Flow                    [0332] The attached cells obtained 9-14 days later, fully
Cytometer using FACSDiva software (BD Bioscience). Post-                 differentiated into MSC-like cells with cell surface markers
acquisition analysis was performed with the FlowJo software              similar to those of BM-MSCs. The hES-MSCs expressed
(Treestar).                                                              high levels of CD73 (greater than 99%), CD90 (greater than
                                                                         90%), CD105 (greater than 90%), CD13 (greater than 85%),
Results
                                                                         CD29 (greater than 90%), CD54 (greater than 80%), CD44
[0322] On day 9 of the culture (HB-d9), characterization by              (greater than 99%), and CD166 (greater than 90%), but did
flow cytometry showed 68.1% CD45+ cells (hematopoietic                   not express non-MSC markers such as CD31, CD34 and
progenitors), 22-1% CD31+ cells (epithelial progenitors),                CD45 (FIGS. 2 and 3).
and 9.7% CD+ 73 cells (MSC). (FIG. 2)                                    [0333] The hES-MSCs could be cultured in vitro for up to
[0323] These cells were replated onto Matrigel-coated                    10 passages with normal karyotyping (FIG. 4) and sustained
plates containing MSC growth medium (Invitrogen). Twenty-                expressional profiles of their cell surface markers and differ-
four (24) hours later 5-10% of the cells attached to the plate           entiation capability.
and 9-14 days later, the attached cells fully differentiated into
MSC-like cells.                                                                                 6.3 Example 3
[0324] We have also found that by adding GSK3 inhibitor
BIO in the feeder free serum free hESC culture can signifi-                   hES-MSCs Attenuate the Disease Score of EAE
cantly increase the EB and HB formation efficiency. As                       Mice in Both Prophylactic and Therapeutic Modes
shown in FIG. 28, adding BIO in the mTesrl medium can                    [0334] Because it has been shown that BM-MSCs can
increase the size and yield of the EB culture afterwards. As             attenuate the disease progression of the mouse model of mul-
shown in FIG. 29, total EB number was increase 3 folds after             tiple sclerosis, experimental autoimmune encephalomyelitis
using BIO in the mTesrl Medium. As shown in FIG. 30, the                 (EAE), the hES-MSCs obtained in Example 1 were injected
percentage of CD45 cell differentiation which is an indicator            into mice with EAE to determine if they would have the same
of the hemangioblast differentiation efficiency is also tripled          effect.
with BIO treatment compare to traditional mTesrl Medium.
[0325] We also found that after differentiation, CD10                    Materials and Methods
expression level varies between different lines of hESC lines.
                                                                         [0335] The mouse EAE model was induced as previously
As shown in FIG. 31, hES-MSC from MA09 have extreme
                                                                         described (Stromnes and Goverman (2006)). C57BL/6 mice
high level of CD10, but hES-MSC from H9 and CT2 has
                                                                         were subcutaneously injected with a mixture of myelin oli-
lower CD10 expression similar to that from BM-MSC. This is
                                                                         godendrocyte glycoprotein peptide 35-55 (MOG88-88), Fre-
confirmed by both microarray and FACS staining.
                                                                         und's adjuvant, and pertussis toxin contained in the EAE
                                                                         Induction Kit (Hooke Laboratories, Inc, Mass. (Cat. #EK-
                        6.2 Example 2
                                                                         0114)) following the manufacturer's protocol and as
      Further Characterization of hES-HB-MSC Cells                       described in Ge et al. (2012).
                                                                         [0336] BM- or hES-MSC at 106 cells/mouse or PBS (a
[0326] The MSC cells obtained in Example 1 were further                  vehicle control) was intraperitoneal (i.p.) injected on day 6
analyzed using flow cytometry, immunofluorescence stain-                 (for pre-onset) or 18 (for post-onset) after the immunization.
ing, multi-lineage differentiation, and karyotyping.                     The disease score was monitored on the mice every day for up
                                                                         to 31 days.
Materials and Methods                                                    [0337] The disease scoring system is as follows:
                                                                         [0338] 0: no sign of disease;
[0327] Flow cytometry was performed as described in
                                                                         [0339] 1: loss of tone in the tail;
Example 1.
                                                                         [0340] 2: partial hind limb paralysis;
[0328] Immunofluorescence was performed by fixing cells
                                                                         [0341] 3: complete hind limb paralysis;
with 4% paraformaldehyde for 15 minutes, and incubating in
                                                                         [0342] 4: front limb paralysis; and
PBS containing 0.2% Triton X-100 (for permeabilization)
                                                                         [0343] 5: moribund
and 5% goat serum (for blocking). PBS containing 5% goat
serum was used to dilute the primary antibodies. The cells
                                                                         (Stromnes and Goverman, 2006).
were incubated with the primary antibodies at 4° C. over-
night, followed by washing with PBS for three times. After-
                                                                         Results
wards, the cells were incubated with fluorochrome-conju-
gated, corresponding secondary antibodies at room                        [0344] As shown in FIG. 5, the hES-MSCs derived from the
temperature for 30 minutes and washed with PBS for three                 three hESC lines CT2, MA09, and H9 all significantly attenu-
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 93 of 101


US 2015/0203820 Al                                                                                                  Jul. 23, 2015
                                                                   28


ated the daily disease scores, as well as the cumulative and            Results
maximal disease scores (FIG. 6) when injected at 6 days or
                                                                        [0350] Because of the important role of immune-suppres-
pre-onset of disease, showing a prophylactic effect of the
                                                                        sive regulatory T cells (T„g cells detected as Foxp3- and
hES-MSCs. Mice injected with CT2 hEScs manifested high
                                                                        CD25+) in suppressing inflammation (Hansen et al., (2008)),
disease scores similar to those seen with control mice receiv-
                                                                        the ratio of T„g cells among T cells infiltrated into the CNS of
ing PBS injection, ruling out the possibility of the effect of
                                                                        EAE mice treated with hES-MSCs and PBS was looked at,
human xenograft in mice.
                                                                        and it was found that the ratio did not increase (FIG. 8),
[0345] As shown in FIG. 7, treatment with hES-MSCs also                 suggesting that T„g cells may not be responsible for the
had a therapeutic effect on mice that have already developed            immunosuppressive effect of hES-MSCs. This is similar to
EAE. When injected with hES-MSCs on day 18 post-immu-                   the case with BM-MSC on EAE mice reported by others
nization (right after the disease score peaked in mice), there          (Zappia et al. (2005)).
was a gradual decline of the disease score in hES-MSC-                  [0351] Much fewer CD4+, CD8+, Thl, and Th17 T cells
treated EAE mice with an average score of 1.67 at day 30,               were isolated from the CNS in the hES-MSC treat group than
whereas the PBS-treated EAE mice had an average score of                in the control PBS or hESC-injected group (FIG. 9), suggest-
2.8 at the same day.                                                    ing that reduction of these inflammatory T cells may contrib-
                                                                        ute to the improvement of the symptoms of the hES-MSC-
                        6.4 Example 4                                   treated mice.
                                                                        [0352] Pathologically, the microglial response in the spinal
     Characterization of the Central Nervous System of                  cord was analyzed which is a sign of inflammatory responses
          the EAE Mice Treated with hES-MSCs                            in the CNS, via immunostaining for ionized calcium-binding
                                                                        adapter molecule 1 (IBA1). IBA1 staining was diminished in
[0346] The central nervous system of the EAE mice treated               the spinal cord of EAE mice treated with hES-MSC com-
with hES-MSCs was further analyzed.                                     pared to those treated with PBS (FIG. 10). Consistently, infil-
                                                                        tration of total T cells (stained as CD3+ cells) into the spinal
Materials and Methods                                                   cord was decreased in the hES-MSC-treated EAE mice com-
                                                                        pared to the control (FIG. 10).
[0347] Flow cytometry as described in Example 1 was                     [0353] Immunostaining for myelin-binding protein (MBP)
used. Regulatory T cells in the CNS of EAE mice treated with            in the spinal cord indicates that demyelination was reduced in
PBS or hES-MSC (CT2) as described in Example 3 were                     the mice treated with hES-MSC compared to the mice treated
analyzed day 15 post-immunization through FACS analysis                 with PBS (FIGS. 10 and 11), suggesting that hES-MSC can
of Foxp3 and CD25.                                                      prevent and/or repair the inflammatory damages in the CNS
[0348] Thl and Th17 cells from the CNS of EAE mice                      and preserve the integrity of myelin.
treated with PBS or hES-MSC (CT2) as described in
Example 3 were analyzed day 15 post-immunization by per-                                        6.5 Example 5
fusing EAE mice with 20 ml cold PBS through the left ven-
tricle. The brain and spinal cord were harvested from the                  hES-MSCs have a Stronger Anti-EAE Effect In Vivo
perfused mice and ground into small pieces. After digestion                    than BM-MSC with Evidence in the CNS
with collagenase (1 ma ml) and Dispase (1 mg/ml) for 20                 [0354] BM-MSC have long been used to treat autoimmune
minutes. at 37° C., the tissues were further ground and passed          diseases including MS on various animal models and clinical
through a 40-1,tm strainer. Cells were washed and re-sus-               trials, however the outcomes include mixed or improved
pended in 4 ml of 40% Percoll and overlaid onto 5 ml of 70%             response or no change (Tyndall, 2011). Thus, hES-MSCs
Percoll. After centrifugation at 2,000 rpm for 20 minutes cells         were compared with human BM-MSC in this study.
in the inter layer were collected. The cells were then stimu-
lated with 12-0 tetradecanoylphorbol-13-acetate (TPA) at 50             Materials and Methods
ng/ml (Sigma, Mo.) and ionomycin at 500 ng/ml (Sigma,
Mo.) in the presence of GolgiStop (BD Bioscience, Calif.) for           [0355] EAE mice as described in Example 3 were i.p.
6 hours. Cells were then immunostained with anti-CD4-FITC               injected at 6 days post-immunization with PBS, BM-MSC or
and anti-CD8-Pacific Blue antibodies (BD Bioscience,                    hES-MSCs (MA09) (106 cells from three different sources).
Calif.). For intracellular staining of IFNy and IL-17A, cells           Disease scoring was done as described in Example 3.
were fixed and permeabilized using an intracellular staining            [0356] Flow cytometry of T cells infiltrated into the CNS of
kit (BD Bioscience, Calif.) by following the manufacturer's             the BM-MSC-treated mice was performed as described in
instructions.                                                           Example 4.

                                                                        Results
Pathology of the Spinal Cord
                                                                        [0357] Five of human BM-MSC line obtained from six
[0349] Paraffin-embedded spinal cord cross sections were                sources failed to attenuate the disease score of EAE mice,
immunostained for CD3 (Biocare Medical) or Ibal (Waco)                  only one BM-MSC line mildly decreased disease score by 1,
and counterstained with anti-MBP (Millipore) or fluoromy-               in marked contrast to hES-MSC that again showed strong
elin as previously described (Crocker et al., 2006; Moore et            anti-EAE effect (FIG. 12).
al., 2011). Quantification of anti-MBP staining intensity was           [0358] T cells infiltrated in the CNS of the EAE mice
performed on the lateral columns of sections from the tho-              treated with BM-MSC were found to have higher ratio of
racic and lumbar levels of spinal cord samples using ImagcJ             Th17 cells among the CD4 T cells in the CNS than both the
(NIH) (Crocker et al., 2006). At least three regions of interest        PBS- and hES-MS-treated mice, suggesting that BM-MSC
were analyzed for each subject in each treatment group.                 can increase the differentiation of Th17 cells. After calculat-
          Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 94 of 101


US 2015/0203820 Al                                                                                                     Jul. 23, 2015
                                                                     29


ing the total infiltrated cell Thl and Th17 cells, it was found           dilution in their daughter cells, for 10 minutes at 37° C.
that all 3 lines of BM-MSC significantly increased the total              10,000 hES-MSCs or BM-MSCs were mixed with 100,000
Th17 cell number (FIG. 13), and only one line can increase                lymphocytes per well in a 96-well plate, and the cells were
the total Thl cell number, whereas hES-MSCs can decrease                  stimulated for proliferation with plate-bound anti-CD3 (at
both Thl and Th17 as shown in Example 4. Together, this                   0.2, 0.6, 2, and 6 µg/ml) and soluble anti-CD28 antibodies
indicates that BMMSC not only failed to inhibit the Thl                   (eBioscience, Calif.). The cells were collected 3 days after the
response, rather they increased the Th17 response in vivo.                stimulation, followed by FACS staining with anti-CD4 and
Reduced fluoromyelin staining of MBP in the spinal cord                   anti-CD8 antibodies (BD Bioscience, Calif.). CFSE dilution
confirms severe damage in both PBS-treated and BM-MSC-                    was gated on CD4 and CD8. T cells, respectively.
treated mice while MBP levels were preserved in hES-MSC-
treated mice (FIG. 14). The damaged regions in BM-MSC-                    Results
treated mice also show a high number of DAPI positive cells.
suggesting more inflammatory cells infiltration.                          [0366] Using the in vitro assay with mouse lymphocytes, it
                                                                          was found hES-MSCs inhibited the proliferation of mouse
                         6.6 Example 6                                    CD4+ and CD8+ T cells when stimulated with anti-CD3
                                                                          antibody at 0.2 and 0.6 µg/ml, or 0.1 and 0.3 µg/ml, whereas
     hES-MSCs can Enter the Central Nervous System                        BM-MSC only did so when the T cells were stimulated with
                                                                          anti-CD3 antibody at low doses, i.e., 0.2 or 0.1 µg/ml (FIG.
[0359] Since it is well known that the BBB and BSCB play                  16, 17)'
a key role in preventing T cells from entry into the CNS, it was
asked whether they also play a role in the entry of MSC into                                      6.8 Example 7
the CNS.
                                                                               Further Evidence that hES-MSCs have a Stronger
Materials and Methods                                                            Inhibition on T Cell Functions In Vitro than
[0360] MSC differentiated from the hESC line Envy that                                            BM-MSC
constitutively expressed GFP (Costa et al., 2005) as described
in Example 1, and GFP-labeled human BM-MSC (Hofstetter                    Materials and Methods
et al., 2002), were injected them into EAE mice 6 days post-
                                                                          [0367] In vitro assays of ThO, Thl, and Th17 cells were
immunization, and isolated the spinal cord 14 days post-
                                                                          performed using naive mouse CD4+ T cells isolated from
immunization.
                                                                          mouse spleen and purified with the Naive CD4 T Cell Enrich-
[0361] The migration of the GFP+ cells through the BSCB
                                                                          ment kit (Stem Cell Technologies, Canada). The cells were
in the spinal cord
                                                                          incubated with hES-MSCs or BM-MSCs at a ratio of 1:10 or
                                                                          PBS, followed by Thl or Th17 differentiation for 5 days.
Results
                                                                          Cells activated with anti-CD3 and anti-CD28 antibodies
[0362] As shown in FIG. 18, only the GFP+ hES-MSC                         under the following conditions. Cells were cultured with
migrated out of the vessels and aggregated in the parenchyma              rhIL-2 at 5 ng/ml to remain in Th0 status, with anti-mIL-4 at
of the perivascular regions of the spinal cord, however, the              5 lig/m1(eBioscience, Calif.), rhIL-2 at 5 ng/ml (eBioscience,
GFP+ BM-MSC were observed only inside the vessels.                        Calif.), and mIL-12 at 10 ng/ml (PeproTech, Calif.) for Thl
Parenchymal inflamed venules showed "parenchymal local-                   differentiation, and with anti-mIL4 at 5 ug/ml, anti-mIFNy at
ization" of GFP+hES-MSC, indicating they have extrava-                    5 ug/ml (eBioscience, Calif.), rmIL-6 at 20 ng/ml (Peprotech,
sated. In contrast, the mice with GFP+BM-MSC appeared to                  Calif.), and rhTGF-I31 at 1 ng/ml (Peprotech, Calif.) for Th17
have more "lumen restricted" GFP immunoreactivity (FIG.                   differentiation. For some groups, anti-hIL-6 antibody (eBio-
15A). Inflamed meningeal venules also displayed limited                   science, Calif.) was added to culture at 10 lig/ml. Naive CD4
extravasation of GFP+BM-MSCs when compared to mice                        T cells were plated at 0.3x106 cells/well in 24-well plates.
receiving GFP+hES-MSCs (FIG. 15B).                                        hES- or BM-MSC that had been mitotically-arrested through
[0363] These results indicate that only hES-MSC, and not                  irradiation at 80 Gy, were added 1 hour after. IFNy+ and
BM-MSC, have the requisite mechanism to exit the vessels                  IL-17+ cells were determined via FACS.
efficiently to fulfill enter into the CNS.
                                                                          Results
                         6.7 Example 6
                                                                          [0368] Since EAE mice treated with BM-MSC had more
      hES-MSCs have a Stronger Inhibition on T Cell                       Th17 and Thl cell infiltration into the CNS than mice treated
           Functions In Vitro than BM-MSC                                 with hES-MSC as shown in Example 5 and FIG. 18, these T
                                                                          cell subtypes were examined in vitro in the presence or
[0364] hEs-MSCs and BM-MSCs were compared for their                       absence of hES- and BM-MSC.
ability to inhibit T cell proliferation in vitro following antigen        [0369] As shown in FIG. 18, under the Thl condition, dif-
stimulation.                                                              ferentiation into Thl (IFNy+/IL-17—) cells was reduced by
                                                                          hES-MSC (from 29.7% to 18.0%) In comparison, all BM-
Materials and Methods                                                     MSC lines either did not change or increased the Thl differ-
[0365] The in vitro assay for T cell proliferation was per-               entiation (26.9% to 43.6%).
formed using lymphocytes isolated from mouse peripheral                   [0370] Under the Th17 differentiation condition, both hES-
lymph nodes. These lymphocytes were labeled with 51AM of                  and BM-MSC reduced the ratio of Th17 cells, but surpris-
and labeled the cells with carboxyfluorescein succinimidyl                ingly all BM-MSC lines significantly increased the percent-
ester (CF SE) to track their proliferation by monitoring CFSE             age of IFNy producing cells but not hES-MSCs.
          Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 95 of 101


US 2015/0203820 Al                                                                                                 Jul. 23, 2015
                                                                 30


[0371] These results suggest that BM-MSC cannot inhibit               and Ransohoff, 2003), VCAM1 (Chaudhary et al., 2006),
Thl differentiation under the Thl condition, and increased            RAGE (Cuccurullo et al., 2006), and MMP2 (Cunnea et al.,
Thl cell differentiation under Th17 conditions. These com-            2010) have lower expression in hES-MSC than BM-MSC
plex effects of BM-MSC in vitro may mirror the mixed effects          (FIGS. 39A-B). The lower ratio of IL-6+ cells among hES-
on EAE mice.                                                          MSC than BM-MSC was confirmed via FACS (FIGS. 37A-
                                                                      D).
                       6.9 Example 8                                  [0379] Provided herein is a method of identification of
                                                                      highly immunosuppressive hES-MSC., The method com-
          Gene Expression Profiles of hES-MSCs and                    prises using expression level of IL-6 and other factors men-
                         BM-MSCs                                      tioned above as indicator of the quality of hES-MSC and
[0372] Microarray analysis was performed to compare the               BM-MSC. Provided herein are hES-MSC that has <5% of
gene expression profile of hES-MSCs and BM-MSCs.                      IL-6 positive cells, and low level of IL12, TNFa, RAGE, and
                                                                      other pro-inflammatory cytokines. Also preferred are hES-
Materials and Methods                                                 MSC that express high level of TGF 13 and IL-10. Provided
                                                                      herein are methods of producing hES-MSC that has improved
[0373] For microarray analysis RNA of hES-MSC at pas-
                                                                      immunosuppressive function by genetic and epigenetic
sages 2-4 or BM-MSC at passage 3 were harvested with
                                                                      modification of differentially expressed factors.
Trizol (Invitrogen, Calif.) following manufacturer's protocol.
The HumanHT-12 v4 Expression BeadChip (Illumina, San
                                                                                             6.10 Example 9
Diego, Calif.) was used to analyze the gene expression profile
of the cells. Data were analyzed using Genome Studio V2011.
                                                                           BM-MSCS, but not hES-MSCS, Produce IL-6 in
1. Two BM-MSC cell lines from different sources were used,
                                                                                 Response to Activated T Cells
and two hES-MSC cell lines, derived from H9 and MA09,
were used.                                                            [0380] Since it is known that MSCs can be activated to
[0374] Flow cytometry analysis was performed as in                    produce cytokines including IL-6 following stimulation with
Example 1.                                                            factors such as IFNy (Ryan et al., 2007), TNFa (English et al.,
                                                                      2007), Toll-like receptor, CCL2, CCLS, and IL-8 in vitro and
Results                                                               in vi v (Anton et al., 2012; Waterman et al., 2010), it is
[0375] As shown in Table 1, the overall expressional pro-             possible that MSC may produce more IL-6 in contact with
files of the hES- and BMMSC samples were quite similar                activated T cells as the latter produces high levels of IFNy and
with most of the anti-inflammatory genes such as HLA-G,               TNFa.
HGF, COX2, ID01, and iNOS expressed at similar levels
among these samples.                                                  Materials and Methods

                                                                      [0381] BM-MSCs and hES-MSCs (MA09) were co-cul-
                             TABLE 1
                                                                      tured with human PBMC for four days. 2.5 ng/ml of PHA was
                   hES-MSC               BM-MSC                       added for the final two days to stimulate T cells. The PBMC
                                                                      was washed away and quantitative RT-PCR was performed as
HLA-G                359.1       ±52.2    726.8      ±51.3
HGF                  116.9       ±19.1    115        ±15.3
                                                                      described in Example 8.
PTGS1/COX-1          136.3        ±2.5    122.7      ±14.1            [0382] MSCs were stimulated with directly with IFNy in
PTGS2/C0X-2          346.2      ±244.5    964       ±674.7            vitro at 10 ng/ml for 12 hours, and IL-6 was detected via
IDO1                 121.9        ±3.9    127.6      ±12.4
IDO2                 119.9        ±1.8    123.5       ±5.46
                                                                      intracellular FACs.
NOS2/iNOS            129.5       ±10.6    154.2      ±11.2
                                                                      Results
[0376] However, a small set of genes was expressed differ-            [0383] When the MSC were directly stimulated with IFNy
entially between the hES-MSCs and BM-MSCs samples.                    in vitro, it was found that IL-6 expression in hES-MSC did not
These genes include those encoding anti-inflammatory fac-             change following the stimulation, but IL-6 level was almost
tors, such as IL-10 and TGFI3 and pro-inflammatory factors,           doubled in IFNy-treated BM-MSC compared to the already
such as, CCL2, MMP2, RAGE, IFNyR1, IFNyR2, IL-12,                     high, basal level in the untreated BM-MSC (FIG. 21). These
IL-6, and VCAM1 (FIG. 19).                                            results suggest that BM-MSC, but not hES-MSC, produce
[0377] The higher expression of IL-6 in BM-MSC than                   high levels of the proinflammatory factor IL-6 in response to
hES-MSC was confirmed through intracellular staining fol-             activated T cells or inflammatory cytokines, probably another
lowed by flow cytometry analysis as shown in FIG. 20.                 reason for the compromised immunosuppressive effect of
[0378] Based on microarray analysis, the transcriptomic               BM-MSC.
profiles of hES-MSC and BM-MSC are quite similar. Only a
small set of genes has differential expression between hES-                                 6.11 Example 10
MSC and BM-MSC. These genes include those encoding
potential anti-inflammatory factors (AIFs) and pro-inflam-                Further Evidence of IL-6 Involvement in BM-MSC
matory factors (PIFs) (FIGS. 35 and 36). Among the differ-                            Limited Ant-EAE Activity
entially expressed factors in hES-MSC and BM-MSC, some
potential AIFs such as IL-10 (Dai et al., 2012) and TGF 132           [0384] Since IL-6 enhances T cell proliferation and sur-
(Huss et al., 2011) are expressed higher in hES-MSC than              vival, and promote T17 cell differentiation (Dienz and Rin-
BM-MSC, whereas some potential PIFs such as IL-6 (Quin-               con, 2009; Rochman et al., 2005), elevated IL-6 production in
tana et al., 2009), IL-12 (Becher et al., 2002), CCL2 (Mahad          BM-MSC may counteract the otherwise anti-inflammatory
          Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 96 of 101


US 2015/0203820 Al                                                                                                   Jul. 23, 2015
                                                                   31


activity of BM-MSC. To test this possibility, we used a neu-            of hES-MSC was increased to 2x106 cells/mouse, similar
tralizing anti-human IL-6 antibody in the following experi-             anti-EAE effects were seen between the irradiated and non-
ments.                                                                  irradiated hES-MSC groups

Materials and Methods                                                                          6.13 Example 12

[0385] The in vitro assay for T cell proliferation described                Irradiated hES-MSCs have a Similar Lifespan to the
in Example 6 was used. CFSE labeled mouse lymphocytes                                         Host Mice
were incubated with and without BM-MSCs at a ratio of 1:10
                                                                        [0392] The lifespan of irradiated hES-MSCs in vivo was
and anti-human IL-6 antibody at 10 µg/ml. Ratios of divided
                                                                        established to determine if the irradiated cells would be effec-
CD4+ and CD8+ T cell was determined CF SE FACS staining.
                                                                        tive on EAE.
[0386] hES-MSCs or BM-MSCs were incubated with
mouse naïve CD4+ T cells at a ratio of 1:10 under the Th17              Materials and Methods
differentiation conditions for five days as described in
Example 7 in the presence or absence of 10 g/ml of anti-                [0393] To determine the lifespan of irradiated hES-MSC in
human IL-6 antibody. IFNy+ and IL-17+ cells were deter-                 vivo, CT2 hESC clone with constitutive expression of
mined via intracellular FACS staining after TPA/ionomycin               luciferase in the hESC and their progeny was produced by
stimulation.                                                            transducing the cells with a lentiviral vector (Pomper et al.
                                                                        (2009)). The cells were stained with an anti-luciferase anti-
Results                                                                 body (green) and counterstained for nuclei with DAPI (blue)
                                                                        and were confirmed to be luciferase positive by fluorescence
[0387] As shown in FIG. 22, 23, the anti-IL-6 antibody                  microscopy (FIG. 26).
enhanced the suppressive effect of different BM-MSC lines               [0394] The luciferase-expressing hES-MSCs (CT2) were
on mouse CD8+ T cell (FIG. 22, 23B) and CD4+ T cell (FIG.               irradiated, and non-irradiated and irradiated cells were
23A) proliferation in response to anti-CD3 antibody stimula-            injected into EAE mice as described in Example 2.
tion.
[0388] Next, it was examined whether adding anti-human-                 Results
IL-6 antibody can reverse the increase of Thl differentiation           [0395] It was found that the irradiated hES-MSC had about
in vitro. Under a special differentiation condition, so called          the same lifespan of 7-10 days in the mice post-injection as
Th0 condition, no mouse cytokine was added but anti-mouse-              the non-irradiated hES-MSC (FIG. 27). These data, together,
IFNy and anti-mouse-IL-4 was used to inhibit both Thl and               suggest that irradiated hES-MSC have similar lifespan in the
Th2 differentiation. Co-cultured mouse T cells with human               host mice and can achieve similar efficacy on EAE (when
BM-MSC but not hES-MSC can dramatically increase the                    given at doubled dose) compared to non-irradiated hES-
Thl differentiation of mouse T cells. Using anti-human-IL-6             MSC, and no tumors are found in the immune-compromised
antibody can reduce this effect by 30%-50% (FIG. 24). Thus,             mice transplanted with hES-MSCs.
the elevated IL-6 production in BM-MSC may be at least
partially responsible for the compromised anti-inflammatory                                    6.14 Example 14
and anti-EAE effects of the cells, in sharp contrast to hES-
MSC which have low IL-6 production.                                               Qualification Procedure for Clinical Grade
                                                                                                  hES-MSCs
                      6.12 Example 11
                                                                        [0396] hES-MSC are characterized through multi-color
                                                                        flow cytometry analyses and immunofluorescence staining
       Irradiated hES-MSCs Retain Anti-EAE Effect                       using six groups of markers: (1) MSC-specific markers (set
[0389] Mouse embryonic fibroblasts (MEF) are routinely                  1): CD73, CD90, CD105, CD146, CD166, and CD44, (2)
irradiated to stop mitosis without affecting their feeder activ-        MSC-specific markers (set 2): CD13, CD29, CD54, CD49E,
ity to sustain self-renewal and pluripotency of hESC, as used           SCA-1, and STRO-1, (3) hematopoietic stem/progenitor
since the first derivation of hESC lines (Thomson et al.                markers: CD45 and CD34, and endothelial cell marker CD31,
(1998)). Based upon this, it was hypothesized that irradiated           (4) immunogenic markers: HLA-ABC, HLA-G, CD80, and
MSC may also sustain the anti-EAE effect exerted by non-                CD86, (5) cytokines: IL-10, TGF13, IL-6, IL-12 and TNFI,t,
irradiated MSC.                                                         and (6) pluripotency markers: OCT4, NANOG, TRA-1-60,
                                                                        and SSEA-4. A clinical grade MSC contains >95% of the
                                                                        cells positive for group-1 markers, >80% positive for group 2,
Materials and Methods
                                                                        <5% for group 3, >80% positive for IL-10 and/or TGF13, <5%
[0390] hES-MSC, derived from MA09 hESC were irradi-                     positive for IL-6, IL-12 and TNFa, and <0.001% co-express-
ated at 80 Gy right before injecting them into EAE mice at 106          ing group 6. Heterogeneity and purity of the cells can be
cells/mouse at day 6 post-immunization as described in                  tested as described above. The clinical-grade MSC will be
Example 2. Disease scoring was done as described in                     compared side-by-side with the preclinical-grade MSC vali-
Example 2.                                                              dated in Aim 3.1 as a positive control.
                                                                        [0397] To examine whether the hES-MSC have a consistent
Results                                                                 cytokine secretion profile, 24 hr condition medium of hES-
                                                                        MSC will be analyzed for secreted cytokines expression
[0391] As shown in FIG. 25, a decrease of the disease score             using Multiplex System with R&D Fluorokine MAP multi-
in the injected mice was found although milder than the                 plex Human Cytokine Panel A and TGF-beta 3-plex. All
decrease caused by non-irradiated hES-MSC. When the dose                important cytokines that are critical for MSC function will be
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 97 of 101


US 2015/0203820 Al                                                                                                 Jul. 23, 2015
                                                                  32


analyzed simultaneously with only 50-100 ul sample needed,             [0410] Connick, P., Kolappan, M., Crawley, C., Webber, D.
including, but not limited to, CCL2, CCL3, CCL4, CCLS,                   J., Patani, R., Michell, A. W., Du, M. Q., Luan, S. L.,
IL-1, IL-2, IL-4, IL-6, IL-8, IL-10, IL-17, TNFa, TGFI3,                 Altmann, D. R., Thompson, A. J., et al. (2012). Autologous
IFNy, IFNa, IFNI3, GM-CSF, G-CSF, bFGF, CXCL5, VEGF,                     mesenchymal stem cells for the treatment of secondary
TPO, CXCL10, CCL11, CD40 ligand, EGF, HGF, IL12A,                        progressive multiple sclerosis: an open-label phase 2a
IL12, IL-13 and/or Leptin.                                               proof-of concept study. Lancet neurology 11, 150-156.
[0398] hES-MSC are also analyzed for: (1) presence of                  [0411] Correale. J., and Villa, A. (2007). The blood-brain-
exogenous materials such as endotoxin and residual cytok-                barrier in multiple sclerosis: functional roles and therapeu-
ines/growth factors used to differentiate hES-MSC, and (2)               tic targeting. Autoimmunity 40, 148-160.
genomic abnormalities (via karyotyping and whole-genome                [0412] Costa, M., Dottori, M., Ng, E., Hawes, S. M., Sour-
sequencing).                                                             ris, K., Jamshidi, P., Pera, M. F., Elefanty, A. G., and
[0399] All references, including publications, patent appli-             Stanley. E. G. (2005). The hESC line Envy expresses high
cations and patents, cited herein are hereby incorporated by             levels of GFP in all differentiated progeny. Nat Methods 2,
reference to the same extent as if each reference was indi-              259-260.
vidually and specifically indicated to be incorporated by ref-         [0413] Cuccurullo C, Iezzi A, Fazia M L, De Cesare D, Di
erence and was set forth in its entirety herein.                         Francesco A, et al. (2006) Suppression of RAGE as a basis
                                                                         of simvastatin-dependent plaque stabilization in type 2
                       REFERENCES                                        diabetes. Arteriosclerosis, thrombosis, and vascular biol-
                                                                         ogy 26: 2716-2723.
[0400] Al Jumah, M. A., and Abumaree, M. H. (2012). The
                                                                       [0414] Cunnea P, McMahon J, O'Connell E, Mashayekhi
  Immunomodulatory and Neuroprotective Effects of Mes-
                                                                         K, Fitzgerald U, et al. (2010) Gene expression analysis of
  enchymal Stem Cells (MSCs) in Experimental Autoim-
                                                                         the microvascular compartment in multiple sclerosis using
  mune Encephalomyelitis (EAE): A Model of Multiple
                                                                         laser microdissected blood vessels. Acta neuropathologica
  Sclerosis (MS). International journal of molecular sciences
                                                                         119: 601-615.
  13, 9298-9331.
                                                                       [0415] Dai H, Ciric B, Zhang G X, Rostami A (2012) Inter-
[0401] Anton, K., Banerjee, D., and Glod, J. (2012). Mac-                leukin-10 plays a crucial role in suppression of experimen-
  rophage-associated mesenchymal stem cells assume an                    tal autoimmune encephalomyelitis by Bowman-Birk
  activated, migratory, pro-inflammatory phenotype with                  inhibitor. Journal of neuroimmunology 245: 1-7.
  increased IL-6 and CXCL10 secretion. PLoS One 7,
                                                                       [0416] Dienz, 0., and Rincon, M. (2009). The effects of
  e35036.
                                                                         IL-6 on CD4 T cell responses. Clinical immunology 130,
[0402] Auletta, J. J., Bartholomew. A. M., Maziarz, R. T.,               27-33.
  Deans, R. J., Miller, R. H., Lazarus, H. M., and Cohen, J. A.        [0417] Djouad, F., Plence, P., Bony, C., Tropel, P., Appa-
  (2012). The potential of mesenchymal stromal cells as a                railly, F., Sany, J., Noel, D., and Jorgensen, C. (2003).
  novel cellular therapy for multiple sclerosis. Immuno-                 Immunosuppressive effect of mesenchymal stem cells
  therapy 4, 529-547.                                                    favors tumor growth in allogeneic animals. Blood 102,
[0403] Barberi, T., Willis, L. M., Socci, N. D., and Studer,             3837-3844.
  L. (2005). Derivation of multipotent mesenchymal precur-             [0418] Dong, C. (2008). TH17 cells in development: an
  sors from human embryonic stem cells. PLoS Med 2, e161.                updated view of their molecular identity and genetic pro-
[0404] Becher B, Durell B G, Noelle R J (2002) Experi-                   gramming. Nat Rev Immunol 8, 337-348.
  mental autoimmune encephalitis and inflammation in the               [0419] Draper, J. S., Pigott, C., Thomson, J. A., and
  absence of interleukin-12. The Journal of clinical investi-            Andrews, P. W. (2002). Surface antigens of human embry-
  gation 110: 493-497.                                                   onic stem cells: changes upon differentiation in culture.
[0405] Benito-Leon, J. (2011). Are the prevalence and inci-              Journal of anatomy 200, 249-258.
  dence of multiple sclerosis changing? Neuroepidemiology              [0420] Drukker, M., Katchman, H., Katz, G., Even-Toy
  36, 148-149.                                                           Friedman, S., Shezen, E., Hornstein, E., Mandelboim, 0.,
[0406] Brown, S. E., Tong, W., and Krebsbach, P. H.                      Reisner, Y., and Benvenisty. N. (2006). Human embryonic
  (2009). The derivation of mesenchymal stem cells from                  stem cells and their differentiated derivatives are less sus-
  human embryonic stem cells. Cells Tissues Organs 189,                  ceptible to immune rejection than adult cells. Stem Cells
  256-260.                                                               24, 221-229.
[0407] Chao. Y X., He, B. P., and Tay, S. S. (2009). Mes-              [0421] Drukker, M., Katz, G., Urbach, A., Schuldiner, M.,
  enchymal stem cell transplantation attenuates blood brain              Markel, G., Itskovitz-Eldor, J., Reubinoff, B., Mandel-
  barrier damage and neuroinflammation and protects                      boim, 0., and Benvenisty, N. (2002). Characterization of
  dopaminergic neurons against MPTP toxicity in the sub-                 the expression of MHC proteins in human embryonic stem
  stantia nigra in a model of Parkinson's disease. Journal of            cells. Proceedings of the National Academy of Sciences of
  neuroimmunology 216, 39-50.                                            the United States of America 99, 9864-9869.
[0408] Chaudhary P, Marracci G H. Bourdette D N (2006)                 [0422] English, K., Barry, F. P., Field-Corbett, C. P., and
  Lipoic acid inhibits expression of ICAM-1 and VCAM-1                   Mahon, B. P. (2007). IFN-gamma and TNF alpha differen-
  by CNS endothelial cells and T cell migration into the                 tially regulate immunomodulation by murine mesenchy-
  spinal cord in experimental autoimmune encephalomyeli-                 mal stem cells. Immunol Lett 110, 91-100.
  tis. Journal of neuroimmunology 175: 87-96.                          [0423] Ge, S., Shrestha, B., Paul, D., Keating, C., Cone, R.,
[0409] Chyou, S., Ekland, E. H., Carpenter, A. C., Tzeng, T.             Guglielmotti, A., and Pachter, J. S. (2012). The CCL2
  C., Tian, S., Michaud, M., Madri, J. A., and Lu, T. T.                 synthesis inhibitor bindarit targets cells of the neurovascu-
  (2008). Fibroblast-type reticular stromal cells regulate the           lar unit, and suppresses experimental autoimmune
  lymph node vasculature. J Immunol 181, 3887-3896.                      encephalomyelitis. J Neuroinflammation 9, 171.
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 98 of 101


US 2015/0203820 Al                                                                                                   Jul. 23, 2015
                                                                   33


[0424] Gijbels, K., Brocke, S., Abrams, J. S., and Steinman,            [0437] Klimanskaya, I., Chung.Y., Becker, S., Lu, S. J., and
  L. (1995). Administration of neutralizing antibodies to                 Lanza, R. (2006). Human embryonic stem cell lines
  interleukin-6 (IL-6) reduces experimental autoimmune                    derived from single blastomeres. Nature 444, 481-485.
  encephalomyelitis and is associated with elevated levels of           [0438] Kurtzke J F (1983). "Rating neurologic impairment
  IL-6 bioactivity in central nervous system and circulation.             in multiple sclerosis: an expanded disability status scale
  Mol Med 1, 795-805.                                                     (EDSS)". Neurology 33 (11): 1444-52
[0425] Gordon, D., Pavlovska, G., Glover, C. P., Uney, J.               [0439] Leech, M. D., Barr, T. A., Turner, D. G., Brown, S.,
  B., Wraith, D., and Scolding, N.J. (2008a). Human mesen-                O'Connor, R. A., Gray, D., Mellanby, R. J., and Anderton,
  chymal stem cells abrogate experimental allergic encepha-               S. M. (2012). Cutting Edge: IL-6-Dependent Autoimmune
  lomyelitis after intraperitoneal injection, and with sparse             Disease: Dendritic Cells as a Sufficient, but Transient,
  CNS infiltration. Neurosci Lett 448, 71-73.                             Source. J Immunol.
[0426] Gordon, D., Pavlovska, G., Glover, C. P., Uney, J.               [0440] Lin, G., Martins-Taylor, K., and Xu, R. H. (2010).
  B., Wraith, D., and Scolding, N.J. (2008b). Human mes-                  Human embryonic stem cell derivation, maintenance, and
  enchymal stem cells abrogate experimental allergic                      differentiation to trophoblast. Methods in molecular biol-
  encephalomyelitis after intraperitoneal injection, and with             ogy 636, 1-24.
  sparse CNS infiltration. Neuroscience letters 448, 71-73.             [0441] Liu, R., Zhang, Z., Lu, Z., Borlongan, C., Pan, J.,
[0427] Gordon, D., Pavlovska, G., Uney, J. B., Wraith, D.                 Chen, J., Qian, L., Liu, Z., Zhu, L., Zhang, J., et al. (2012).
  C., and Scolding, N.J. (2010). Human mesenchymal stem                   Human Umbilical Cord Stem Cells Ameliorate Experi-
  cells infiltrate the spinal cord, reduce demyelination, and             mental Autoimmune Encephalomyelitis by Regulating
  localize to white matter lesions in experimental autoim-                Immunoinflammation and Remyelination. Stem cells and
  mune encephalomyelitis. J Neuropathol Exp Neurol 69,                    development.
  1087-1095.                                                            [0442] Lu, S J., Feng, Q., Caballero, S., Chen, Y., Moore,
[0428] Grinnemo, K. H., Mansson, A., Dellgren, G., Kling-                 M. A., Grant, M. B., and Lanza, R. (2007). Generation of
  berg, D., Wardell, E., Drvota, V., Tammik, C., Holgersson,              functional hemangioblasts from human embryonic stem
  J., Ringden, 0., Sylven, C., et al. (2004). Xenoreactivity              cells. Nat Methods 4, 501-509.
  and engraftment of human mesenchymal stem cells trans-                [0443] Lu, S. J., Ivanova, Y., Feng, Q., Luo, C., and Lanza,
  planted into infarcted rat myocardium. J Thorac Cardio-                 R. (2009). Hemangioblasts from human embryonic stem
  vasc Surg 127, 1293-1300.                                               cells generate multilayered blood vessels with functional
[0429] Hansen, W., Westendorf, A. M., and Buer, J. (2008).                smooth muscle cells. Regenerative medicine 4, 37-47.
  Regulatory T cells as targets for immunotherapy of autoim-            [0444] Lu, S. J., Luo. C., Holton, K., Feng, Q., Ivanova, Y.,
  munity and inflammation. InflammAllergy Drug Targets 7,                 and Lanza, R. (2008). Robust generation of hemangioblas-
  217-223.                                                                tic progenitors from human embryonic stem cells. Regen
[0430] Hofstetter, C. P., Schwarz, E. J., Hess, D., Widen-                Med 3, 693-704.
  falk, J., El Manira, A., Prockop, D. J., and Olson, L. (2002).        [0445] Ludwig T E, Levenstein M E, Jones J M, Berggren
  Marrow stromal cells form guiding strands in the injured                W T, Mitchen E R, et al. (2006) Derivation of human
  spinal cord and promote recovery. Proceedings of the                    embryonic stem cells in defined conditions. Nat Biotech-
  National Academy of Sciences of the United States of                    nol 24: 185-187.
  America 99, 2199-2204.                                                [0446] Mahad D J. Ransohoff R M (2003) The role of
[0431] Huber, T. L., Kouskoff, V., Fehling, H. J., Palis, J.,             MCP-1 (CCL2) and CCR2 in multiple sclerosis and
  and Keller, G. (2004). Haemangioblast commitment is ini-                experimental autoimmune encephalomyelitis (EAE).
  tiated in the primitive streak of the mouse embryo. Nature              Seminars in immunology 15: 23-32.
  432, 625-630.                                                         [0447] McFarland, H. F., and Martin, R. (2007). Multiple
[0432] Hwang, N. S., Varghese, S., Lee, H. J., Zhang, Z., Ye,             sclerosis: a complicated picture of autoimmunity. Nat
  Z., Bae, J., Cheng, L., and Elisseeff, J. (2008). In vivo               Immunol 8, 913-919.
  commitment and functional tissue regeneration using                   [0448] Menge, T., Zhao, Y, Zhao, J., Wataha, K., Gerber,
  human embryonic stem cell derived mesenchymal cells.                    M., Zhang, J., Letourneau, P., Redell, J., Shen, L., Wang, J.,
  Proc Natl Acad Sci USA 105, 20641-20646.                                et al. (2012). Mesenchymal Stem Cells Regulate Blood-
[0433] Huss D J, Winger R C, Cox G M, Guerau-de-Arel-                     Brain Barrier Integrity Through TIMP3 Release After
  lano M,YangY, et al. (2011) TGF -beta signaling via Smad4               Traumatic Brain Injury. Science translational medicine 4,
  drives IL-10 production in effector Thl cells and reduces               16 lra150.
  T-cell trafficking in EAE. European journal of immunol-               [0449] Minagar, A., Maghzi, A. H., McGee, J. C., andAlex-
  ogy 41: 2987-2996.                                                      ander, J. S. (2012). Emerging roles of endothelial cells in
[0434] Javazon, E. H., Beggs, K J., and Flake, A. W. (2004).              multiple sclerosis pathophysiology and therapy. Neuro-
  Mesenchymal stem cells: paradoxes of passaging. Exp                     logical research 34, 738-745.
  Hematol 32, 414-425.                                                  [0450] Mohyeddin Bonab, M., Yazdanbakhsh, S., Lotfi, J.,
[0435] Johnston. J., and So, T. Y. (2012). First-line disease-            Alimoghaddom, K., Talebian, F., Hooshmand, F., Gha-
  modifying therapies in paediatric multiple sclerosis; a                 vamzadeh, A., and Nikbin, B. (2007). Does mesenchymal
  comprehensive overview. Drugs 72, 1195-1211.                            stem cell therapy help multiple sclerosis patients? Report
[0436] Karussis, D., Karageorgiou, C , Vaknin-Dembinsky,                  of a pilot study. Iranian journal of immunology: IJI 4,
  A., Gowda-Kurkalli, B., Gomori, J. M., Kassis, I., Bulte, J.            50-57.
  W., Petrou, P., Ben-Hur, T., Abramsky, 0., et al. (2010).             [0451] Morando, S., Vigo, T., Esposito, M., Casazza, S.,
  Safety and immunological effects of mesenchymal stem                    Novi, G., Principato, M. C., Furlan, R., and Uccelli, A.
  cell transplantation in patients with multiple sclerosis and            (2012). The therapeutic effect of mesenchymal stem cell
  amyotrophic lateral sclerosis. Arch Neurol 67, 1187-1194.               transplantation in experimental autoimmune encephalo-
         Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 99 of 101


US 2015/0203820 Al                                                                                                  Jul. 23, 2015
                                                                   34


  myelitis is mediated by peripheral and central mecha-                   the immunosuppressive capacity of adult human mesen-
  nisms. Stem Cell Res Ther 3, 3.                                         chymal stem cells. Clin Exp Immunol 149, 353-363.
[0452] Ohtaki, H., Ylostalo, J. H., Foraker, J. E., Robinson,           [0464] Sanchez, L., Gutierrez-Aranda, I., Ligero, G.,
  A. P., Reger, R. L., Shioda, S., and Prockop, D. J. (2008).             Rubio, R., Munoz-Lopez, M., Garcia-Perez, J. L., Ramos,
  Stem/progenitor cells from bone marrow decrease neu-                    V., Real, P. J., Bueno, C., Rodriguez, R., et al. (2011).
  ronal death in global ischemia by modulation of inflamma-               Enrichment of human ESC derived multipotent mesenchy-
  tory/immune responses. Proc Natl Acad Sci USA 105,                      mal stem cells with immunosuppressive and anti-inflam-
  14638-14643.                                                            matory properties capable to protect against experimental
[0453] Olivier, E. N., Rybicki, A. C., and Bouhassira, E. E.              inflammatory bowel disease. Stem Cells 29, 251-262.
  (2006). Differentiation of human embryonic stem cells into            [0465] Sethe, S., Scutt, A., and Stolzing, A. (2006). Aging
  bipotent mesenchymal stem cells. Stem Cells 24, 1914-                   of mesenchymal stem cells. Ageing Res Rev 5, 91-116.
  1922.                                                                 [0466] Solchaga, L. A., Penick, K. J., and Welter, J. F.
[0454] Patanella, A. K., Zinno, M., Quaranta, D., Nociti, V.,             (2011). Chondrogenic differentiation of bone marrow-de-
  Frisullo, G., Gainotti, G., Tonali, P.A., Batocchi, A. P., and          rived mesenchymal stem cells: tips and tricks. Methods in
  Marra, C. (2010). Correlations between peripheral blood                 molecular biology 698, 253-278.
  mononuclear cell production of BDNF, TNF-alpha, IL-6,                 [0467] Stromnes. I. M., and Goverman, J. M. (2006).
  IL-10 and cognitive performances in multiple sclerosis                  Active induction of experimental allergic encephalomyeli-
  patients. J Neurosci Res 88, 1106-1112.                                 tis. Nat Protoc 1, 1810-1819.
[0455] Payne, N. L., Sun, G., McDonald, C., Layton, D.,                 [0468] Thomson, J. A., Itskovitz-Eldor. J., Shapiro, S. S.,
  Moussa, L., Emerson-Webber, A., Veron, N., Siatskas, C.,                Waknitz, M. A., Swiergiel, J. J., Marshall, V. S., and Jones,
  Herszfeld, D., Price, J., et al. (2012). Distinct immuno-               J. M. (1998). Embryonic stem cell lines derived from
  modulatory and migratory mechanisms underpin the thera-                 human blastocysts. Science 282, 1145-1147.
  peutic potential of human mesenchymal stem cells in                   [0469] Tse, W. T., Pendleton, J. D., Beyer, W. M., Egalka,
  autoimmune demyelination. Cell Transplant.                              M. C., and Guinan, E. C. (2003). Suppression of allogeneic
[0456] Peron, J. P., Jazedje, T., Brandao, W. N., Perin, P. M.,           T-cell proliferation by human marrow stromal cells: impli-
  Maluf, M., Evangelista, L. P., Halpern, S., Nisenbaum, M.               cations in transplantation. Transplantation 75, 389-397.
  G., Czeresnia, C. E., Zatz, M., et al. (2012). Human                  [0470] Tyndall, A. (2011). Successes and failures of stem
  endometrial-derived mesenchymal stem cells suppress                     cell transplantation in autoimmune diseases. Hematology
  inflammation in the central nervous system of EAE mice.                 Am Soc Hematol Educ Program 2011, 280-284.
  Stem Cell Rev 8, 940-952.                                             [0471] Uccelli, A., and Prockop, D. J. (2010a). Why should
[0457] Pittenger, M. F., Mackay, A. M., Beck, S. C.,                      mesenchymal stem cells (MSCs) cure autoimmune dis-
  Jaiswal, R. K., Douglas, R., Mosea, J. D., Moorman, M.A.,               eases? Curr Opin Immunol 22, 768-774.
  Simonetti, D. W., Craig, S., and Marshak, D. R. (1999).               [0472] Uccelli, A., and Prockop, D. J. (2010b). Why should
  Multilineage potential of adult human mesenchymal stem                  mesenchymal stem cells (MSCs) cure autoimmune dis-
  cells. Science 284, 143-147.                                            eases? Curr Opin Immunol, 7.
[0458] Pomper, M. G., Hammond, H., Yu, X., Ye, Z., Foss,                [0473] Waterman, R. S., Tomchuck, S. L., Henkle, S. L.,
  C. A., Lin, D. D., Fox, J. J., and Cheng, L. (2009). Serial             and Betancourt, A. M. (2010). A new mesenchymal stem
  imaging of human embryonic stem-cell engraftment and                    cell (MSC) paradigm: polarization into a pro-inflamma-
  teratoma formation in live mouse models. Cell Res 19,                   tory MSC1 or an Immunosuppressive MSC2 phenotype.
  370-379.                                                                PLoS One 5, e10088.
[0459] Quintana, A., Muller, M., Frausto. R. F., Ramos, R.,             [0474] Weber, M. S., Menge, T., Lehmann-Horn, K., Kro-
  Getts, D. R., Sanz, E., Hofer, M. J., Krauthausen, M., King,            nsbein, H. C., Zettl, U., Seliner, J., Hemmer, B., and Stave,
  N. J., Hidalgo, J., et al. (2009). Site-specific production of          0. (2012). Current treatment strategies for multiple scle-
  IL-6 in the central nervous system retargets and enhances               rosis—efficacy versus neurological adverse effects. Cur-
  the inflammatory response in experimental autoimmune                    rent pharmaceutical design 18, 209-219.
  encephalomyelitis. Journal of immunology 183, 2079-                   [0475] Wong, R. S. (2011). Mesenchymal stem cells:
  2088.                                                                   angels or demons? J Biomed Biotechnol 2011, 459510.
[0460] Rafei, M., Birman, E., Forner, K., and Galipeau, J.              [0476] Yamout, B., Hourani, R., Salti, H., Barada, W., El-
  (2009a). Allogeneic mesenchymal stem cells for treatment                Hajj, T., Al-Kutoubi, A., Herlopian, A., Baz, E. K., Mah-
  of experimental autoimmune encephalomyelitis. Mol Ther                  fouz, R., Khalil-Hamdan, R., et al. (2010). Bone marrow
  17, 1799-1803.                                                          mesenchymal stem cell transplantation in patients with
[0461] Rafei, M., Campeau, P. M., Aguilar-Mahecha, A.,                    multiple sclerosis: a pilot study. J Neuroimmunol 227,
  Buchanan, M., Williams, P., Birman, E., Yuan, S., Young, Y.             185-189.
  K., Boivin, M. N., Forner, K., et al. (2009b). Mesenchymal            [0477] Zappia, E., Casazza, S., Pedemonte, E., Benvenuto,
  stromal cells ameliorate experimental autoimmune                        F., Bonanni, I , Gerdoni, E., Giunti, D., Ceravolo, A., Caz-
  encephalomyelitis by inhibiting CD4 Th17 T cells in a CC                zanti, F., Frassoni, F., et al. (2005). Mesenchymal stem
  chemokine ligand 2-dependent manner. J Immunol 182,                     cells ameliorate experimental autoimmune encephalomy-
  5994-6002.                                                              elitis inducing T-cell anergy. Blood 106, 1755-1761.
[0462] Rochman, I., Paul, W. E., and Ben-Sasson, S. Z.                  [0478] Zhang, J., Li, Y, Chen, J., Cui, Y, Lu, M., Elias, S.
  (2005). IL-6 increases primed cell expansion and survival.              B., Mitchell, J. B., Hammill, L., Vanguri, P., and Chopp, M.
  Journal of immunology 174, 4761-4767.                                   (2005). Human bone marrow stromal cell treatment
[0463] Ryan, J. M., Barry, F., Murphy, J. M., and Mahon, B.               improves neurological functional recovery in EAE mice.
  P. (2007). Interferon-gamma does not break, but promotes                Exp Neurol 195, 16-26.
        Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 100 of 101


US 2015/0203820 Al                                                                                                  Jul. 23, 2015
                                                                   35


[0479] Becher. B., Durell, B. G., and Noelle, R. J. (2002).                d. disaggregating the hemangio-colony forming cells into
  Experimental autoimmune encephalitis and inflammation                       single cells; and
  in the absence of interleukin-12. The Journal of clinical                e. culturing the single cells in media containing serum,
  investigation 110, 493-497.                                                 KOSR or other serum-free medium in an amount suffi-
[0480] Chaudhary, P., Marracci, G. H., and Bourdette, D.                      cient to induce differentiation of the single cells into
  N. (2006). Lipoic acid inhibits expression of ICAM-1 and                    mesenchymal stem cells;
  VCAM-1 by CNS endothelial cells and T cell migration                  wherein at least about 90% of the mesenchymal stem cells
  into the spinal cord in experimental autoimmune encepha-              express CD73, said MSC having the following characteris-
  lomyelitis. Journal of neuroimmunology 175, 87-96.                    tics: (i) contain >95% of cells expressing group-1 markers;
[0481] Crocker, S. J., Milner, R., Pham-Mitchell, N., and               (ii) contain >80% of cells expressing group 2 markers; (iii)
  Campbell, I. L. (2006). Cell and agonist-specific regulation          contain <5% of cells expressing group-3 markers (iv)
  of genes for matrix metalloproteinases and their tissue               expressing IL-10 and TGF 13; (v) contain <2% of cells
  inhibitors by primary glial cells. Journal of neurochemistry          expressing IL-6, IL-12 and TNFa; and (vi) contains <0.001%
  98, 812-823.                                                          of cells co-expressing all group-4 markers, wherein group-1
[0482] Cuccurullo, C., Iezzi, A., Fazia, M. L., Dc Cesare,              markers are CD73, CD90, CD105, CD146, CD166, and
  D., Di Francesco, A., Muraro, R., Bei, R., Ucchino, S.,               CD44, group-2 markers are CD13, CD29, CD54, CD49E,
  Spigonardo, F., Chiarelli, F., et al. (2006). Suppression of          group-3 markers are CD45, CD34, CD31 and SSEA4, and
  RAGE as a basis of simvastatin-dependent plaque stabili-              group-4 markers are OCT4, NANOG, TRA-1-60 and
  zation in type 2 diabetes. Arteriosclerosis, thrombosis, and          SSEA4.
  vascular biology 26, 2716-2723.                                          2. The method of claim 1, wherein the cells do not express
[0483] Cunnea, P., McMahon. J., O'Connell, E.,                          IL-6, IL12 and TNFa.
  Mashayekhi, K., Fitzgerald, U., and McQuaid, S. (2010).                  3. The method of claim 1, wherein the cells express TGF-
  Gene expression analysis of the microvascular compart-                betal , TGF-beta2 and IL10.
  ment in multiple sclerosis using laser microdissected blood              4. The method of claim 1, wherein the cells do not express
  vessels. Acta neuropathologica 119, 601-615.                          CCL2, MMP2 and RAGE
                                                                           5. The method of claim 1, where in the cells have low
[0484] Dai, H., Ciric, B., Zhang, G. X., and Rostami, A.
                                                                        expression of IFNyR1, IFNyR2 as compared to BM-MSC.
  (2012). Interleukin-10 plays a crucial role in suppression of
  experimental autoimmune encephalomyelitis by Bowman-                     6. A method of modifying mesenchymal stem cells to
  Birk inhibitor. Journal of neuroimmunology 245, 1-7.                  produce a population of modified MSC having the following
                                                                        characteristics: (i) contain >95% of cells expressing group-1
[0485] Huss, D. J., Winger, R. C., Cox, G. M., Guerau-de-
                                                                        markers; (ii) contain >80% of cells expressing group 2 mark-
  Arellano, M., Yang, Y., Racke, M. K., and Lovett-Racke, A.
                                                                        ers; (iii) contain <5% of cells expressing group-3 markers (iv)
  E. (2011). TGF-beta signaling via Smad4 drives IL-10
                                                                        expressing IL-10 and TGF 13; (v) contain <2% of cells
  production in effector Thl cells and reduces T-cell traffick-
                                                                        expressing IL-6, IL-12 and TNFa; and (vi) contains <0.001%
  ing in EAE. Eur J Immunol 41, 2987-2996.
                                                                        of cells co-expressing all group-4 markers, wherein group-1
[0486] Mahad, D J., and Ransohoff, R. M. (2003). The role               markers are CD73, CD90, CD105, CD146, CD166, and
  of MCP-1 (CCL2) and CCR2 in multiple sclerosis and                    CD44, group-2 markers are CD13, CD29, CD54, CD49E,
  experimental autoimmune encephalomyelitis (EAE).                      group-3 markers are CD45, CD34, CD31 and SSEA4, and
  Semin Immunol 15, 23-32.                                              group-4 markers are OCT4, NANOG, TRA-1-60 and
[0487] Moore, C. S., Milner, R., Nishiyama, A., Frausto, R.             SSEA4.
  F., Serwanski, D. R., Pagarigan, R. R., Whitton, J. L.,                  7-12. (canceled)
  Miller, R. H., and Crocker, S. J. (2011). Astrocytic tissue              13. The method of claim 1, further comprising a step of
  inhibitor of metalloproteinase-1 (TIMP-1) promotes oligo-             irradiating the mesenchymal stem cells.
  dendrocyte differentiation and enhances CNS myelination.
                                                                           14-18. (canceled)
  The Journal of neuroscience: the official journal of the
                                                                           19. A cell culture comprising the hES-MSC prepared by
  Society for Neuroscience 31, 6247-6254.
                                                                        the method of claim 1.
[0488] Quintana, A., Muller, M., Frausto, R. F., Ramos, R.,
                                                                           20-22. (canceled)
  Getts, D. R., Sanz, E., Hofer, M. J., Krauthausen, M., King,
                                                                           23. A pharmaceutical preparation comprising the hES-
  N. J., Hidalgo, J., et al. (2009). Site-specific production of
                                                                        MSC prepared by the method of claim 1 and a pharmaceutical
  IL-6 in the central nervous system retargets and enhances
                                                                        acceptable carrier.
  the inflammatory response in experimental autoimmune
                                                                           24-26. (canceled)
  encephalomyelitis. Journal of immunology 183, 2079-
  2088.                                                                    27. A method for preventing or treating a T cell and/or B
                                                                        cell related autoimmune disease comprising administering to
  1. A method for producing human embryonic stem cell-                  a subject in need thereof the hES-MSC prepared by the
derived mesenchymal stem cells, comprising:                             method of claim 1, an amount sufficient to ameliorate or
  a. culturing human embryonic stem cells with serum free               alleviate at least one symptom of the T cell related autoim-
     media with or without GSK3 inhibitors;                             mune disease or reverse the T cell and/or B cell related
  b. culturing human embryonic stem cells in serum-free                 autoimmune disease.
     media comprising vascular endothelial growth and bone                 28-42. (canceled)
     morphogenic protein 4 (BMP4) in an amount sufficient                  43. A method for preventing or treating a multiple sclerosis
     to induce differentiation into embryoid bodies;                    comprising administering to a subject in need thereof the
  c. adding at least one growth factor to the culture, wherein          hES-MSC prepared by the method of claim 1, an amount
     the growth factor is in an amount sufficient to expand             sufficient to ameliorate or alleviate at least one symptom of
     human hemangio-colony forming cells;                               the disease or reverse the disease.
        Case 1:17-cv-12239-ADB Document 83 Filed 08/06/19 Page 101 of 101


US 2015/0203820 Al                                                     Jul. 23, 2015
                                                                  36


   44-58. (canceled)
   59. A method of delivering an agent through the blood-
brain barrier and/or the blood-spinal cord barrier, said method
comprising the steps of: attaching the agent to a MSC to form
a MSC-agent complex; and administering the MSC-agent
complex to a subject in need thereof, wherein the human
embryonic-mesenchymal stem cell is capable of crossing the
blood-brain barrier and/or the blood-spinal cord barrier and
the agent is for the treatment, prevention or diagnosis of a
disease or injury in the subject in need thereof
   60. A kit comprising the hES-MSC prepared by the method
of claim 1 and a carrier.
   61. The kit of claim 60 further comprising a thawing
reagent, immunosuppressive enhancer, anti-histamine.
   62. The method of claim 13 wherein the mesenchymal
stem cells are irradiated with gamma-irradiation.
   63-66. (canceled)
   67. The method of claim 1 wherein the hES-MSC are
modified by genetic modification, epigenetic regulation,
small molecule, nutraceutical, natural compound, or antibody
treatment.
   68-82. (canceled)
   83. The method of claim 1 further comprising co-culturing
the hES-MSC with bone marrow hematopoietic stem cell
and/or umbilical-cord hematopoietic stem cell.
   84-87. (canceled)
   88. The method of claim 83 wherein the hES-MSC is
co-cultured with hematopoietic stem cells.
   89-92. (canceled)
                      *   *   *   *   *
